Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 1 of 560




         EXHIBIT F
                        Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 2 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #13-33739            12/03/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 0.00                                      A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
THIS DEC PAGE REFLECTS THE CURRENT LIMITS AND PREMIUMS OF YOUR POLICY FOR ALL CHANGES THROUGH 06/01/2019. ADDED NAMED
INSURED - 45 CHERRY HILL COURT III

ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
                                                23,26,28,29             $ 75,000                                                                    $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
           Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 3 of 560


                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16

                                  NAMED INSURED SCHEDULE


AIM LEASING COMPANY - DBA
AIM NATIONALEASE
FLEMING LEASING I
45 CHERRY HILL COURT
45 CHERRY HILL COURT II
FLEMING LEASING LLC
AIM LEASING CO – DBA
AIM TRANSPORTATION SOLUTIONS
45 CHERRY HILL COURT III




AD 35 22 03 16   Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 1 of 1
                                 Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 4 of 560

JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                    Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 06/19/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                    6/19/2019
                            Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 5 of 560

Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     6/19/2019
Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 6 of 560


                  AGENT COPY




                                                14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
                        Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 7 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            06/01/2019                12:01 A.M.
Address DUBUQUE, IA 52004-0028
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herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 418.00                                    A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended             to read                     ✖      to include as follows:
ADDED LOCATION 218 BILMAR DR PITTSBURGH, PA 15205


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UMPD                                            23,26,28,29             $ 75,000                                                                    $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 8 of 560
                                                                                                                                                                                                                                                                                    
                                                                                                                                                                                                                                                                                                                                            Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




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ITEM THREE                                                                                                                                                         LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                        Address
    No.                                                                                                                                                                    (list “your” main business location as Location No. 1)
                                                                                                                     $              %              $                      &                   '               (           )           *                                                                                                     
                                                                                           !   "       #                                                                                                                                                                                                




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                                                     +       ,       -                                                       -       #       #       "       ,           0                                                                                                                                                                                          




ITEM FOUR                                                                                                                                                                                                                                               LIABILITY COVERAGES – PREMIUMS
                                               Classes of Operators                                                                                                Rating                                                                               Number       Rating        Total                                                                                                                                                                                                                                                Liability                                                               Personal Injury
                                                                                                                                                                   Factor                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                Premium                                                                   Protection
                                                                                                                                                                                                                                                                                  Units                                                                                                                                                                                                                                                                                                                            Premium
                                          Class I-A Employees                                                                                                                         1
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                                          Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                          Class I-B Employees                                                                                                          
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                                          Class I-C Employees                                                                                                          
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                                          Regular Operators
                                          Class II-Non-Employees                                                                                                                      1                  




                                          Under Age 25
                                          Class II-Non-Employees                                                                                                       
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                                          Age 25 or over
                                          Class I-A Employees                                                                                                                         1
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                                          Principals
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                                          Class I-B Employees                                                                                                          
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                                          All Others                                                                                                                                                                                                                                                                                                                                                                                        2           3       4           5




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                                          Class I-C Employees                                                                                                          
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                                          Regular Operators
                                          Class II-Non-Employees                                                                                                                      1                  




                                          Under Age 25
                                          Class II-Non-Employees                                                                                                       
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                                          Age 25 or over
                                          Class I-A Employees
                                          Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                          Class I-B Employees
                                          All Others
                                          Class I-C Employees
                                          Regular Operators
                                          Class II-Non-Employees
                                          Under Age 25
                                          Class II-Non-Employees
                                          Age 25 and over
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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                  COPY
                                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 9 of 560

                                                                                                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                   




                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                        




            




                      Loss                                                                                                                                                                                                                                                               EVENT.
                                                                                                                                                                                                                                                                                                                                                                     




                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




                                             $                                                                                                                                                               MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                                                             




                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                   




                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                    




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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     

                                                                                                                                                                           




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                         
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     




                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        !      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 10 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 11 of 560


                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 12 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            06/01/2019                12:01 A.M.
Address DUBUQUE, IA 52004-0028
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   IN CONSIDERATION OF                      An additional premium of $ 418.00                                    A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended             to read                     ✖      to include as follows:
ADDED LOCATION 218 BILMAR DR PITTSBURGH, PA 15205


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UMPD                                            23,26,28,29             $ 75,000                                                                    $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 13 of 560
                                                                                                                                                                                                                                                                                    
                                                                                                                                                                                                                                                                                                                                            Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                                                                                         LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                        Address
    No.                                                                                                                                                                    (list “your” main business location as Location No. 1)
                                                                                                                     $              %              $                      &                   '               (           )           *                                                                                                     
                                                                                           !   "       #                                                                                                                                                                                                




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                                                     +       ,       -                                                       -       #       #       "       ,           0                                                                                                                                                                                          




ITEM FOUR                                                                                                                                                                                                                                               LIABILITY COVERAGES – PREMIUMS
                                               Classes of Operators                                                                                                Rating                                                                               Number       Rating        Total                                                                                                                                                                                                                                                Liability                                                               Personal Injury
                                                                                                                                                                   Factor                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                Premium                                                                   Protection
                                                                                                                                                                                                                                                                                  Units                                                                                                                                                                                                                                                                                                                            Premium
                                          Class I-A Employees                                                                                                                         1
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                                          Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                          Class I-B Employees                                                                                                          
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                                          Class I-C Employees                                                                                                          
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                                          Regular Operators
                                          Class II-Non-Employees                                                                                                                      1                  




                                          Under Age 25
                                          Class II-Non-Employees                                                                                                       
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                                          Age 25 or over
                                          Class I-A Employees                                                                                                                         1
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                                          Principals
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                                          Class I-B Employees                                                                                                          
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                                          Class I-C Employees                                                                                                          
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                                          Regular Operators
                                          Class II-Non-Employees                                                                                                                      1                  




                                          Under Age 25
                                          Class II-Non-Employees                                                                                                       
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                                          Age 25 or over
                                          Class I-A Employees
                                          Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                          Class I-B Employees
                                          All Others
                                          Class I-C Employees
                                          Regular Operators
                                          Class II-Non-Employees
                                          Under Age 25
                                          Class II-Non-Employees
                                          Age 25 and over
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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                  COPY
                              Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 14 of 560

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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                   




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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.                                                                                                                                                                   $
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     

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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                      Loss                                                                                                                                                                                                                                                               EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 15 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
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JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                   Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 06/19/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   6/19/2019
                           Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 17 of 560

Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     6/19/2019
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                   AGENT COPY




                                                 14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 19 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            04/29/2019                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 162.00                                    A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended             to read                     ✖      to include as follows:
THIS DEC PAGE REFLECTS THE CURRENT LIMITS AND PREMIUMS OF YOUR POLICY FOR ALL CHANGES THROUGH 05/01/19.
ADDED LOCATION 2699 E 51st ST CLEVELAND, OH 44104

ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UMPD                                            23,26,28,29             $ 75,000                                                                    $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 20 of 560
                                                                                                                                                                                    
                                                                                                                                                                                                                        Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                      




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                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                         LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                        Address
    No.                                                                                                    (list “your” main business location as Location No. 1)
                                                                         $      %      $              &               '           (       )       *                                                             
                                                           !   "   #                                                                                                                            




ITEM FOUR                                                                                                                                                       LIABILITY COVERAGES – PREMIUMS
                                       Classes of Operators                                        Rating                                                       Number       Rating        Total                                                                                                                                                                    Liability                                                   Personal Injury
                                                                                                   Factor                                                      of Persons     Units       Rating                                                                                                                                                                    Premium                                                       Protection
                                                                                                                                                                                          Units                                                                                                                                                                                                                                    Premium
                                  Class I-A Employees                                                             +
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                                  Principals                                                                                                                                                                                                                                                                                                                                                                           




                                  Class I-B Employees                                                  
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                                  All Others                                                                                                                                                                                                                                                           +
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                                  Class I-C Employees                                                  
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                                  Regular Operators
                                  Class II-Non-Employees                                                          +              




                                  Under Age 25
                                  Class II-Non-Employees                                               
                                                                                                                   +   
                                                                                                                                   




                                  Age 25 or over
                                  Class I-A Employees
                                  Principals                                                                                                                                                                                                                                                                                                                                                                           




                                  Class I-B Employees
                                  All Others
                                  Class I-C Employees
                                  Regular Operators
                                  Class II-Non-Employees
                                  Under Age 25
                                  Class II-Non-Employees
                                  Age 25 or over
                                  Class I-A Employees
                                  Principals                                                                                                                                                                                                                                                                                                                                                                           




                                  Class I-B Employees
                                  All Others
                                  Class I-C Employees
                                  Regular Operators
                                  Class II-Non-Employees
                                  Under Age 25
                                  Class II-Non-Employees
                                  Age 25 and over
                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                                                                                                                                                                                                        




'HILQLWLRQV
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                % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
                & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                     3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

                &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                             RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                          COPY
                              Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 21 of 560

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                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                             




                      Comprehensive          $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                           




                      Specified Causes of    SUBJECT TO                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                            




            




                      Loss                                                                                                                                                                                                                                   EVENT.
                                                                                                                                                                                                                                                                                                                         




                      Collision              $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                               




                                             $                                                                                                                                   MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                 




                      Comprehensive                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                       




                      Specified Causes of    SUBJECT TO                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                        




                




                      Loss                                                                                                                                                                                                                                   EVENT.

                      Collision              $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                         

                                                                                                                                                   




                      Comprehensive          $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"

                      Specified Causes of    SUBJECT TO                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                      Loss                                                                                                                                                                                                                                   EVENT.

                      Collision              $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"


                                                                                                                                                                                                                                                                                                                                                                                 TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        !      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                         COPY
                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 22 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 23 of 560


                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 24 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            04/29/2019                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 162.00                                    A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended             to read                     ✖      to include as follows:
THIS DEC PAGE REFLECTS THE CURRENT LIMITS AND PREMIUMS OF YOUR POLICY FOR ALL CHANGES THROUGH 05/01/19.
ADDED LOCATION 2699 E 51st ST CLEVELAND, OH 44104

ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UMPD                                            23,26,28,29             $ 75,000                                                                    $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 25 of 560
                                                                                                                                                                                    
                                                                                                                                                                                                                        Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                    *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                         LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                        Address
    No.                                                                                                    (list “your” main business location as Location No. 1)
                                                                         $      %      $              &               '           (       )       *                                                             
                                                           !   "   #                                                                                                                            




ITEM FOUR                                                                                                                                                       LIABILITY COVERAGES – PREMIUMS
                                       Classes of Operators                                        Rating                                                       Number       Rating        Total                                                                                                                                                                    Liability                                                   Personal Injury
                                                                                                   Factor                                                      of Persons     Units       Rating                                                                                                                                                                    Premium                                                       Protection
                                                                                                                                                                                          Units                                                                                                                                                                                                                                    Premium
                                  Class I-A Employees                                                             +
                                                                                                                                  




                                                                                                                                                                                                                                                                                                                                                        
                                                                                                                                                                                                                                                                                                                                                                   
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                                  Principals                                                                                                                                                                                                                                                                                                                                                                           




                                  Class I-B Employees                                                  
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$   )   
                        
                                  All Others                                                                                                                                                                                                                                                           +
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                                  Class I-C Employees                                                  
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                                                                                                                                                                                                                                                              
                                                                                                                                                                                                                                                                        +
                                                                                                                                                                                                                                                                                   




                                  Regular Operators
                                  Class II-Non-Employees                                                          +              




                                  Under Age 25
                                  Class II-Non-Employees                                               
                                                                                                                   +   
                                                                                                                                   




                                  Age 25 or over
                                  Class I-A Employees
                                  Principals                                                                                                                                                                                                                                                                                                                                                                           




                                  Class I-B Employees
                                  All Others
                                  Class I-C Employees
                                  Regular Operators
                                  Class II-Non-Employees
                                  Under Age 25
                                  Class II-Non-Employees
                                  Age 25 or over
                                  Class I-A Employees
                                  Principals                                                                                                                                                                                                                                                                                                                                                                           




                                  Class I-B Employees
                                  All Others
                                  Class I-C Employees
                                  Regular Operators
                                  Class II-Non-Employees
                                  Under Age 25
                                  Class II-Non-Employees
                                  Age 25 and over
                                                                                                                                                                                                                                                                         




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                % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
                & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

    127(                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIKRXUVRUPRUHDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

                                     3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

                &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                             RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                          COPY
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                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                             




                      Comprehensive          $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                           




                      Specified Causes of    SUBJECT TO                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                            




            




                      Loss                                                                                                                                                                                                                                   EVENT.
                                                                                                                                                                                                                                                                                                                         




                      Collision              $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                               




                                             $                                                                                                                                   MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                 




                      Comprehensive                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                       




                      Specified Causes of    SUBJECT TO                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                        




                




                      Loss                                                                                                                                                                                                                                   EVENT.

                      Collision              $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                         

                                                                                                                                                   




                      Comprehensive          $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"

                      Specified Causes of    SUBJECT TO                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                      Loss                                                                                                                                                                                                                                   EVENT.

                      Collision              $                                                                                                                                   MINUS                                                                       $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"


                                                                                                                                                                                                                                                                                                                                                                                 TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        !      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                         COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
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JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                   Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 03/27/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   3/27/2019
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Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     3/27/2019
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                   AGENT COPY




                                                 14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
                   Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 31 of 560
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             DBA AIM NATIONALEASE
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             GIRARD, OH 44420-3453
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                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 41 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            01/18/2019                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 37.00                                     A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
ADDED AC2041, AD3517 AT $35 PREMIUM, AND ADDED IL7002


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $      0
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UMPD                                            23,26,28,29             $ 75,000                                                                    $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
          Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 42 of 560


                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

            FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION


            13614            (1185)            Special Continuation Provision
            13803SC          (0708)            Schedule of Surcharges and Assessments
            AC0436           (0910)            Amendment of Definition of Pollutants
            AC2041 (2)       (0316)            Additional Insured – Primary and Non-
                                               Contributory Endorsement
            AC2107           (1001)            Ohio Underinsured Motorists Coverage – Bodily Injury
            AC2111A          (0109)            Georgia Uninsured Motorists Coverage – Reduced By At-
                                               Fault Limits
            AC2113MD         (0306)            Maryland Uninsured Motorists Coverage
            AC2131           (0703)            Michigan Uninsured Motorists Coverage
            AC2133           (1001)            Ohio Uninsured Motorists Coverage – Bodily Injury
            AC2144A          (1115)            Indiana Uninsured Motorists Coverage BI/PD
            AC2179           (0310)            Kentucky Underinsured Motorists Coverage
            AC2192a          (0712)            Pennsylvania Uninsured Motorists Coverage – Non-
                                               Stacked
            AC2193a          (0712)            Pennsylvania Underinsured Motorists Coverage - Non-
                                               Stacked
            AC2219           (0213)            Maryland Personal Injury Protection
            AC2220           (0418)            Michigan Personal Injury Protection
            AC3116           (1115)            Indiana Underinsured Motorists Coverage
            AC3117           (1001)            Ohio Uninsured Motorists Coverage – Property Damage
            AC7000           (0316)            Auto Medical Payments Amendment
            AD2564           (0316)            Acts, Errors and Omissions Coverages
            AD3501           (0316)            Dealers Extension Endorsement
            AD3506           (0316)            Blanket Garagekeepers, Physical Damage Coverage
            AD3513           (0316)            Dealers Replacement or Repairs
            AD3514           (0316)            Broad Form Products/Work Performed
            AD3517           (0316)            Additional Insured – Owners, Lessees or Contractors –
                                               Scheduled Person or Organization
            AD3522           (0316)            Blank Endorsement Form
            CA0025           (1013)            Auto Dealers Coverage Form
            CA0101           (1013)            Maryland Changes – Auto Dealers Coverage Form
            CA0104           (0115)            Illinois Changes – Auto Dealers Coverage Form
            CA0110           (0916)            Michigan Changes
            CA0113           (1013)            Colorado Changes
            CA0119           (1013)            Indiana Changes
            CA0145           (1013)            Ohio Changes – Auto Dealers Coverage Form
            CA0157           (0616)            Pennsylvania Changes – Auto Dealers Coverage Form
            CA0163           (1013)            Georgia Changes – Auto Dealers Coverage Form
            CA0164           (1013)            Kentucky Changes – Auto Dealers Coverage Form
            CA0175           (1013)            Arizona Changes
            CA0192           (1013)            Nevada Changes – Auto Dealers Coverage Form
AD 35 22 03 16    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 1 of 3
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               CA0197       (1013)      Texas Changes – Auto Dealers Coverage Form
               CA0215       (1013)      Maryland Cancellation Changes
               CA0217       (1013)      Michigan Changes – Cancellation and Nonrenewal
               CA0243       (1113)      Texas Changes – Cancellation and Nonrenewal
               CA0270       (0118)      Illinois Changes – Cancellation and Nonrenewal
               CA0301       (1013)      Deductible Liability Coverage
               CA0440       (1013)      Colorado Auto Medical Payments Coverage
               CA0444       (1013)      Waiver of Transfer of Rights
               CA2001P(2)   (1013)      Lessor – Additional Insured and Loss Payee
               CA2109       (1013)      Texas Uninsured/Underinsured Motorists Coverage
               CA2126       (1013)      Colorado Uninsured Motorists Coverage – Property
                                        Damage
               CA2127       (1013)      Nevada Uninsured Motorists Coverage
               CA2130       (0115)      Illinois Uninsured Motorists Coverage
               CA2138       (1013)      Illinois Underinsured Motorists Coverage
               CA2139       (1013)      Arizona Uninsured Motorists Coverage
               CA2140       (1013)      Arizona Underinsured Motorists Coverage
               CA2150       (0717)      Colorado Uninsured Motorists Coverage
               CA2153       (1013)      Illinois Uninsured Motorists Coverage – Property Damage
               CA2176       (1013)      Kentucky Uninsured Motorists Coverage
               CA2216       (1013)      Kentucky Personal Injury Protection
               CA2221       (0394)      Coordination of PIP
               CA2224       (1013)      Michigan Property Protection Coverage
               CA2237       (1013)      Pennsylvania Basic First Party Benefit
               CA2264       (1013)      Texas Personal Injury Protection Endorsement
               CA2384       (1013)      Terrorism Exclusion
               CA9903       (1013)      Auto Medical Payments Coverage
               CA9910       (1013)      Drive Other Car Coverage
               CA9944       (1013)      Loss Payable Clause
               IL0017       (1198)      Common Policy Conditions
               IL0021       (0702)      Nuclear Energy Liability Exclusion
               IL0021       (0908)      Nuclear Energy Liability Exclusion
               IL0110       (0907)      Nevada Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0115       (0110)      Nevada Changes – Domestic Partnership
               IL0147       (0911)      Illinois Changes – Civil Union
               IL0156       (1117)      Indiana Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0158       (0300)      Indiana Changes
               IL0162       (1013)      Illinois Changes – Defense Costs
               IL0169       (0907)      Colorado Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0228       (0907)      Colorado Changes – Cancellation and Nonrenewal
               IL0244       (0907)      Ohio Changes – Cancellation and Nonrenewal
               IL0246       (0907)      Pennsylvania Changes – Cancellation and Nonrenewal
               IL0251       (0907)      Nevada Changes – Cancellation and Nonrenewal
               IL0262       (0907)      Georgia Changes – Cancellation and Nonrenewal
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                                                                          AD XX XX XX XX

           IL0272       (0907)     Indiana Changes – Cancellation and Nonrenewal
           IL7002 (3)   (0911)     Advance Notice of Cancellation
           IN5187       (1204)     IL Coml Auto Policy Notice Hired & Non-Owned Auto
           IN5207       (0407)     Changes in Pennsylvania Uninsured and Underinsured
                                   Motorists Coverage - Arbitration
           IN5278       (1213)     Important Notice Fair Credit Reporting Act
           IN5279       (0214)     Maryland Important Notice Regarding PIP and Premium
                                   Increase Coverage
           IN7378       (0506)     Important Notice - Michigan
           PA0209       (1013)     Ohio Changes – Cancellation and Nonrenewal
           PA0216       (1013)     Maryland Changes – Cancellation and Nonrenewal
           SP0002       (0916)     Signature Page (AMCO)




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                                            `                                                       M                                   K                       P                                                                           K                               T                                                                   P                                               U                                                                               N                                       V                                                                               T                                                                   R                                                                           O                                                                                                   X                                                               S                                                                           O                                                       P                                                                                                   T                                                   S                                                                   L                                                                           V                                                                       Q                                                           Q                                                                                   Y                       ^                                                                       L                                           S                                                                                                           a                                       b                                                                   S                                                           X                                                                                   K                   Y           ^                                                                                               K                           T                                                   c                                                           U                                                       N                               ^                                                       a                                                                           S                                                       N                                                                           a                                               Q                                                   N                                           S                                                           Q                                                                   O                                                               N                                               L                           ^                                                                               X                                                           V                                                   d                                                                                               V                                                   \                                                       O                                               a                                                               S                                                   R                                   R                                                               U                                               N                                       N                           K                       T                                           \                                                                           V                                       W                                       L                   O                                       N                               _




                                                            D                               I
                                                                                                                                                                                                                e                                                                           Y                       Y                                                   [                                                                                               S                                                                   N                                       f                                                                   Z                                                                           K                               T                                                       R                                                               Y                               U                                                                           X                                                       K                           T                                                                   \                                                                                           d                                                                                                                   V                                                                       L                       O                                                               N                                                   K                               V                                                       Y                   P                                                                       Z                                                                       Q                                                           V                                                                   N                                   L                                               P                                                                               S                                                               N                                                                               O                                                                               g                                                           U                                                                   K                           Q                                                       d                                                                                           O                                                                       T                                                       L                                                                   W                               U                                                                   N                               T                                                                   K                                       P                                                               M                                           O                                                           X                                                                                   K                           T                                                                           R                                                       S                                               T                                                       T                                                   O                                       R                                                       L                       K                       S                                                           T                                                                               [                                                           K           L                                   M                                                               P                                       U                                                   R                                   M                                                               [                                                   S                                   N                           f                                                   Z                                           S                                   T                                                   L                           M                               O                                                           Q                           N                   S                           c           O                               R                               L




                                                                                                                                                                                                                h                   S                                                                                   L                               M                                                           O                                                               N                                                                       L                                                   M                                                                   V                                                                                   T                                                                                           P                                                                       O                                                                       N                           i                                                   K                           R                                                               O                                                               Z                                                                       d                                                                                                                   V                                                   K                   T                                                                                           L                           O                                                       T                                                                           V                                                                       T                                                               R                                                           O                                                                                                               S                                                       N                                                                   N                                           O                                                                       Q                                                               V                                                                       K                       N                                               P                                               j                                                       L                                           S                                                                           b                                                                   O                                                                                                       Q                                                                       O                                                               N                                       W                                               S                                               N                                           d                                                                                       O                                                       X                                                                                   b                                                       ^                                                               S                                               N                                               S                                               T                                                                                                       b                                               O                                                       M                                               V                                               Y                       W                                       S                                               W                                           L                       M                                           O                                                           V                                           X                                   X                                       K                           L               K                   S                                           T                                       V                                       Y                               K           T                                   P                                   U                           N                   O                               X                           h                   P                       j                   V       L




                                                                                                                                                                                                            L                   M                                                                       O                                                                                               Y                               S                                                               R                                                               V                                                                           L                                       K                               S                                                                               T                                                                                       S                                                                       W                                                           L                                       M                                                                   O                                                                                               R                                                       S                                                                                   i                                                               O                                                   N                                       O                                                                           X                                                                                               S                                                                       Q                                                               O                                                                   N                                   V                                                                           L                                       K                   S                                                                           T                                                       P                                                                                                       M                                                               V                                                                   P                                                                                           b                                                       O                                                           O                                                                   T                                                                               R                                                                           S                                                                   d                                                                                       Q                                                                           Y                                       O                                           L                                   O                                           X                                                           k                                                           S                                                       N




                            $                                                           I
                                                                                                                                                                                                        `                                                                           M                                                                       V                                                           L                                                               Q                                                               S                                                                       N                                                       L                                       K                               S                                                   T                                                                                                                   S                                                                       W                                                           a                                       ^                                                       S                                                   U                                                                       N                                                                                           [                                                                               S                                                               N                                                       f                                                           a                                                                               S                                                               U                                                           L                                                                   S                                                                   W                                                                   [                                                                                                   M                                                       K                       R                                                               M                                                                                                       L                       M                                                                               O                                                                                   K                       T                                                           c                           U                                                   N                                                   ^                                                                                   S                                                                   N                                                                   X                                                                           V                                                                           d                                                                       V                                                   \                                                                   O                                                                               V                                                       N                               K               P                                                   O                                                       P                                                           M                                                       V                                                               P                                                                       b                                               O                                           O                                                   T                                                                       Q                                           U                                           L                                               L                       S                                                       K                   L               P                                                       K                           T                                           L                   O                                   T                               X                                       O                                           X                                                   U                           P                               O                                       b                                   ^




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                                                                                                                                                                                                S                                                               Q                                                                       O                                                           N                                                       V                                                               L                       K                                           S                                                                   T                                                                               P                                                                                               W                                   S                                                                   N                                                                   V                                                                                                   Q                                                                   N                               K                                       T                                                               R                                                                   K                       Q                                                           V                                                                                   Y                                               V                                                               P                                                                                                       V                                                                                           Q                                                                   V                                                                   N                                                       L                                               S                                                               W                                                                   L                                           M                                                               O                                                                                                               P                                                           V                                               d                                                                                                       O                                                                                   Q                                                                           N                                       S                                                   c                                   O                                                               R                                                               L                                                                       m




n           I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       o                                               p                                       n                                               q                                                   r               s                                                                                                       r               r                           u
                                        J                                                                               K                   L                               M                                                                           N                                                   O                                                               P                                                               Q                                                               O                                                                           R                                                                   L                                                                           L                                                   S                                                                           L                                       M                                                                               O                                                                                   K                       T                                                                       P                                                       U                                                                   N                                           V                                                                   T                                                       R                                                                       O                                                                                                               V                                                               W                               W                                           S                                                           N                                       X                                                                       O                                                               X                                                                                                       L                                       S                                                                               L                                               M                                                           O                                                                       P                                                           O                                                                                           V                                                           X                                                                       X                                                       K                           L                               K                                   S                                                       T                                                                       V                                                               Y                                                               K                                       T                                           P                                               U                                                           N                               O                                                               X                                                           P                                       Z                                                       L                   M                                               O                                                                       W                       S                                                           Y                           Y                           S                                                   [                                                       K                   T                                                       \                                                                   K               P                                                           V                                               X                                           X                                       O                                       X                                                           L                   S                                                                                                                                                                                                                                                                                                                                       t




                                                        v                                                       p                                                                                                                               p                                                                                   w                                                                       @                                                                                               x                                                                                                               x                                                                                       r                           @                                                                                               H                                                                                                   r                           x                                                                           r           q                                                                               y                                                                                                                               n                                                                                           s                                                                               z                                                                                   p                                                                                       w                                                                       @                                                                                                               v                                                                           p                                                                                           o                                                                           {                                                                                                                                           !                                                                       |                                                       !                                                               "                                                                                   |                                           !                                                       }                                                       ~                                                                                                                                                                                                                  x                                                                                                                                                                                                                                                                                                                                                                                                  s                                               &                                                                                   r                                                                                                                                                                                                     |                                   !                                                                                                                                                             #                                                                               u                                                                                       v                                                                   #                                                                                      #                                                           |                       !                                                                                              x                                                          !                                                                                                                                                                                                                                             n                                                   %                                                                                  #                               |                       !                           "                                       #               
                                                                                                                                                                        t                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               _




                                                                       W                                           R                                   S                                                               i                                               O                                                                   N                                               V                                                                       \                                                               O                                                                                               Q                                                                           N                                                               S                                                       i                                                       K                                   X                                                                       O                                                       X                                                                                                   L                                   S                                                                                       L                                               M                                                                       O                                                                                           V                                                                               X                                                           X                                                           K                                       L                           K                                           S                                                       T                                                               V                                                                   Y                                                           K                           T                                                                   P                                                       U                                                               N                                                       O                                                           X                                                                                       K                                           P                                                                               N                           O                                                               g                                                   U                                                                   K                                           N                               O                                                                   X                                                                                                           b                                                                   ^                                                                                   V                                                                       [                                                                               N                               K               L                               L                               O                                               T                                                                           R                                               S                                       T                                                               L                   N                                           V                                               R                                                   L                                       S                                                       N                                               V                                                   \                                   N                                   O                                               O                                       d                                                       O                                               T                                   L                       Z                                       L                                   M                                   O                                                           d                                                       S                               P                                   L                               [                               O                                                       [                               K   Y       Y




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                                                    D                               I
                                                                                                                                                                                                                                                                                               O                                                               g                                                               U                                                               K                                       N                           O                                                                           X                                                                                                                                   b                                                       ^                                                                                                   L                       M                                                           O                                                                                                           [                                                                           N                                               K                   L                                   L                                       O                                                                       T                                                                                       R                                                                               S                                                           T                                                                           L                       N                                                       V                                                       R                                                               L                                                                   S                                                                           N                                                               V                                                           \                                                                   N                                                       O                                                           O                                                                   d                                                                                           O                                                           T                                                                   L                           k                                                   S                                                               N




                        $                                                       I
                                                                                                                                                                                        e                                                                                               i                                                           V                                                           K                                   Y                       V                                                                   b                                                                   Y                       O                                                                                                                               U                                                       T                                                                       X                                                                           O                                                           N                                                                   L                                   M                                                       O                                                                                                       V                                                                           Q                                                               Q                                                       Y                                               K                               R                                               V                                                           b                                                                           Y                                           O                                                                                                                                                              K                   d                                                                                                   K                           L                                           P                                                                           S                                                                                           W                                                                          T                                                                           P                                                               U                                                       N                           V                                                                       T                                                   R                                                                   O                                                                                                   P                                                                       M                                                               S                                                                   [                                                                               T                                                                       K                           T                                                                                   L                           M                                                               O                                                                                                                                      O                                           R                                               Y                   V                                                               N                                   V                                                       L                       K                       S                                           T                                                   P                                   k




                                [                                                                       M                                           K               R                                                       M                                                                       O                                                               i                                                       O                                                               N                                                                               K                               P                                                                                               Y                                               O                                                   P                                                                   P                                                                           m




                                `                                                               M                                   K                       P                                                                           O                                                                                   T                                                           X                                                                       S                                                               N                               P                                                                       O                                                                               d                                                                                                       O                                                                       T                                                                           L                                                       P                                                           M                                                                       V                                                   Y                                   Y                                                       T                                                                               S                                                           L                                                           K                                               T                                                               R                                               N                                                       O                                                                           V                                                       P                                                           O                                                                                               L                                   M                                                       O                                                                                                               V                                                           Q                                                                   Q                                                               Y                                           K               R                                                               V                                                       b                                                           Y                           O                                                                                                                                                                  K                       d                                                                                                   K                                   L           P                                                                                                           S                                                   W                                                                                      T                                                           P                                                   U                                                   N                                               V                                           T                                                   R                                       O                                                                   P                                                           M                                                           S                                                       [                                                                   T                                                                       K           T                                                                           L                       M                                       O                                                                                                                                  O                                   R                                       Y               V                                   N                           V                                       L                                   K               S                                       T                               P                                       m




        !           "                                           #                                           $                                                                       %                                                               &                                                                           $                                                                                                                                                                                                                                                                                                                                               '                   (                                                                                   )                               *                                       +                                                       ,                                                                   -                                                           .                                                                               )                                                   /                                                           0                                                               1                                                                   2                           3                       4                                                   5                                                                   6                                           -                                                       ,                                                                                               7                                                                                       8                                                       6                               -                                                           2                                   3                           8                                                       *                                                               /                                                       9                                                                   '                                   (                                               .                                               +                                                               2                                               8                                       (                                                       )                                                           -                                                                               :                                                                                   -                                               2                                       ;                                                               3           )                                                               -                                                               .                                                                                   <                                               9                           9                           3                           )                                                       -                                                           =                                           '       (                                           )                                               >                           =                       ?                                                                   3                           6               5                                                                                   3                   6                   .                                                           0                                               -                                           2                       7                                                               3                   .                                   .                                       3               /                                   (                                   >                                                                                                                                                                                                                                           @                                                       A                                                               B                                   C                                                   D                       E                                                   F                           B                               D       G
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                                                                                                                                                                                                                              IL 70 02 09 11

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ADVANCE NOTICE OF CANCELLATION, NONRENEWAL
            OR COVERAGE REDUCTION OR RESTRICTION
                       PROVIDED BY US
This endorsement modifies insurance provided under the following:

         COMMERCIAL AUTOMOBILE COVERAGE PART
         COMMERCIAL CRIME COVERAGE PART
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         COMMERCIAL INLAND MARINE COVERAGE PART
         COMMERCIAL PROPERTY COVERAGE PART
         COMMERCIAL UMBRELLA LIABILITY POLICY
         FARM UMBRELLA LIABILITY POLICY
         LIQUOR LIABILITY COVERAGE PART
         MERCANTILE UMBRELLA LIABILITY POLICY

                                                                                                   SCHEDULE

Person(s) or Organization(s)
 !   "   #   $   %   "   &   '   (   )   *   +   )   *   %   )   +   +    ,                               -
                                                                                                              Address
                                                                                                              .   /   0   1
                                                                                                                              !   %   %   2   3   ,   )   (   *   4   4   *   $   '   (   %   3   '   *   5
                                                                                                                                                                                                              /   6   0   6




                                                                              7   8




Number of Days Notice

If this policy is cancelled (other than nonpayment of premium) or nonrenewed or if the coverage provided by this
policy is reduced or restricted (except for any reduction in the Limits of Insurance due to claims payments), we will
provide written notice to the person(s) or organization(s) listed in the Schedule.
We will provide this notice by mail 30 days in advance of any policy cancellation, nonrenewal or coverage reduc-
tion or restriction or as indicated in the Number of Days Notice in the Schedule.

                                 All terms and conditions of this policy apply unless modified by this endorsement.




IL 70 02 09 11                                                           Includes copyrighted material of Insurance Services Office, Inc.,                                                                                       Page 1 of 1
                                                                                              with its permission.
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JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                   Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 02/22/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   2/22/2019
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Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     2/22/2019
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                   AGENT COPY




                                                 14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
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                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            01/18/2019                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 37.00                                     A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
ADDED AC2041, AD3517 AT $35 PREMIUM, AND ADDED IL7002


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UMPD                                            23,26,28,29             $ 75,000                                                                    $
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

            FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION


            13614            (1185)            Special Continuation Provision
            13803SC          (0708)            Schedule of Surcharges and Assessments
            AC0436           (0910)            Amendment of Definition of Pollutants
            AC2041 (2)       (0316)            Additional Insured – Primary and Non-
                                               Contributory Endorsement
            AC2107           (1001)            Ohio Underinsured Motorists Coverage – Bodily Injury
            AC2111A          (0109)            Georgia Uninsured Motorists Coverage – Reduced By At-
                                               Fault Limits
            AC2113MD         (0306)            Maryland Uninsured Motorists Coverage
            AC2131           (0703)            Michigan Uninsured Motorists Coverage
            AC2133           (1001)            Ohio Uninsured Motorists Coverage – Bodily Injury
            AC2144A          (1115)            Indiana Uninsured Motorists Coverage BI/PD
            AC2179           (0310)            Kentucky Underinsured Motorists Coverage
            AC2192a          (0712)            Pennsylvania Uninsured Motorists Coverage – Non-
                                               Stacked
            AC2193a          (0712)            Pennsylvania Underinsured Motorists Coverage - Non-
                                               Stacked
            AC2219           (0213)            Maryland Personal Injury Protection
            AC2220           (0418)            Michigan Personal Injury Protection
            AC3116           (1115)            Indiana Underinsured Motorists Coverage
            AC3117           (1001)            Ohio Uninsured Motorists Coverage – Property Damage
            AC7000           (0316)            Auto Medical Payments Amendment
            AD2564           (0316)            Acts, Errors and Omissions Coverages
            AD3501           (0316)            Dealers Extension Endorsement
            AD3506           (0316)            Blanket Garagekeepers, Physical Damage Coverage
            AD3513           (0316)            Dealers Replacement or Repairs
            AD3514           (0316)            Broad Form Products/Work Performed
            AD3517           (0316)            Additional Insured – Owners, Lessees or Contractors –
                                               Scheduled Person or Organization
            AD3522           (0316)            Blank Endorsement Form
            CA0025           (1013)            Auto Dealers Coverage Form
            CA0101           (1013)            Maryland Changes – Auto Dealers Coverage Form
            CA0104           (0115)            Illinois Changes – Auto Dealers Coverage Form
            CA0110           (0916)            Michigan Changes
            CA0113           (1013)            Colorado Changes
            CA0119           (1013)            Indiana Changes
            CA0145           (1013)            Ohio Changes – Auto Dealers Coverage Form
            CA0157           (0616)            Pennsylvania Changes – Auto Dealers Coverage Form
            CA0163           (1013)            Georgia Changes – Auto Dealers Coverage Form
            CA0164           (1013)            Kentucky Changes – Auto Dealers Coverage Form
            CA0175           (1013)            Arizona Changes
            CA0192           (1013)            Nevada Changes – Auto Dealers Coverage Form
AD 35 22 03 16    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 1 of 3
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               CA0197       (1013)      Texas Changes – Auto Dealers Coverage Form
               CA0215       (1013)      Maryland Cancellation Changes
               CA0217       (1013)      Michigan Changes – Cancellation and Nonrenewal
               CA0243       (1113)      Texas Changes – Cancellation and Nonrenewal
               CA0270       (0118)      Illinois Changes – Cancellation and Nonrenewal
               CA0301       (1013)      Deductible Liability Coverage
               CA0440       (1013)      Colorado Auto Medical Payments Coverage
               CA0444       (1013)      Waiver of Transfer of Rights
               CA2001P(2)   (1013)      Lessor – Additional Insured and Loss Payee
               CA2109       (1013)      Texas Uninsured/Underinsured Motorists Coverage
               CA2126       (1013)      Colorado Uninsured Motorists Coverage – Property
                                        Damage
               CA2127       (1013)      Nevada Uninsured Motorists Coverage
               CA2130       (0115)      Illinois Uninsured Motorists Coverage
               CA2138       (1013)      Illinois Underinsured Motorists Coverage
               CA2139       (1013)      Arizona Uninsured Motorists Coverage
               CA2140       (1013)      Arizona Underinsured Motorists Coverage
               CA2150       (0717)      Colorado Uninsured Motorists Coverage
               CA2153       (1013)      Illinois Uninsured Motorists Coverage – Property Damage
               CA2176       (1013)      Kentucky Uninsured Motorists Coverage
               CA2216       (1013)      Kentucky Personal Injury Protection
               CA2221       (0394)      Coordination of PIP
               CA2224       (1013)      Michigan Property Protection Coverage
               CA2237       (1013)      Pennsylvania Basic First Party Benefit
               CA2264       (1013)      Texas Personal Injury Protection Endorsement
               CA2384       (1013)      Terrorism Exclusion
               CA9903       (1013)      Auto Medical Payments Coverage
               CA9910       (1013)      Drive Other Car Coverage
               CA9944       (1013)      Loss Payable Clause
               IL0017       (1198)      Common Policy Conditions
               IL0021       (0702)      Nuclear Energy Liability Exclusion
               IL0021       (0908)      Nuclear Energy Liability Exclusion
               IL0110       (0907)      Nevada Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0115       (0110)      Nevada Changes – Domestic Partnership
               IL0147       (0911)      Illinois Changes – Civil Union
               IL0156       (1117)      Indiana Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0158       (0300)      Indiana Changes
               IL0162       (1013)      Illinois Changes – Defense Costs
               IL0169       (0907)      Colorado Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0228       (0907)      Colorado Changes – Cancellation and Nonrenewal
               IL0244       (0907)      Ohio Changes – Cancellation and Nonrenewal
               IL0246       (0907)      Pennsylvania Changes – Cancellation and Nonrenewal
               IL0251       (0907)      Nevada Changes – Cancellation and Nonrenewal
               IL0262       (0907)      Georgia Changes – Cancellation and Nonrenewal
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                                                                          AD XX XX XX XX

           IL0272       (0907)     Indiana Changes – Cancellation and Nonrenewal
           IL7002 (3)   (0911)     Advance Notice of Cancellation
           IN5187       (1204)     IL Coml Auto Policy Notice Hired & Non-Owned Auto
           IN5207       (0407)     Changes in Pennsylvania Uninsured and Underinsured
                                   Motorists Coverage - Arbitration
           IN5278       (1213)     Important Notice Fair Credit Reporting Act
           IN5279       (0214)     Maryland Important Notice Regarding PIP and Premium
                                   Increase Coverage
           IN7378       (0506)     Important Notice - Michigan
           PA0209       (1013)     Ohio Changes – Cancellation and Nonrenewal
           PA0216       (1013)     Maryland Changes – Cancellation and Nonrenewal
           SP0002       (0916)     Signature Page (AMCO)




AD XX XX XX XX                                                                 Page 3 of 3
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        &                               *                                               +                                                                           ,                                                                                   -                                                                               .                                                                                                                           /                                                                                   +                                                                                                                           -                                                                                   0                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1                   2                                                                       3                                                                   4                       5                                                                       6                                                                                           7                                                                       8                                                                                                   3                                                               9                                                                       :                                                           ;                                           <                                               =                       >                                                           ?                                                               @                       7                                                           6                                                                                           A                                                                                               B                                                   @                       7                                                               <                                           =                       B                                                               4                                       9                                                       C                                                                                   1       2                                                           8                                                                   5                                                       <                                           B                                                   2                                                                   3                                                       7                                                                                               D                                                                       7                                                   <                                   E                                                   =               3                                                       7                                                   8                                                           F                                                                                   C                                   C                       =                       3                                                   7                                               G                               1                       2                                               3                                           H                               G                               I                                                                       =       @                       ? 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                                                                                                                                                                                                                                                                                                                                                                                                                                    Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 58 of 560



    H           I
                                                J                                                                           K                   L                               M                                                                           N                                                   O                                                               P                                                               Q                                                               O                                                                           R                                                                   L                                                                           L                                                       S                                                                           L                                   M                                                                               O                                                                                   K                       T                                                                       P                                                       U                                                                   N                                           V                                                                   T                                                       R                                                                       O                                                                                                               V                                                               W                               W                                           S                                                           N                                       X                                                                       O                                                               X                                                                                                           L                                   S                                                                               L                                                   M                                                       O                                                                           P                                                       O                                                                                   V                                                           X                                                                       X                                                       K                           L                           K                                       S                                                       T                                                                       V                                                               Y                                                               K                                       T                                           P                                               U                                                       N                                   O                                                               X                                                           P                                       Z                                                       L                   M                                               O                                                                       W                       S                                                           Y                           Y                           S                                                   [                                                       K                   T                                                   \                                                                       V                                               X                                           X                                           K               L                           K               S                               T                                               V                               Y                                               O                                               ]                                   R                                       Y           U                                           P                       K                   S                                   T                               P                                           V                                   Q                       Q                               Y   ^               _




                                            `                                                       M                                   K                       P                                                                           K                               T                                                                   P                                               U                                                                               N                                       V                                                                               T                                                                   R                                                                           O                                                                                                   X                                                               S                                                                           O                                                       P                                                                                                   T                                                   S                                                                   L                                                                           V                                                                       Q                                                           Q                                                                                   Y                       ^                                                                       L                                           S                                                                                                           a                                       b                                                                   S                                                           X                                                                                   K                   Y           ^                                                                                               K                           T                                                   c                                                           U                                                       N                               ^                                                       a                                                                           S                                                       N                                                                           a                                               Q                                                   N                                           S                                                           Q                                                                   O                                                               N                                               L                           ^                                                                               X                                                           V                                                   d                                                                                               V                                                   \                                                       O                                               a                                                               S                                                   R                                   R                                                               U                                               N                                       N                           K                       T                                           \                                                                           V                                       W                                       L                   O                                       N                               _




                                                            D                               I
                                                                                                                                                                                                                e                                                                           Y                       Y                                                   [                                                                                               S                                                                   N                                       f                                                                   Z                                                                           K                               T                                                       R                                                               Y                               U                                                                           X                                                       K                           T                                                                   \                                                                                           d                                                                                                                   V                                                                       L                       O                                                               N                                                   K                               V                                                       Y                   P                                                                       Z                                                                       Q                                                           V                                                                   N                                   L                                               P                                                                               S                                                               N                                                                               O                                                                               g                                                           U                                                                   K                           Q                                                       d                                                                                           O                                                                       T                                                       L                                                                   W                               U                                                                   N                               T                                                                   K                                       P                                                               M                                           O                                                           X                                                                                   K                           T                                                                           R                                                       S                                               T                                                       T                                                   O                                       R                                                       L                       K                       S                                                           T                                                                               [                                                           K           L                                   M                                                               P                                       U                                                   R                                   M                                                               [                                                   S                                   N                           f                                                   Z                                           S                                   T                                                   L                           M                               O                                                           Q                           N                   S                           c           O                               R                               L




                                                                                                                                                                                                                h                   S                                                                                   L                               M                                                           O                                                               N                                                                       L                                                   M                                                                   V                                                                                   T                                                                                           P                                                                       O                                                                       N                           i                                                   K                           R                                                               O                                                               Z                                                                       d                                                                                                                   V                                                   K                   T                                                                                           L                           O                                                       T                                                                           V                                                                       T                                                               R                                                           O                                                                                                               S                                                       N                                                                   N                                           O                                                                       Q                                                               V                                                                       K                       N                                               P                                               j                                                       L                                           S                                                                           b                                                                   O                                                                                                       Q                                                                       O                                                               N                                       W                                               S                                               N                                           d                                                                                       O                                                       X                                                                                   b                                                       ^                                                               S                                               N                                               S                                               T                                                                                                       b                                               O                                                       M                                               V                                               Y                       W                                       S                                               W                                           L                       M                                           O                                                           V                                           X                                   X                                       K                           L               K                   S                                           T                                       V                                       Y                               K           T                                   P                                   U                           N                   O                               X                           h                   P                       j                   V       L




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                                                                                                                                                                                                        `                                                                           M                                                                       V                                                           L                                                               Q                                                               S                                                                       N                                                       L                                       K                               S                                                   T                                                                                                                   S                                                                       W                                                           a                                       ^                                                       S                                                   U                                                                       N                                                                                           [                                                                               S                                                               N                                                       f                                                           a                                                                               S                                                               U                                                           L                                                                   S                                                                   W                                                                   [                                                                                                   M                                                       K                       R                                                               M                                                                                                       L                       M                                                                               O                                                                                   K                       T                                                           c                           U                                                   N                                                   ^                                                                                   S                                                                   N                                                                   X                                                                           V                                                                           d                                                                       V                                                   \                                                                   O                                                                               V                                                       N                               K               P                                                   O                                                       P                                                           M                                                       V                                                               P                                                                       b                                               O                                           O                                                   T                                                                       Q                                           U                                           L                                               L                       S                                                       K                   L               P                                                       K                           T                                           L                   O                                   T                               X                                       O                                           X                                                   U                           P                               O                                       b                                   ^




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                                                                                                                                                                                                S                                                               Q                                                                       O                                                           N                                                       V                                                               L                       K                                           S                                                                   T                                                                               P                                                                                               W                                   S                                                                   N                                                                   V                                                                                                   Q                                                                   N                               K                                       T                                                               R                                                                   K                       Q                                                           V                                                                                   Y                                               V                                                               P                                                                                                       V                                                                                           Q                                                                   V                                                                   N                                                       L                                               S                                                               W                                                                   L                                           M                                                               O                                                                                                               P                                                           V                                               d                                                                                                       O                                                                                   Q                                                                           N                                       S                                                   c                                   O                                                               R                                                               L                                                                       m




n           I                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       o                                               p                                       n                                               q                                                   r               s                                                                                                       r               r                           u
                                        J                                                                               K                   L                               M                                                                           N                                                   O                                                               P                                                               Q                                                               O                                                                           R                                                                   L                                                                           L                                                   S                                                                           L                                       M                                                                               O                                                                                   K                       T                                                                       P                                                       U                                                                   N                                           V                                                                   T                                                       R                                                                       O                                                                                                               V                                                               W                               W                                           S                                                           N                                       X                                                                       O                                                               X                                                                                                       L                                       S                                                                               L                                               M                                                           O                                                                       P                                                           O                                                                                           V                                                           X                                                                       X                                                       K                           L                               K                                   S                                                       T                                                                       V                                                               Y                                                               K                                       T                                           P                                               U                                                           N                               O                                                               X                                                           P                                       Z                                                       L                   M                                               O                                                                       W                       S                                                           Y                           Y                           S                                                   [                                                       K                   T                                                       \                                                                   K               P                                                           V                                               X                                           X                                       O                                       X                                                           L                   S                                                                                                                                                                                                                                                                                                                                       t




                                                        v                                                       p                                                                                                                               p                                                                                   w                                                                       @                                                                                               x                                                                                                               x                                                                                       r                           @                                                                                               H                                                                                                   r                           x                                                                           r           q                                                                               y                                                                                                                               n                                                                                           s                                                                               z                                                                                   p                                                                                       w                                                                       @                                                                                                               v                                                                           p                                                                                           o                                                                           {                                                                                                                                           !                                                                       |                                                       !                                                               "                                                                                   |                                           !                                                       }                                                       ~                                                                                                                                                                                                                  x                                                                                                                                                                                                                                                                                                                                                                                                  s                                               &                                                                                   r                                                                                                                                                                                                     |                                   !                                                                                                                                                             #                                                                               u                                                                                       v                                                                   #                                                                                      #                                                           |                       !                                                                                              x                                                          !                                                                                                                                                                                                                                             n                                                   %                                                                                  #                               |                       !                           "                                       #               
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                                                                       W                                           R                                   S                                                               i                                               O                                                                   N                                               V                                                                       \                                                               O                                                                                               Q                                                                           N                                                               S                                                       i                                                       K                                   X                                                                       O                                                       X                                                                                                   L                                   S                                                                                       L                                               M                                                                       O                                                                                           V                                                                               X                                                           X                                                           K                                       L                           K                                           S                                                       T                                                               V                                                                   Y                                                           K                           T                                                                   P                                                       U                                                               N                                                       O                                                           X                                                                                       K                                           P                                                                               N                           O                                                               g                                                   U                                                                   K                                           N                               O                                                                   X                                                                                                           b                                                                   ^                                                                                   V                                                                       [                                                                               N                               K               L                               L                               O                                               T                                                                           R                                               S                                       T                                                               L                   N                                           V                                               R                                                   L                                       S                                                       N                                               V                                                   \                                   N                                   O                                               O                                       d                                                       O                                               T                                   L                       Z                                       L                                   M                                   O                                                           d                                                       S                               P                                   L                               [                               O                                                       [                               K   Y       Y




                                    Q                                       V                                                   ^                                                                                   S                                                           T                                                                                                   b                                                                   O                                                           M                                                                               V                                                                   Y                               W                                                                                               S                                               W                                                                       L                                   M                                                       O                                                                                               V                                                                       X                                                               X                                                                       K                       L                                       K                           S                                                       T                                                                                   V                                                               Y                                               K                               T                                                                       P                                                               U                                                                   N                               O                                                                   X                                                                                                   K                                       P                                                                                       L                               M                                                                               O                                                                                               V                                                                       d                                                                                       S                                                           U                                                                   T                                                       L                                                                       S                                                   W                                                                       K                           T                                                                           P                                                               U                                           N                                           V                                               T                                                               R                                                   O                                                           _




                                                    D                               I
                                                                                                                                                                                                                                                                                               O                                                               g                                                               U                                                               K                                       N                           O                                                                           X                                                                                                                                   b                                                       ^                                                                                                   L                       M                                                           O                                                                                                           [                                                                           N                                               K                   L                                   L                                       O                                                                       T                                                                                       R                                                                               S                                                           T                                                                           L                       N                                                       V                                                       R                                                               L                                                                   S                                                                           N                                                               V                                                           \                                                                   N                                                       O                                                           O                                                                   d                                                                                           O                                                           T                                                                   L                           k                                                   S                                                               N




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                                                                                                                                                                                        e                                                                                               i                                                           V                                                           K                                   Y                       V                                                                   b                                                                   Y                       O                                                                                                                               U                                                       T                                                                       X                                                                           O                                                           N                                                                   L                                   M                                                       O                                                                                                       V                                                                           Q                                                               Q                                                       Y                                               K                               R                                               V                                                           b                                                                           Y                                           O                                                                                                                                                              K                   d                                                                                                   K                           L                                           P                                                                           S                                                                                           W                                                                          T                                                                           P                                                               U                                                       N                           V                                                                       T                                                   R                                                                   O                                                                                                   P                                                                       M                                                               S                                                                   [                                                                               T                                                                       K                           T                                                                                   L                           M                                                               O                                                                                                                                      O                                           R                                               Y                   V                                                               N                                   V                                                       L                       K                       S                                           T                                                   P                                   k




                                [                                                                       M                                           K               R                                                       M                                                                       O                                                               i                                                       O                                                               N                                                                               K                               P                                                                                               Y                                               O                                                   P                                                                   P                                                                           m




                                `                                                               M                                   K                       P                                                                           O                                                                                   T                                                           X                                                                       S                                                               N                               P                                                                       O                                                                               d                                                                                                       O                                                                       T                                                                           L                                                       P                                                           M                                                                       V                                                   Y                                   Y                                                       T                                                                               S                                                           L                                                           K                                               T                                                               R                                               N                                                       O                                                                           V                                                       P                                                           O                                                                                               L                                   M                                                       O                                                                                                               V                                                           Q                                                                   Q                                                               Y                                           K               R                                                               V                                                       b                                                           Y                           O                                                                                                                                                                  K                       d                                                                                                   K                                   L           P                                                                                                           S                                                   W                                                                                      T                                                           P                                                   U                                                   N                                               V                                           T                                                   R                                       O                                                                   P                                                           M                                                           S                                                       [                                                                   T                                                                       K           T                                                                           L                       M                                       O                                                                                                                                  O                                   R                                       Y               V                                   N                           V                                       L                                   K               S                                       T                               P                                       m




        !           "                                           #                                           $                                                                       %                                                               &                                                                           $                                                                                                                                                                                                                                                                                                                                               '                   (                                                                                   )                               *                                       +                                                       ,                                                                   -                                                           .                                                                               )                                                   /                                                           0                                                               1                                                                   2                           3                       4                                                   5                                                                   6                                           -                                                       ,                                                                                               7                                                                                       8                                                       6                               -                                                           2                                   3                           8                                                       *                                                               /                                                       9                                                                   '                                   (                                               .                                               +                                                               2                                               8                                       (                                                       )                                                           -                                                                               :                                                                                   -                                               2                                       ;                                                               3           )                                                               -                                                               .                                                                                   <                                               9                           9                           3                           )                                                       -                                                           =                                           '       (                                           )                                               >                           =                       ?                                                                   3                           6               5                                                                                   3                   6                   .                                                           0                                               -                                           2                       7                                                               3                   .                                   .                                       3               /                                   (                                   >                                                                                                                                                                                                                                           @                                                       A                                                               B                                   C                                                   D                       E                                                   F                           B                               D       G
                                 Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 59 of 560


                                                                                                                                                                                                                              IL 70 02 09 11

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ADVANCE NOTICE OF CANCELLATION, NONRENEWAL
            OR COVERAGE REDUCTION OR RESTRICTION
                       PROVIDED BY US
This endorsement modifies insurance provided under the following:

         COMMERCIAL AUTOMOBILE COVERAGE PART
         COMMERCIAL CRIME COVERAGE PART
         COMMERCIAL GENERAL LIABILITY COVERAGE PART
         COMMERCIAL INLAND MARINE COVERAGE PART
         COMMERCIAL PROPERTY COVERAGE PART
         COMMERCIAL UMBRELLA LIABILITY POLICY
         FARM UMBRELLA LIABILITY POLICY
         LIQUOR LIABILITY COVERAGE PART
         MERCANTILE UMBRELLA LIABILITY POLICY

                                                                                                   SCHEDULE

Person(s) or Organization(s)
 !   "   #   $   %   "   &   '   (   )   *   +   )   *   %   )   +   +    ,                               -
                                                                                                              Address
                                                                                                              .   /   0   1
                                                                                                                              !   %   %   2   3   ,   )   (   *   4   4   *   $   '   (   %   3   '   *   5
                                                                                                                                                                                                              /   6   0   6




                                                                              7   8




Number of Days Notice

If this policy is cancelled (other than nonpayment of premium) or nonrenewed or if the coverage provided by this
policy is reduced or restricted (except for any reduction in the Limits of Insurance due to claims payments), we will
provide written notice to the person(s) or organization(s) listed in the Schedule.
We will provide this notice by mail 30 days in advance of any policy cancellation, nonrenewal or coverage reduc-
tion or restriction or as indicated in the Number of Days Notice in the Schedule.

                                 All terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                              with its permission.
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                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
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                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            08/01/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 205.00                                    A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
INCREASED GARAGEKEEPERS LIMIT FOR LOCATION AT 3306-3310 W 75TH LANDOVER
THIS DEC PAGE REFLECTS THE CURRENT LIMITS AND PREMIUMS OF YOUR POLICY FOR ALL CHANGES THROUGH 10/22/18

ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
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                                                                                                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                   




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $
                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                        




            




                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                                                                                                                                                                                                                                                                                                                                                                     




                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $

                                             $                                                                                                                                                               MINUS                                                                       $
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               #                                         $      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
                                Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 63 of 560

JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                   Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 02/13/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   2/13/2019
                           Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 64 of 560

Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     2/13/2019
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                   AGENT COPY




                                                 14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 66 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            08/01/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 205.00                                    A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
INCREASED GARAGEKEEPERS LIMIT FOR LOCATION AT 3306-3310 W 75TH LANDOVER
THIS DEC PAGE REFLECTS THE CURRENT LIMITS AND PREMIUMS OF YOUR POLICY FOR ALL CHANGES THROUGH 10/22/18

ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to th                       own as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVER                          ction of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer oper
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                          Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 67 of 560

                                                                                                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 69 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            10/22/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 0.00                                      A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
ADDED CA2001P FOR FLEETNET AMERICA


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

            FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION


            13614            (1185)             Special Continuation Provision
            13803SC          (0708)             Schedule of Surcharges and Assessments
            AC0436           (0910)             Amendment of Definition of Pollutants
            AC2041           (0316)             Additional Insured – Primary and Non-
                                                Contributory Endorsement
            AC2107           (1001)             Ohio Underinsured Motorists Coverage – Bodily Injury
            AC2111A          (0109)             Georgia Uninsured Motorists Coverage – Reduced By At-
                                                Fault Limits
            AC2113MD         (0306)             Maryland Uninsured Motorists Coverage
            AC2131           (0703)             Michigan Uninsured Motorists Coverage
            AC2133           (1001)             Ohio Uninsured Motorists Coverage – Bodily Injury
            AC2144A          (1115)             Indiana Uninsured Motorists Coverage BI/PD
            AC2179           (0310)             Kentucky Underinsured Motorists Coverage
            AC2192a          (0712)             Pennsylvania Uninsured Motorists Coverage – Non-
                                                Stacked
            AC2193a          (0712)             Pennsylvania Underinsured Motorists Coverage - Non-
                                                Stacked
            AC2219           (0213)             Maryland Personal Injury Protection
            AC2220           (0418)             Michigan Personal Injury Protection
            AC3116           (1115)             Indiana Underinsured Motorists Coverage
            AC3117           (1001)             Ohio Uninsured Motorists Coverage – Property Damage
            AC7000           (0316)             Auto Medical Payments Amendment
            AD2564           (0316)             Acts, Errors and Omissions Coverages
            AD3501           (0316)             Dealers Extension Endorsement
            AD3506           (0316)             Blanket Garagekeepers, Physical Damage Coverage
            AD3513           (0316)             Dealers Replacement or Repairs
            AD3514           (0316)             Broad Form Products/Work Performed
            AD3522           (0316)             Blank Endorsement Form
            CA0025           (1013)             Auto Dealers Coverage Form
            CA0101           (1013)             Maryland Changes – Auto Dealers Coverage Form
            CA0104           (0115)             Illinois Changes – Auto Dealers Coverage Form
            CA0110           (0916)             Michigan Changes
            CA0113           (1013)             Colorado Changes
            CA0119           (1013)             Indiana Changes
            CA0145           (1013)             Ohio Changes – Auto Dealers Coverage Form
            CA0157           (0616)             Pennsylvania Changes – Auto Dealers Coverage Form
            CA0163           (1013)             Georgia Changes – Auto Dealers Coverage Form
            CA0164           (1013)             Kentucky Changes – Auto Dealers Coverage Form
            CA0175           (1013)             Arizona Changes
            CA0192           (1013)             Nevada Changes – Auto Dealers Coverage Form
            CA0197           (1013)             Texas Changes – Auto Dealers Coverage Form
            CA0215           (1013)             Maryland Cancellation Changes
AD 35 22 03 16    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 1 of 3
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               CA0217       (1013)      Michigan Changes – Cancellation and Nonrenewal
               CA0243       (1113)      Texas Changes – Cancellation and Nonrenewal
               CA0270       (0118)      Illinois Changes – Cancellation and Nonrenewal
               CA0301       (1013)      Deductible Liability Coverage
               CA0440       (1013)      Colorado Auto Medical Payments Coverage
               CA0444       (1013)      Waiver of Transfer of Rights
               CA2001P(2)   (1013)      Lessor – Additional Insured and Loss Payee
               CA2109       (1013)      Texas Uninsured/Underinsured Motorists Coverage
               CA2126       (1013)      Colorado Uninsured Motorists Coverage – Property
                                        Damage
               CA2127       (1013)      Nevada Uninsured Motorists Coverage
               CA2130       (0115)      Illinois Uninsured Motorists Coverage
               CA2138       (1013)      Illinois Underinsured Motorists Coverage
               CA2139       (1013)      Arizona Uninsured Motorists Coverage
               CA2140       (1013)      Arizona Underinsured Motorists Coverage
               CA2150       (0717)      Colorado Uninsured Motorists Coverage
               CA2153       (1013)      Illinois Uninsured Motorists Coverage – Property Damage
               CA2176       (1013)      Kentucky Uninsured Motorists Coverage
               CA2216       (1013)      Kentucky Personal Injury Protection
               CA2221       (0394)      Coordination of PIP
               CA2224       (1013)      Michigan Property Protection Coverage
               CA2237       (1013)      Pennsylvania Basic First Party Benefit
               CA2264       (1013)      Texas Personal Injury Protection Endorsement
               CA2384       (1013)      Terrorism Exclusion
               CA9903       (1013)      Auto Medical Payments Coverage
               CA9910       (1013)      Drive Other Car Coverage
               CA9944       (1013)      Loss Payable Clause
               IL0017       (1198)      Common Policy Conditions
               IL0021       (0702)      Nuclear Energy Liability Exclusion
               IL0021       (0908)      Nuclear Energy Liability Exclusion
               IL0110       (0907)      Nevada Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0115       (0110)      Nevada Changes – Domestic Partnership
               IL0147       (0911)      Illinois Changes – Civil Union
               IL0156       (1117)      Indiana Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0158       (0300)      Indiana Changes
               IL0162       (1013)      Illinois Changes – Defense Costs
               IL0169       (0907)      Colorado Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0228       (0907)      Colorado Changes – Cancellation and Nonrenewal
               IL0244       (0907)      Ohio Changes – Cancellation and Nonrenewal
               IL0246       (0907)      Pennsylvania Changes – Cancellation and Nonrenewal
               IL0251       (0907)      Nevada Changes – Cancellation and Nonrenewal
               IL0262       (0907)      Georgia Changes – Cancellation and Nonrenewal
               IL0272       (0907)      Indiana Changes – Cancellation and Nonrenewal
               IL7002 (2)   (0911)      Advance Notice of Cancellation
Page 2 of 3                                                                      AD XX XX XX XX
         Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 72 of 560


                                                                          AD XX XX XX XX

           IN5187      (1204)      IL Coml Auto Policy Notice Hired & Non-Owned Auto
           IN5207      (0407)      Changes in Pennsylvania Uninsured and Underinsured
                                   Motorists Coverage - Arbitration
           IN5278      (1213)      Important Notice Fair Credit Reporting Act
           IN5279      (0214)      Maryland Important Notice Regarding PIP and Premium
                                   Increase Coverage
           IN7378      (0506)      Important Notice - Michigan
           PA0209      (1013)      Ohio Changes – Cancellation and Nonrenewal
           PA0216      (1013)      Maryland Changes – Cancellation and Nonrenewal
           SP0002      (0916)      Signature Page (AMCO)




AD XX XX XX XX                                                                 Page 3 of 3
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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

                                    LOSS PAYABLE SCHEDULE


XTRA LEASE LLC
2150 NORTHBRIDGE AVE
BALTIMORE, MD 21226-9319

MERCEDES BENZ FINANCIAL SERVICES LLC
PO BOX 279319
SACRAMENTO, CA 95827-9319

PREMIER TRAILER LEASING INC
751 FRANKFURST AVE
BALTIMORE, MD 21226-1018

XTRA LEASE LLC
6943 RECOVERY RD
LOUISVILLE, KY 40214-4539

REDLINE TOWING INC / REDLINE LEASING CORP.
347 MAIN ST
DICKSON CITY, PA 18519

PACCAR LEASING COMPANY & PALMER LEASING, LLC
65 PARTNERSHIP WAY
CINCINNATI, OH 45241

P.J.K. FOOD SERVICE, LLC DBA KEANY PRODUCE & GOURMET
3306-3310 75TH AVE
LANDOVER, MD 20785

FLEETNET AMERICA
300 COMMERCE PO BOX 970
CHERRYVILLE NC 28021




AD 35 22 03 16    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 1 of 1
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                                Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 76 of 560

JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                   Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 01/30/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   1/30/2019
                           Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 77 of 560

Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     1/30/2019
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                   AGENT COPY




                                                 14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
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                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            10/22/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 0.00                                      A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
ADDED CA2001P FOR FLEETNET AMERICA


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

            FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION


            13614            (1185)             Special Continuation Provision
            13803SC          (0708)             Schedule of Surcharges and Assessments
            AC0436           (0910)             Amendment of Definition of Pollutants
            AC2041           (0316)             Additional Insured – Primary and Non-
                                                Contributory Endorsement
            AC2107           (1001)             Ohio Underinsured Motorists Coverage – Bodily Injury
            AC2111A          (0109)             Georgia Uninsured Motorists Coverage – Reduced By At-
                                                Fault Limits
            AC2113MD         (0306)             Maryland Uninsured Motorists Coverage
            AC2131           (0703)             Michigan Uninsured Motorists Coverage
            AC2133           (1001)             Ohio Uninsured Motorists Coverage – Bodily Injury
            AC2144A          (1115)             Indiana Uninsured Motorists Coverage BI/PD
            AC2179           (0310)             Kentucky Underinsured Motorists Coverage
            AC2192a          (0712)             Pennsylvania Uninsured Motorists Coverage – Non-
                                                Stacked
            AC2193a          (0712)             Pennsylvania Underinsured Motorists Coverage - Non-
                                                Stacked
            AC2219           (0213)             Maryland Personal Injury Protection
            AC2220           (0418)             Michigan Personal Injury Protection
            AC3116           (1115)             Indiana Underinsured Motorists Coverage
            AC3117           (1001)             Ohio Uninsured Motorists Coverage – Property Damage
            AC7000           (0316)             Auto Medical Payments Amendment
            AD2564           (0316)             Acts, Errors and Omissions Coverages
            AD3501           (0316)             Dealers Extension Endorsement
            AD3506           (0316)             Blanket Garagekeepers, Physical Damage Coverage
            AD3513           (0316)             Dealers Replacement or Repairs
            AD3514           (0316)             Broad Form Products/Work Performed
            AD3522           (0316)             Blank Endorsement Form
            CA0025           (1013)             Auto Dealers Coverage Form
            CA0101           (1013)             Maryland Changes – Auto Dealers Coverage Form
            CA0104           (0115)             Illinois Changes – Auto Dealers Coverage Form
            CA0110           (0916)             Michigan Changes
            CA0113           (1013)             Colorado Changes
            CA0119           (1013)             Indiana Changes
            CA0145           (1013)             Ohio Changes – Auto Dealers Coverage Form
            CA0157           (0616)             Pennsylvania Changes – Auto Dealers Coverage Form
            CA0163           (1013)             Georgia Changes – Auto Dealers Coverage Form
            CA0164           (1013)             Kentucky Changes – Auto Dealers Coverage Form
            CA0175           (1013)             Arizona Changes
            CA0192           (1013)             Nevada Changes – Auto Dealers Coverage Form
            CA0197           (1013)             Texas Changes – Auto Dealers Coverage Form
            CA0215           (1013)             Maryland Cancellation Changes
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               CA0217       (1013)      Michigan Changes – Cancellation and Nonrenewal
               CA0243       (1113)      Texas Changes – Cancellation and Nonrenewal
               CA0270       (0118)      Illinois Changes – Cancellation and Nonrenewal
               CA0301       (1013)      Deductible Liability Coverage
               CA0440       (1013)      Colorado Auto Medical Payments Coverage
               CA0444       (1013)      Waiver of Transfer of Rights
               CA2001P(2)   (1013)      Lessor – Additional Insured and Loss Payee
               CA2109       (1013)      Texas Uninsured/Underinsured Motorists Coverage
               CA2126       (1013)      Colorado Uninsured Motorists Coverage – Property
                                        Damage
               CA2127       (1013)      Nevada Uninsured Motorists Coverage
               CA2130       (0115)      Illinois Uninsured Motorists Coverage
               CA2138       (1013)      Illinois Underinsured Motorists Coverage
               CA2139       (1013)      Arizona Uninsured Motorists Coverage
               CA2140       (1013)      Arizona Underinsured Motorists Coverage
               CA2150       (0717)      Colorado Uninsured Motorists Coverage
               CA2153       (1013)      Illinois Uninsured Motorists Coverage – Property Damage
               CA2176       (1013)      Kentucky Uninsured Motorists Coverage
               CA2216       (1013)      Kentucky Personal Injury Protection
               CA2221       (0394)      Coordination of PIP
               CA2224       (1013)      Michigan Property Protection Coverage
               CA2237       (1013)      Pennsylvania Basic First Party Benefit
               CA2264       (1013)      Texas Personal Injury Protection Endorsement
               CA2384       (1013)      Terrorism Exclusion
               CA9903       (1013)      Auto Medical Payments Coverage
               CA9910       (1013)      Drive Other Car Coverage
               CA9944       (1013)      Loss Payable Clause
               IL0017       (1198)      Common Policy Conditions
               IL0021       (0702)      Nuclear Energy Liability Exclusion
               IL0021       (0908)      Nuclear Energy Liability Exclusion
               IL0110       (0907)      Nevada Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0115       (0110)      Nevada Changes – Domestic Partnership
               IL0147       (0911)      Illinois Changes – Civil Union
               IL0156       (1117)      Indiana Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0158       (0300)      Indiana Changes
               IL0162       (1013)      Illinois Changes – Defense Costs
               IL0169       (0907)      Colorado Changes – Concealment, Misrepresentation or
                                        Fraud
               IL0228       (0907)      Colorado Changes – Cancellation and Nonrenewal
               IL0244       (0907)      Ohio Changes – Cancellation and Nonrenewal
               IL0246       (0907)      Pennsylvania Changes – Cancellation and Nonrenewal
               IL0251       (0907)      Nevada Changes – Cancellation and Nonrenewal
               IL0262       (0907)      Georgia Changes – Cancellation and Nonrenewal
               IL0272       (0907)      Indiana Changes – Cancellation and Nonrenewal
               IL7002 (2)   (0911)      Advance Notice of Cancellation
Page 2 of 3                                                                      AD XX XX XX XX
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                                                                          AD XX XX XX XX

           IN5187      (1204)      IL Coml Auto Policy Notice Hired & Non-Owned Auto
           IN5207      (0407)      Changes in Pennsylvania Uninsured and Underinsured
                                   Motorists Coverage - Arbitration
           IN5278      (1213)      Important Notice Fair Credit Reporting Act
           IN5279      (0214)      Maryland Important Notice Regarding PIP and Premium
                                   Increase Coverage
           IN7378      (0506)      Important Notice - Michigan
           PA0209      (1013)      Ohio Changes – Cancellation and Nonrenewal
           PA0216      (1013)      Maryland Changes – Cancellation and Nonrenewal
           SP0002      (0916)      Signature Page (AMCO)




AD XX XX XX XX                                                                 Page 3 of 3
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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

                                    LOSS PAYABLE SCHEDULE


XTRA LEASE LLC
2150 NORTHBRIDGE AVE
BALTIMORE, MD 21226-9319

MERCEDES BENZ FINANCIAL SERVICES LLC
PO BOX 279319
SACRAMENTO, CA 95827-9319

PREMIER TRAILER LEASING INC
751 FRANKFURST AVE
BALTIMORE, MD 21226-1018

XTRA LEASE LLC
6943 RECOVERY RD
LOUISVILLE, KY 40214-4539

REDLINE TOWING INC / REDLINE LEASING CORP.
347 MAIN ST
DICKSON CITY, PA 18519

PACCAR LEASING COMPANY & PALMER LEASING, LLC
65 PARTNERSHIP WAY
CINCINNATI, OH 45241

P.J.K. FOOD SERVICE, LLC DBA KEANY PRODUCE & GOURMET
3306-3310 75TH AVE
LANDOVER, MD 20785

FLEETNET AMERICA
300 COMMERCE PO BOX 970
CHERRYVILLE NC 28021




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JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                   Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 01/10/2019

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   1/10/2019
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Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     1/10/2019
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                   AGENT COPY




                                                 14-33739

             COTTINGHAM & BUTLER INSURANCE
             PO BOX 28
             DUBUQUE, IA 52004-0028
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 89 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            10/22/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $ 50.00                                     A reduction in premium of $
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
ADDED WAIVER OF SUBROGATION, FLEETNET AMERICA, USING FORM CA0444 AND 30 DAY NOTICE OF CANCELLATION FORM IL7002.


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                                         Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 90 of 560


POLICY NUMBER:                                                                                                                                                                                                                     COMMERCIAL AUTO
                                                                                                                                                                                                                                       CA 04 44 10 13

                         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
         AGAINST OTHERS TO US (WAIVER OF SUBROGATION)
This endorsement modifies insurance provided under the following:

             AUTO DEALERS COVERAGE FORM
             BUSINESS AUTO COVERAGE FORM
             MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.



                                                                                                                                                                                                      SCHEDULE

Name(s) Of Person(s) Or Organization(s):
                                                                                                                 




                                                                                                                                                                           




                                                                                                                                                       




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The Transfer Of Rights Of Recovery Against
Others To Us condition does not apply to the
person(s) or organization(s) shown in the Schedule,
but only to the extent that subrogation is waived prior
to the "accident" or the "loss" under a contract with
that person or organization.




CA 04 44 10 13                                                                                                                                                                           © Insurance Services Office, Inc., 2011           Page 1 of 1
                                                                                                                                            Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 91 of 560


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                                                                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                ADVANCE NOTICE OF CANCELLATION, NONRENEWAL
                                   OR COVERAGE REDUCTION OR RESTRICTION
                                              PROVIDED BY US
        This endorsement modifies insurance provided under the following:

                                                COMMERCIAL AUTOMOBILE COVERAGE PART
                                                COMMERCIAL CRIME COVERAGE PART
                                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                COMMERCIAL INLAND MARINE COVERAGE PART
                                                COMMERCIAL PROPERTY COVERAGE PART
                                                COMMERCIAL UMBRELLA LIABILITY POLICY
                                                FARM UMBRELLA LIABILITY POLICY
                                                LIQUOR LIABILITY COVERAGE PART
                                                MERCANTILE UMBRELLA LIABILITY POLICY

                                                                                                                                                                                                                                                                                                                                                    SCHEDULE

        Person(s) or Organization(s)
                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                    Address                                                                                                                                                      
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                                                                                                                                                                                                                                                                                &       '




        Number of Days Notice

        If this policy is cancelled (other than nonpayment of premium) or nonrenewed or if the coverage provided by this
        policy is reduced or restricted (except for any reduction in the Limits of Insurance due to claims payments), we will
        provide written notice to the person(s) or organization(s) listed in the Schedule.
        We will provide this notice by mail 30 days in advance of any policy cancellation, nonrenewal or coverage reduc-
        tion or restriction or as indicated in the Number of Days Notice in the Schedule.

                                                                                                                                            All terms and conditions of this policy apply unless modified by this endorsement.




        IL 70 02 09 11                                                                                                                                                                                                                                      Includes copyrighted material of Insurance Services Office, Inc.,                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Page 1 of 1
                                                                                                                                                                                                                                                                                 with its permission.
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                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 93 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            10/22/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
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the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                                         Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 94 of 560


POLICY NUMBER:                                                                                                                                                                                                                     COMMERCIAL AUTO
                                                                                                                                                                                                                                       CA 04 44 10 13

                         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
         AGAINST OTHERS TO US (WAIVER OF SUBROGATION)
This endorsement modifies insurance provided under the following:

             AUTO DEALERS COVERAGE FORM
             BUSINESS AUTO COVERAGE FORM
             MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.



                                                                                                                                                                                                      SCHEDULE

Name(s) Of Person(s) Or Organization(s):
                                                                                                                 




                                                                                                                                                                           




                                                                                                                                                       




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The Transfer Of Rights Of Recovery Against
Others To Us condition does not apply to the
person(s) or organization(s) shown in the Schedule,
but only to the extent that subrogation is waived prior
to the "accident" or the "loss" under a contract with
that person or organization.




CA 04 44 10 13                                                                                                                                                                           © Insurance Services Office, Inc., 2011           Page 1 of 1
                                                                                                                                            Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 95 of 560


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    IL 70 02 09 11

                                                                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                ADVANCE NOTICE OF CANCELLATION, NONRENEWAL
                                   OR COVERAGE REDUCTION OR RESTRICTION
                                              PROVIDED BY US
        This endorsement modifies insurance provided under the following:

                                                COMMERCIAL AUTOMOBILE COVERAGE PART
                                                COMMERCIAL CRIME COVERAGE PART
                                                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                COMMERCIAL INLAND MARINE COVERAGE PART
                                                COMMERCIAL PROPERTY COVERAGE PART
                                                COMMERCIAL UMBRELLA LIABILITY POLICY
                                                FARM UMBRELLA LIABILITY POLICY
                                                LIQUOR LIABILITY COVERAGE PART
                                                MERCANTILE UMBRELLA LIABILITY POLICY

                                                                                                                                                                                                                                                                                                                                                    SCHEDULE

        Person(s) or Organization(s)
                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                    Address                                                                                                                                                      
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                                                                                                                                                                                                                                                                                &       '




        Number of Days Notice

        If this policy is cancelled (other than nonpayment of premium) or nonrenewed or if the coverage provided by this
        policy is reduced or restricted (except for any reduction in the Limits of Insurance due to claims payments), we will
        provide written notice to the person(s) or organization(s) listed in the Schedule.
        We will provide this notice by mail 30 days in advance of any policy cancellation, nonrenewal or coverage reduc-
        tion or restriction or as indicated in the Number of Days Notice in the Schedule.

                                                                                                                                            All terms and conditions of this policy apply unless modified by this endorsement.




        IL 70 02 09 11                                                                                                                                                                                                                                      Includes copyrighted material of Insurance Services Office, Inc.,                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Page 1 of 1
                                                                                                                                                                                                                                                                                 with its permission.
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                 INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                       Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 97 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            09/01/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $                                           A reduction in premium of $ 1,426.00
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
DELETED LOCATION AT 9 30TH ST, PITTSBURGH, PA 15201-1501.


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000                    $
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25                                                                                             $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
                                                                                                                                                    $
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000                                                                     $
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000                                                                    $
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000                                                                    $
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500                                                                     $
GARAGEKEEPERS
                                                     30                                                                                             $
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE                                                               $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30                                                                                             $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                                    $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX                                                                $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
                                                                                                                                                    $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS                  $
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM                   $



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
                                                                    Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 98 of 560
                                                                                                                                                                                                                                                                                                                                                    
                                                                                                                                                                                                                                                                                                                                                                                                                    Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                                                     !           "           #                                                                                                      $           %                                                             $                       &           $                       %                                  $               &               '                   (                       )                   (                                  (           '           (                   *               *                                                     +          $       +           $       ,




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ITEM FOUR                                                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                    Rating                                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                                                                       Protection
                                                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                      $           3                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        $                              $               3                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                                 3                          




                    
                                   All Others
                                   Class I-C Employees                                                                                                                                                                 3           2               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           3                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              3           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           3                          




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    $                                                                           3                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 3                                                                                                 $                                                  3                                                                                                                                                               3   ,                              




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4                   5           6               7           7




                    %




                                   Class I-C Employees                                                                                                                                                                 3           2               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           3                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              3           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           3                                                                                                             $                       3                                                                                                                                                                    $           3                                 




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                %                          2                                                 3                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 3                                                                                                 $                                                  3                                                                                                                                        %                       3                                 




                    2
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2               3                                 




                                   Class I-C Employees                                                                                                                                                                 3           2               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           3                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              3           %               




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .                           /                                          3                                                   .           /                      3
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'HILQLWLRQV
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&ODVV,±(PSOR\HHV
              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
                                                                Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 99 of 560
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                                                                                                                                                                                                                                                                                                                                                                                                Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                               !           "           #       $                          $           %           &           '                       $                       (   '               &                                                            )                                                                 




                                                             *       '           +       %                      *   '                          ,       '       &           !                                                     $                   -           !           &           +       ,                                                                                                                              .                                            




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                   Liability                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                   Premium                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                         




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2                   3               4               2           2




                    




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                            1                                                                                                                                            1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                         




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




'HILQLWLRQV
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '          )   /   5   




&ODVV,±(PSOR\HHV
              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
                         Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 100 of 560

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                                                                                                                                                                                                                                                                                                                                                                         * POLICY NUMBER
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  ITEM FIVE                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                   Premium
      No.                Coverages                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                          For Each Location
                  Comprehensive              $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"

            




                  Specified Causes of        SUBJECT TO                                                                                                                          $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                               EVENT.

                  Collision                  $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"


                                             $                                                                                                                                   MINUS                                               $
                                                                                                                                                                                                                                                                                         




                  Comprehensive                                                                                                                                                                                                                                                                                  DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                       




                  Specified Causes of        SUBJECT TO                                                                                                                          $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                    




            




                  Loss                                                                                                                                                                                                               EVENT.

                  Collision                  $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                 

                                                                                                                                               




                  Comprehensive              $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                     
                                                                                                                                                   




                                                                                                                                                                                 $
                                                                                                                                                                                                                    




            




                  Specified Causes of        SUBJECT TO                                                                                                                                                                              MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                               EVENT.

                  Collision                  $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                 




                                                                                                                                           




                                                                                                                                                                                                                                                                                                                                                                                          $
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                                                                                                                                                                                                                                                                                                                                                         TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                       "                                         #      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                 x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                 COPY
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  ITEM FIVE                                                                                                  GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                       Premium
      No.                Coverages                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                              For Each Location
                                                                                                                                                                                                                         




                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                           




                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                            




            




                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                                                                                                                                                                                                                     




                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                               




                                                                                                                                                                                                                                                                                                              $

                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $

                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $

                                                                                                                                                                                                                                                                             TOTAL PREMIUM                    $
                                                                                                                                                                                                                                                                                                                                                             !       "      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                     x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                         COPY
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                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                  * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                           $
Underinsured Motorists                                                                                        $
Uninsured Motorists Physical Damage                                                                           $




PODEC-4 (03-16) 00                                                                 COPY
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JOB TICKET
                                                       APPLICATION INFORMATION

Job Name / Policy No:        ACP3037247293
Application: GARAGE ADDENDUM                                                                    Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 10/15/2018

Pkg. Count __1__


                                                              FINISH INFORMATION

Instructions: Please mail all attached copies to the Agent.


PRINT:        TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to AGENT MAIL (IC)  ZONE 34, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                            Account Code                  PWS2 Template


*37247293*                                         *931005001*                            *5233*

                                                                                                                   10/15/2018
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Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ADDENDUM (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                    10/15/2018
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                   AGENT COPY




                                                 14-33739

              COTTINGHAM & BUTLER INSURANCE
              PO BOX 28
              DUBUQUE, IA 52004-0028
                      Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 106 of 560
                                                                       Auto Dealers Policy
                                                                  Change of Coverage Endorsement




Policy Number       ACP GPA 30 3 7247293
Named Insured       AIM LEASING COMPANY
& Mailing Address   - SEE NAMED INSURED SCHEDULE
                    1500 TRUMBULL AVE
                    GIRARD, OH 44420-3453
Policy Period: From 08/01/2018            To: 08/01/2019                                                12:01 A.M.           Effective Date of This Endorsement:
Agent      COTTINGHAM & BUTLER INSURANCE                                                                #14-33739            09/01/2018                12:01 A.M.
Address DUBUQUE, IA 52004-0028
(The information above is required only when this endorsement is either issued or effective after the effective date of the policy.)
This endorsement forms a part of the policy to which it is attached and takes effect as of the effective date of said policy unless otherwise stated herein. Nothing
herein contained shall beheld to vary, waive, alter, or extend any of the terms, conditions, agreements or declarations of the policy, other than as herein stated.
   IN CONSIDERATION OF                      An additional premium of $                                           A reduction in premium of $ 1,426.00
It is agreed that ITEM TWO of the Declarations is amended       ✖     to read                            to include as follows:
DELETED LOCATION AT 9 30TH ST, PITTSBURGH, PA 15201-1501.


ITEM TWO                                           SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos" are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                              COVERED AUTOS
                                        (Entry of one or more symbols                             LIMIT
           COVERAGES                    from the COVERED AUTOS                       THE MOST WE WILL PAY FOR ANY ONE                                     PREMIUM
                                        Section of the Auto Dealers                         ACCIDENT OR LOSS
                                        Coverage Form shows which
                                        autos are covered autos)
                                                                        Each "Accident" - Covered "Auto" Only        $ 1,000,000
LIABILITY
                                                     21                 Each "Accident" - General Liability Only     $ 1,000,000
"Auto Dealer Operations"
                                                                        Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                              Separately stated in each P.I.P. Endorsement
                                                     25
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
Added P.I.P.                                                            Separately stated in each P.I.P. Endorsement
(or equivalent No-Fault Coverage)                                       Minus $              Deductible
MEDICAL PAYMENTS                                    22                  $ 5,000
UNINSURED MOTORISTS                             23,26,28,29             $ 75,000
UNDERINSURED MOTORISTS
(When not included in uninsured                 23,26,28,29             $ 75,000
motorists coverage)
UM PD                                           23,26,28,29             $ 7,500
GARAGEKEEPERS
                                                     30
COMPREHENSIVE
GARAGEKEEPERS SPECIFIED
                                                                        SEE ITEM FIVE
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                                     30
COLLISION COVERAGE
PHYSICAL DAMAGE
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE SPECIFIED
                                                                        SEE ITEM SIX
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE INSURANCE
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                          PREMIUM FOR ENDORSEMENTS
SEE FORM AD3522
                                                                                                          ESTIMATED TOTAL PREMIUM



                                                                                                                 Signature of Authorized Representative

POAMEND (03-16) 00                                                                           COPY
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                                                                                                                                                                                                                                                                                                                                                    
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                                                     !           "           #                                                                                                      $           %                                                             $                       &           $                       %                                  $               &               '                   (                       )                   (                                  (           '           (                   *               *                                                     +          $       +           $       ,




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ITEM FOUR                                                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                    Rating                                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                                                                       Protection
                                                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                      $           3                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        $                              $               3                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                                 3                          




                    
                                   All Others
                                   Class I-C Employees                                                                                                                                                                 3           2               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           3                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              3           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           3                          




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    $                                                                           3                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 3                                                                                                 $                                                  3                                                                                                                                                               3   ,                              




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4                   5           6               7           7




                    %




                                   Class I-C Employees                                                                                                                                                                 3           2               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           3                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              3           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           3                                                                                                             $                       3                                                                                                                                                                    $           3                                 




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                %                          2                                                 3                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 3                                                                                                 $                                                  3                                                                                                                                        %                       3                                 




                    2
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2               3                                 




                                   Class I-C Employees                                                                                                                                                                 3           2               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           3                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              3           %               




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .                           /                                          3                                                   .           /                      3
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'HILQLWLRQV
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                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
                                                            Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 108 of 560
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ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                               !           "           #       $                          $           %           &           '                       $                       (   '               &                                                            )                                                                 




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                       Liability                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                       Premium                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                             




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2                   3               4                   2           2




                    




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                            1                                                                                                                                            1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                             




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        




'HILQLWLRQV
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '          )   /   5   




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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
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              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
                         Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 109 of 560

                                                                                                                                                                                                                                                                                                                              




                                                                                                                                                                                                                                                                                                                                                                         * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                   




  ITEM FIVE                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                   Premium
      No.                Coverages                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                          For Each Location
                  Comprehensive              $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                                          $
            




                  Specified Causes of        SUBJECT TO                                                                                                                          $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                               EVENT.                                                                                                                                               $
                  Collision                  $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                                          $

                                             $                                                                                                                                   MINUS                                               $
                                                                                                                                                                                                                                                                                         




                  Comprehensive                                                                                                                                                                                                                                                                                  DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                          $
                  Specified Causes of        SUBJECT TO                                                                                                                          $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                    




            




                  Loss                                                                                                                                                                                                               EVENT.                                                                                                                                               $
                  Collision                  $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                 

                                                                                                                                               




                                                                                                                                                                                                                                                                                                                                                                                          $

                  Comprehensive              $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                     
                                                                                                                                                   




                                                                                                                                                                                                                                                                                                                                                                                          $
                                                                                                                                                                                 $
                                                                                                                                                                                                                    




            




                  Specified Causes of        SUBJECT TO                                                                                                                                                                              MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                               EVENT.                                                                                                                                               $
                  Collision                  $                                                                                                                                   MINUS                                               $                                                                           DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                 




                                                                                                                                           




                                                                                                                                                                                                                                                                                                                                                                                          $

                                                                                                                                                                                                                                                                                                                                                         TOTAL PREMIUM                    $
                                                                                                                                                                                                                                                                                                                                                                                                               "                                 #      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                 x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                 COPY
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                                                                                                                                                                                                                                                  




                                                                                                                                                                                                                                                                                             * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                       




  ITEM FIVE                                                                                                  GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                       Premium
      No.                Coverages                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                              For Each Location
                                                                                                                                                                                                                         




                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                           




                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                            




            




                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                                                                                                                                                                                                                     




                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                               




                                                                                                                                                                                                                                                                                                              $

                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $

                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $

                                                                                                                                                                                                                                                                             TOTAL PREMIUM                    $
                                                                                                                                                                                                                                                                                                                                                             !       "      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                     x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                         COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 111 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                  * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                           $
Underinsured Motorists                                                                                        $
Uninsured Motorists Physical Damage                                                                           $




PODEC-4 (03-16) 00                                                                 COPY
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                  INSURED COPY




             AIM LEASING COMPANY
             DBA AIM NATIONALEASE
             1500 TRUMBULL AVE
             GIRARD, OH 44420-3453
                     Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 113 of 560
                                                                Auto Dealers Policy Declarations
                                                                      Items One and Two




                           THESE DECLARATIONS MUST BE COMPLETED BY THE ATTACHMENT OF A SUPPLEMENTARY SCHEDULE
ITEM ONE              POLICY NUMBER ACP GPA 30 3 7247293
                      NAMED INSURED • AIM LEASING COMPANY
                                      - SEE NAMED INSURED SCHEDULE
                             & ADDRESS • 1500 TRUMBULL AVE
                             Town & State • GIRARD, OH 44420-3453
                                 Agent • COTTINGHAM & BUTLER INSURANCE
             Address Town and State • DUBUQUE IA 52004                                                                     #34-33739
POLICY PERIOD:
        12:01 A.M. Standard Time at the Named
        Insured's Address state above.                   Covers FROM 08/01/2018                                            TO 08/01/2019
The "named insured" is:      Individual      Partnership   ✖ Corporation        Joint Venture                             Other
NAMED INSURED'S BUSINESS TRUCK/TRAILER LEASING & REPAIR
ITEM TWO                                         SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos” are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS Section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                            COVERED AUTOS
                                     (Entry of one or more symbols                                   LIMIT
                                     from the COVERED AUTOS
                                     Section of the Auto Dealers                  THE MOST WE WILL PAY FOR ANY ONE
          COVERAGES                  Coverage Form shows which                                                                                  PREMIUM
                                                                                         ACCIDENT OR LOSS
                                     autos are covered autos)
                                                                     Each "Accident" - Covered "Auto" Only      $ 1,000,000
LIABILITY
                                          21                         Each "Accident" - General Liability Only   $ 1,000,000              $
"Auto Dealer Operations"
                                                                     Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                           Separately stated in each P.I.P. Endorsement
                                          25                                                                                             $
(or equivalent No-Fault Coverage)                                    Minus $             Deductible
ADDED P.I.P.                                                         Separately stated in each Added P.I.P. Endorsement
                                                                                                                                         $
(or equivalent No-Fault Coverage)                                    Minus $             Deductible
MEDICAL PAYMENTS                          22                         $ 5,000                                                             $
UNINSURED MOTORISTS             23,26,28,29         $ 75,000                                                                             $
UNDERINSURED MOTORISTS
(when not included in uninsured 23,26,28,29         $ 75,000                                                                             $
motorists coverage)
UM PD                           23,26,28,29         $ 7,500                                                                              $
GARAGEKEEPERS
                                30                                                                                                       $
COMPREHENSIVE COVERAGE
GARAGEKEEPERS SPECIFIED
                                                    SEE ITEM FIVE                                                                        $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                30                                                                                                       $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                         $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE
                                                    SEE ITEM SIX                                                                         $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE
                                                                                                                                         $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                  PREMIUM FOR ENDORSEMENTS               $
SEE ENDORSEMENT AD3522                                                                              ESTIMATED TOTAL PREMIUM              $

       Renewal or Replacement No. ACP GPA 3027247293                                     Countersigned by
                       THESE DECLARATIONS TOGETHER WITH THE AUTO DEALERS POLICY PROVISIONS, SUPPLEMENTARY SCHEDULES AND
                            ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

PODECA (03-16) 00                                                                    COPY
                                                                    Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 114 of 560
                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




ITEM THREE                                                                                                                                                                                                  LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                                 Address
    No.                                                                                                                                                                                                             (list “your” main business location as Location No. 1)
                                                                                                                                          !           "                   #                                                     #               $               $               "                   %                                                          &                                              '                                      (       &                                                     '




                                                &                                        )           *           +           )   $           $                  ,       #           "                                                                                          !               "                              -                                                                                                                                              (                                             &                   




                                                              -       )                                     -           .               "           /               -       #                                      $                                      0                   !               "                                                                                        '                                          '                                  (                                                                    




ITEM FOUR                                                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                                    Classes of Operators                                                                                                                                    Rating                                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                               Personal Injury
                                                                                                                                                                                                            Factor                                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                   Protection
                                                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                           Class I-A Employees                                                                                                                                                                     1                      




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                                     1                                                                                                                        1                                                                                                                                                                                                   1   2                          




                        
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1       2                          




                                           Class I-C Employees                                                                                                                                                                     1   '                   




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  1                      &




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  1   &                   




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     1                      




                                                                                                                                                                                                                                                                                                                                                               1                                                                                                                                                                                                   1                             




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                                     1                                                                                 2                                              1                                                                                                                                                                                                      1                         




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3       4                       5       6           7               7




                    




                                           Class I-C Employees                                                                                                                                                                     1   '                   




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  1                      &




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  1   &                   




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     1                      




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                                     1                                                                                             '                           1                                                                                                                                                                                                   1                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                     




                                           Class I-C Employees                                                                                                                                                                     1   '                   




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  1                      &




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  1   &                   




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          0       1                                                      0                   1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      0       1




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              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                                  3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                                      RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                        Auto Dealers Policy Declarations
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ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                                                     !           "           #                                                                                                      $           %                                                                 $                       &           $                       %                                  $




                        %                %                            '           (           (           )       *              '                   +                      ,           -                                      -                   *           .                                         #                                                                                                 +                                                  /       %           $                      &                          /           /           




                        /             $   /              %       %       ,                  +           )       #           "               +       -           +           #           )                                                         (                   "                                                                                                (                               *                       *                                  +           )                                  *                       /                                       &   $                                                     




ITEM FOUR                                                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                    Rating                                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                      $           0                                                                                                                 $                       0                                                                                                                                                        $       0                         




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 0                                                                                                         /                               0                                                                                                                                                               0                         




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  0                                         




                                   Class I-C Employees                                                                                                                                                                 0           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           0                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              0           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           0                          




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 0                                                                                                 $                                                      0                                                                                                                                               0   1                      




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2                   3           4                   5           5




                    %




                                   Class I-C Employees                                                                                                                                                                 0           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           0                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              0           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           0                                                                                                                 $                       0                                                                                                                                                        $       0                         




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                                 0                                                                                                 $                                                      0                                                                                                                            %                   0                         




                    /
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           /               0                                         




                                   Class I-C Employees                                                                                                                                                                 0           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           0                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              0           %               




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (           +          0                                           (           +                      0
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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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ITEM THREE                                                                                                                                                                                  LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                 Address
    No.                                                                                                                                                                                             (list “your” main business location as Location No. 1)
                                                                        !                          "              #                          $       "           "           !                   %                                                 "               &       '   $                                                           !                                   (                       $                       '                      (                   )                       *                       %                                                      (                                                                          +                                                        




                                     ,                    *           '           -   $       "                          "               $   *       )           "           !                   %               #                              .                          "                   $                           )                           (                       %                                                                                                                  ,                                          +                                                        




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ITEM FOUR                                                                                                                                                                                                                                                                                LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                        Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                   Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                       Class I-A Employees                                                                                                                                                     1                      




                                       Principals
                                       Class I-B Employees                                                                                                                                                     1                                                                                                        ,                               1                                                                                                                                            ,                       1                                                     




                        
                                       All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,               1                                             




                                       Class I-C Employees                                                                                                                                                     1   ,                   




                                       Regular Operators
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Under Age 25
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Age 25 or over
                                       Class I-A Employees                                                                                                                                                     1                      




                                       Principals
                                       Class I-B Employees                                                                                                                                                     1                                                                                                                            1                                                                                                                                                                               1                                                     




                                       All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2               3           4                   4               4




                        




                                       Class I-C Employees                                                                                                                                                     1   ,                   




                                       Regular Operators
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Under Age 25
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Age 25 or over
                                       Class I-A Employees                                                                                                                                                     1                      




                                       Principals
                                       Class I-B Employees                                                                                                                                                     1                                                                                                                                       1                                                                                                                                                                                      1                                             




                        
                                       All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1                                         




                                       Class I-C Employees                                                                                                                                                     1   ,                                                                                                                         1                                                                                                                                                                               1       ,                                              




                                       Regular Operators
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Under Age 25
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  #   )       1                                                      #           )           1
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                  $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
                  % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
                  & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




ITEM THREE                                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                            !           "           #           !           $               %       &       '                  (                       !                       $               "           )   *           '                                          +                                       ,                                                                       -                                            




                                            ,                        (           )   .           /       $       0           #                      "           /       &               %           &               '                       #               !                           1           .                           1                               %                       '                                               )              ,                                                        -                                    




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                                Classes of Operators                                                                                                                                    Rating                                                                                       Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                                        Factor                                                                                      of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                           Class I-A Employees                                                                                                                                                                     3                                                                                                                    3                                                                                                                                                       3                             




                                           Principals
                                           Class I-B Employees                                                                                                                                                                     3                                                                                                                           3                                                                                                                                               3                             




                        
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      3                                     




                                           Class I-C Employees                                                                                                                                                                     3                      




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     3                      




                                           Principals
                                           Class I-B Employees                                                                                                                                                                     3                                                                                                                           3                                                                                                                                               3                             




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4           5           6               7           7




                    




                                           Class I-C Employees                                                                                                                                                                     3                      




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     3                                                                                                                    3                                                                                                                                                       3                             




                                           Principals
                                           Class I-B Employees                                                                                                                                                                     3                                                                                                                           3                                                                                                                                               3                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3                                     




                                           Class I-C Employees                                                                                                                                                                     3                      




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !           "   &       3                                           !           "           &           3
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              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
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                                      RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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ITEM THREE                                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                                                 !       "       #           $           %           !           "                   $                              &                           #                      %                                           '                                          (                                          '               )                                                




                        (                                        *                      &       &                      &              +                          ,           #                                                         $       -           %                   &                           *                           .           $                   $                   /                       #                   %                   *                                                                                                          )       (              (   




                                                  %           !       "                      $                  &                                      #       &           %                                      -                   *                              0                                          %                                                                                 #                   .       $                                                 (                                                 )                                                




ITEM FOUR                                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                    Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                                   Personal Injury
                                                                                                                                                                                                Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                   Class I-A Employees                                                                                                                                                             1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             1                                                                                                                    1                                                                                                                                                                                   1       '                              




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1           '                          




                                   Class I-C Employees                                                                                                                                                             1                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                          1                      (




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          1           (           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                             1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             1                                                                                                        (                           1                                                                                                                                                                   1                                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2           3           4               4           4




                    (




                                   Class I-C Employees                                                                                                                                                             1                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                          1                      (




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          1           (           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                             1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             1                                                                                                                    1                                                                                                                                                                                   1                                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                     




                                   Class I-C Employees                                                                                                                                                             1                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                          1                      (




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          1           (           




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           %           &   -       1                                           %           &           -           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       %       &   -       1




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&ODVV,±(PSOR\HHV
              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

 127(                              3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIKRXUVRUPRUHDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

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              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

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                                                                                                                                                                                                                                                                                                                                                                                                                    Auto Dealers Policy Declarations
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




ITEM THREE                                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                       !   "               #           $       %           "           &       &           #                      '                           $                                                                                                                                                    (                                                                )




                        )                   *   )           +           ,       !                                    &                              -       $              &       .           !           /                                      -                          /                   $                   0                           1                                                                                                                              (                                        




                                                  !   '                  &       "                   !                     !       /           #           2           3       -           "                   !                                                                       "           0                                       #                               "                                   $                                                         0               #                                                 &       $                                                                                                    (              )              




ITEM FOUR                                                                                                                                                                                                                                                                                                LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                                   Personal Injury
                                                                                                                                                                                                        Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                                   Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                   Class I-A Employees                                                                                                                                                                         4                                                                                                                                4                                                                                                                                                               4                             




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                   Class I-B Employees                                                                                                                                                                         4                                                                                                                                           4                                                                                                                                                   4                             




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  4                                             




                                   Class I-C Employees                                                                                                                                                                         4   *               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                         4                  




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                   Class I-B Employees                                                                                                                                                                         4                                                                                                 *                               4                                                                                                                                                               4                             




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           5           6           7                   8               8




                    )




                                   Class I-C Employees                                                                                                                                                                         4   *               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                         4                                                                                                                                4                                                                                                                                                               4                             




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                   Class I-B Employees                                                                                                                                                                         4                                                                                                 *                               4                                                                                                                                                               4                             




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          4                                             




                                   Class I-C Employees                                                                                                                                                                         4   *               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              /   -       4                                                      /           -           4
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 



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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




ITEM THREE                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                                             !                             "                  #           $                       %                                                                 &                   '                                                           %                   '                           (                                                           )                   *                              +                          ,




                                +         -       -       +                 .                         !                                               /       "       0                   %                   !                   0                   !                                                                                '                       /                   !           #               %           !                                  )                                  )               -                   *       +                      +   




                                             +          +                    '                              &           1                  '              0                                  %                                                             '       /                                          '                                                           %               '                   (                                     ,                                  ,                   *       ,                                  )       ,




ITEM FOUR                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                                    Classes of Operators                                                                                                                Rating                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                           Liability                                                                       Personal Injury
                                                                                                                                                                                        Factor                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                           Premium                                                                           Protection
                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                           Class I-A Employees                                                                                                                                  +           2                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,                           -                           




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




                                           Class I-B Employees                                                                                                                                             2                                                                                             -                           2                                                                                                                                               2                                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2                                     




                                           Class I-C Employees                                                                                                                                             2       )           




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                               +           2               +   ,




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                          2       ,           




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                  +           2                  




                                           Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       %           +                                             




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                             2                                                                                     +                                          2                                                                                                                                       2                                             




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3           4           5               6           6




                        +




                                           Class I-C Employees                                                                                                                                             2       )                                                                                          +                       2                                                                                                                                               2   )                                          




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                               +           2               +   ,




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                          2       ,           




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                  +           2                  




                                           Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            +                                                     




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                             2                                                                                                                        2                                                                                                                                    +           2                                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               +           2                                     




                                           Class I-C Employees                                                                                                                                             2       )           




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                               +           2               +   ,




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                          2       ,           




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '                               &               2                                               '                   &           2
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '       &       2




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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
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              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                                  3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                                      RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




ITEM THREE                                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                       !       "   #           $       %       &           '                      (           )                   *                   #                                                                                          +                           &                               "       $                                                             ,                              




                                        ,   -          .              (       "       /                   )           $                   %           &                      )           $                                                         0                                  1    &                           )                                       '                                                                                                       -               2           ,                                 




                                                  ,   (                         /           '                          *   #       &                      '           )           #                   (                           "       3           &                          4                -                                                                                                    ,               2                      ,                              




ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                Rating                                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                    Liability                                                   Personal Injury
                                                                                                                                                                                            Factor                                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                    Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                                    Premium
                                   Class I-A Employees                                                                                                                                                  ,               5                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                   Class I-B Employees                                                                                                                                                                 5                                                                                                                         5                                                                                                                                                                           5                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           5                                     




                                   Class I-C Employees                                                                                                                                                                 5                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               ,               5           ,           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              5                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  ,               5                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                   Class I-B Employees                                                                                                                                                                 5                                                                                                                         5                                                                                                                                                                           5                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    6           7           8               8           8




                    




                                   Class I-C Employees                                                                                                                                                                 5                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               ,               5           ,           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              5                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  ,               5                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                   Class I-B Employees                                                                                                                                                                 5                                                                                      ,                                                  5                                                                                                                                                           5                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   5                                     




                                   Class I-C Employees                                                                                                                                                                 5                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               ,               5           ,           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              5                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                )           (   /       5                                           )           (           /           5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          



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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

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ITEM THREE                                                                                                                                                                                  LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                 Address
    No.                                                                                                                                                                                             (list “your” main business location as Location No. 1)
                                                                                                         !                  "           #           $                  %                                                     !               &                                  '       $                                                  (                           )                                                                               *       +                                     




                                                                                  ,       &                      '       !           $           #           ,       &                          !                       ,                   $                   ,               %                                                                                    +                                  *                                         +           




                        )                             +                         #       %               "       #       $                      %           -                                                ,                       $               -   &                                                                                           )           *                              )                                      




ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                            Rating                                                                                                       Number       Rating        Total                                                                                                                                                                                                                                                                                                                                               Liability                                                   Personal Injury
                                                                                                                                                                                        Factor                                                                                                      of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                               Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                                  +       .                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                         .                                                                                                         )                       .                                                                                                                                                       .                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                                     




                                   Class I-C Employees                                                                                                                                                         .                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               +       .               +       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                      .                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  +       .                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                         .                                                                                                                                .                                                                                                                                                       .   )                  




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               /           0           1               2           2




                    




                                   Class I-C Employees                                                                                                                                                         .                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               +       .               +       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                      .                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  +       .                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                         .                                                                                                                                .                                                                                                                                                       .                     




                    )
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .                                     




                                   Class I-C Employees                                                                                                                                                         .                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               +       .               +       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                      .                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,              #       .                                           ,                      #           .
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              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
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                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                                                                       !               "                                    !                              #                   $               "                                             %                                                                                     #                                  &                                          '                                                                         (               )                                            *




                                                (   *                         +           ,                                                   !                      #           -              .               .                              %                                  /                   #                                                                                         (                   '               (           (                      )                                          (                                      




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                                Classes of Operators                                                                                                                                Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                           Class I-A Employees                                                                                                                                                  (       4                      




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                         4                                                                                                                            4                                                                                                                                                                    (                   4                                                     




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (       4                                 




                                           Class I-C Employees                                                                                                                                                         4       '               




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                               (       4           (           *




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      4       *               




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                  (       4                      




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                         4                                                                                                 *                           4                                                                                                                                                                                       4                                                     




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       5               6       7               7           7




                    




                                           Class I-C Employees                                                                                                                                                         4       '               




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                               (       4           (           *




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      4       *               




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                  (       4                                                                                                                            4                                                                                                                                                                                       4                                                     




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                         4                                                                                                                                   4                                                                                                                                                (                                              4                                                 




                        (
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (                      4                                 




                                           Class I-C Employees                                                                                                                                                         4       '               




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                               (       4           (           *




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      4       *               




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               +              0       4                                           +                      0           4
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




ITEM THREE                                                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                               !           "           #                      $           %           &               '           (                                                     !           !               '               )                   *       +                   +               "                   (                                                                                                                            ,                                            #




                                                          !                  *                                    !                  *              (                      "                                                                    "           !                              %                           -                       (           .                       &                                                                              ,                                  #                              #




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ITEM FOUR                                                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                            Rating                                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                           Liability                                                   Personal Injury
                                                                                                                                                                                                            Factor                                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                           Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
                                   Class I-A Employees                                                                                                                                                                             4                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                             4                                                                                                                    4                                                                                                                                           4                                         




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              4                                     




                                   Class I-C Employees                                                                                                                                                                             4           #           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                          4                      3




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                          4           3           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                             4                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                             4                                                                                                                    4                                                                                                                                           4                                         




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       5           6           7               5           5




                    




                                   Class I-C Employees                                                                                                                                                                             4           #           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                          4                      3




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                          4           3           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                             4                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                             4                                                                                                                    4                                                                                                                                           4                                         




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      4                                     




                                   Class I-C Employees                                                                                                                                                                             4           #           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                          4                      3




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                          4           3           




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -   !       4                                                      -           !           4
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              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                                            !                                                        "                                      #                                         $           %           &                   '               (                       $                                         &                   #                                                                                                                                    )          *           +                       




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                                                        "                  %                      &       "               "                              '       /           $               -               &                                  #                                     &                       (                       &                                                         %                                      #                                  .                                                             ,                         )                          *                           ,           *




ITEM FOUR                                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                            Rating                                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                        Factor                                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                      ,       0                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             0                                                                                                                0                                                                                                                                                               0   *                              




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              0           *                                  




                                   Class I-C Employees                                                                                                                                                             0           +           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   ,       0               ,       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          0                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      ,       0                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             0                                                                                                                0                                                                                                                                                    ,           0                                 




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1                   2           3                       4           4




                    +




                                   Class I-C Employees                                                                                                                                                             0           +           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   ,       0               ,       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          0                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      ,       0                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             0                                                                                                                0                                                                                                                                                               0   *                              




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      0               *                              




                                   Class I-C Employees                                                                                                                                                             0           +           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   ,       0               ,       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          0                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      %   -       0                                                      %           -           0
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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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ITEM THREE                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                                !                  "                      #               $                   $                                  %                                                                            &                              '                           "                              #                                                          (                        




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                                                                          !                  "               $           *           .           )                                     %                   "                   &   .                          ,                                                         -                   (                                                




ITEM FOUR                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                               Liability                                                   Personal Injury
                                                                                                                                                                            Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                               Premium                                                       Protection
                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                  -               /                  




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                 /                                                                                             -                       /                                                                                                                       /                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                              /                                     




                                   Class I-C Employees                                                                                                                                                 /   ,               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                               -               /       -           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                              /                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                  -               /                  




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                 /                                                                                             -                       /                                                                                                                       /                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                       0           1           2               0           0




                    




                                   Class I-C Employees                                                                                                                                                 /   ,               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                               -               /       -           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                              /                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                  -               /                  




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                 /                                                                                                                    /                                                                                                                       /                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      /                                     




                                   Class I-C Employees                                                                                                                                                 /   ,               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                               -               /       -           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                              /                  




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #           .          /                                           #           .                      /
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              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                  !           "   #                   #       $               %           $           &                   '                               &               (           "                                                                     %                   "                                  )                                                )               *                                 )               




                                                                                    +       ,           -                      (           %                      &           '           '                                           $                                                                     "       ,                           .                   %                                          &                       +                                                           *                                 )       




                                                          -       /       0               ,       !           ,               %       #                                 -           &               !               %           &               -                                         +                                                                 *                                             )               




ITEM FOUR                                                                                                                                                                                                                                                                                LIABILITY COVERAGES – PREMIUMS
                                                    Classes of Operators                                                                                                                            Rating                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                           Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                           Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                   Units                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
                                           Class I-A Employees                                                                                                                                                         1                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                         1                                                                                     +                           1                                                                                                                                                       1                                 




                        
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                     




                                           Class I-C Employees                                                                                                                                                         1       )           




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                         1                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                         1                  




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2           3           4               5           5




                    




                                           Class I-C Employees                                                                                                                                                         1       )                                                                                                         1                                                                                                                                                       1   +                              




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                         1                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                         1                  




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1           )                          




                                           Class I-C Employees                                                                                                                                                         1       )                                                                                                         1                                                                                                                                                       1   )                              




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           &           0   ,       1                                           &           0           ,           1
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  COPY
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ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                      !                  "       #           $                   %                     %           &                   $                              !                                                 '               '                                          (               )                                                 




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                               Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                               Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                                      )       2                          




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             2                          




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   )               2                                     




                                   Class I-C Employees                                                                                                                                                             2           /                                                                                                                     2                                                                                                                            )   2                 




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   )       2                   )       *




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          2           *               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      )       2                          




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             2                          




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       3               4       5               6               6




                    *




                                   Class I-C Employees                                                                                                                                                             2           /                                                                                                                     2                                                                                                                            )   2                 




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   )       2                   )       *




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          2           *               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      )       2                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                %   &                          -




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                %   &                      -




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                             2                          




                    /
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           %   &                                      -




                                   Class I-C Employees                                                                                                                                                             2           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   )       2                   )       *




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          2           *               




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      &           2                                                                 &                   2
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              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

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                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                               !           "           #       $                          $           %           &           '                       $                       (   '               &                                                            )                                                                 




                                                             *       '           +       %                      *   '                          ,       '       &           !                                                     $                   -           !           &           +       ,                                                                                                                              .                                            




                                    )                     ,                  +       %       '           +               "   '           $                          %           $                   &           +                       /                       $                       0                       *                                              !                                   ,                   '                                     !                   &           +                   ,                                                  .                                                                        




ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                               Liability                               Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                               Premium                                   Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                                 




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2                   3               4                   2               2




                    




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                            1                                                                                                                                            1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                                 




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 



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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                    Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
                                                                                                                                                                                                                                                                                                                                                                                  




                      Comprehensive          $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $
                      Specified Causes of    SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
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                      Collision              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                             $                                                                                                                                                                   MINUS                                                                       $
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                       



                                                                                                                                                                                                                                                                                                 




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                      Specified Causes of    SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                              
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                 




            




                      Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                          




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   #                                      $      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                  




                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                         




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                  Loss                                                                                                                                                                                                                                                                   EVENT.
                                                                                                                                                                                                                                                                                                                                                                      




                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




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                                             $                                                                                                                                                               MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                                                              




                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                  




                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                         




                




                                                                                                                                                                                                                                 




                      Loss                                                                                                                                                                                                                                                               EVENT.
                                                                                                                                                                                                                                                                                                                                                                      




                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                 




                                                                 




                                             $                                                                                                                                                               MINUS                                                                       $
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                




                      Loss                                                                                                                                                                                                                                                               EVENT.
                                                             




                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




                 




                      Loss                                                                                                                                                                                                                                                               EVENT.
                                                     




                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.                                                                                                                                                                   $
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                               EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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  ITEM FIVE                                                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                              




                  Comprehensive              $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                                                   EVENT.
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                  Collision                  $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                             




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                  Loss                                                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        cation
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
                                                                                                                                                                                                                                                                                                                                                                                  




                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                           




                                                                                                                                                                                                                                                                                                     




                                             $                                                                                                                                                                   MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                                                                  




                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                        



                                                                                                                                                                                                                                                                                                 




                                                                                                             




                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                 


            




                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                          

                                                                                                                                                                                




                                                                                                                                                                                                                                                                                                     

                                                                                                     




                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                    




                                                                                                                                                                                                                                                                                                         
                                                                                                         




                                                                                                                                                                                                                 $
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                 




         




              




                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                          




                                                                                                                                                                            




                                                                                                                                                                                                                                                                                                     




                                                                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                     TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "                                    #      $




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

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    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                   




                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                        




            




                  Loss                                                                                                                                                                                                                                                                   EVENT.
                                                                                                                                                                                                                                                                                                                                                                     




                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




                                             $                                                                                                                                                               MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                   




                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                    




            




                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     

                                                                                                                                                                           




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                         
                                                                                                                                                                               




                                                                                                                                                                                                             $
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     




                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       #                                 $      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

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    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                                                                                                                                                                                                                                                                                             * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                               




  ITEM FIVE                                                                                                  GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                       Premium
      No.                Coverages                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                              For Each Location
                                                                                                                                                                                                                         




                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                           




                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                            




            




                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                                                                                                                                                                                                                     




                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                               




                                                                                                                                                                                                                                                                                                              $
                                                                                                                                                                                                                                                                                                                          




                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $

                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $
                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.                                                                                                                           $
                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                              $

                                                                                                                                                                                                                                                                                                              $
                                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                             TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                            !      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                     x ".


DIRECT COVERAGE OPTIONS

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    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                         COPY
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                                                               Auto Dealers Policy Declarations
                                                         AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                
                                                                                                                        * POLICY NUMBER
                                                                                                                                                         




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                    Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                    $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                   




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                    $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                             Rate                 Premium
                  Driver Trips


51-200 miles                                                              $

Over 200 miles                                                            $
                                                                          $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                     Number of Plates                 Rate Per Plate                                Premium
                                                                                            




                                                                                                         




Uninsured Motorists
Underinsured Motorists                                                                                              $
Uninsured Motorists Physical Damage                                                                                 $




PODEC-4 (03-16) 00                                                              COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                           
                                                                                                                               * POLICY NUMBER
                                                                                                                                                                




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                              Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                               $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                  $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                           Rate             Premium
                  Driver Trips


51-200 miles                                                                        $

Over 200 miles                                                                      $
                                                                                    $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                                 Rate Per Plate                             Premium
                                                                                                                




Uninsured Motorists                                                                                                    




                                                                                                                     


                                                                                                         




Underinsured Motorists
                                                                                                                    


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Uninsured Motorists Physical Damage                                                                            




PODEC-4 (03-16) 00                                                                        COPY
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                                                              Auto Dealers Policy Declarations
                                                        AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                        
                                                                                                                            * POLICY NUMBER
                                                                                                                                                                 




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                   Premium Determination                                                Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                            $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                  




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                            $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                            Rate                 Premium
                  Driver Trips


51-200 miles                                                             $

Over 200 miles                                                           $
                                                                         $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                    Number of Plates                 Rate Per Plate                                         Premium
                                                                                                              




Uninsured Motorists
                                                                                                            


                                                            




Underinsured Motorists
Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                             COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 149 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                  * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                           $
Underinsured Motorists                                                                                        $
Uninsured Motorists Physical Damage                                                                           $




PODEC-4 (03-16) 00                                                                 COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                            
                                                                                                                                * POLICY NUMBER
                                                                                                                                                                     




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                                Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                                $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                   $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate              Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                          Rate Per Plate                                         Premium
                                                                                                                  




Uninsured Motorists
                                                                                                              


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Underinsured Motorists
Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                 COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                                                   * POLICY NUMBER
                                                                                                                                                                                        




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                              Premium Determination                                                            Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                                                   $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                                      $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                           Rate             Premium
                  Driver Trips


51-200 miles                                                                        $

Over 200 miles                                                                      $
                                                                                    $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                                 Rate Per Plate                                                                     um
                                                                                                                                     




Uninsured Motorists
                                                                                                                                   


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Underinsured Motorists
                                                                                                                                  




Uninsured Motorists Physical Damage




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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                               * POLICY NUMBER
                                                                                                                                                                    




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                              Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                               $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                  $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                           Rate             Premium
                  Driver Trips


51-200 miles                                                                        $

Over 200 miles                                                                      $
                                                                                    $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                                 Rate Per Plate                                 Premium
                                                                                                        




Uninsured Motorists                                                                                                   




                                                                                                                   


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Underinsured Motorists
                                                                                                                   




Uninsured Motorists Physical Damage                                                                            




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                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                  * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                           $
Underinsured Motorists                                                                                        $
Uninsured Motorists Physical Damage                                                                           $




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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                   
                                                                                                                       * POLICY NUMBER
                                                                                                                                                        




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                       $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                          $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




                                                                                                                       $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                                     mium
                                                                                                           




Uninsured Motorists                                                                        




                                                                                                   




Underinsured Motorists                                                                                  




Uninsured Motorists Physical Damage




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                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 156 of 560
                                                               Auto Dealers Policy Declarations
                                                         AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                    Premium Determination                                         Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                   




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                             Rate                 Premium
                  Driver Trips


51-200 miles                                                              $

Over 200 miles                                                            $
                                                                          $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                     Number of Plates                 Rate Per Plate                              Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                              COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 157 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                       * POLICY NUMBER
                                                                                                                                                        




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                       $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                          $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                             Premium
                                                                                                           




Uninsured Motorists
Underinsured Motorists
                                                                                                          




Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 158 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 159 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 160 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 161 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 162 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                            * POLICY NUMBER
                                                                                                                                                             




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                            Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                        $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                        $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                                 Premium
                                                                                                                        $
                                                                                                             




Uninsured Motorists                                                                                             




                                                                                                                        $
                                                                                                        




Underinsured Motorists
Uninsured Motorists Physical Damage                                                                                     $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 163 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 164 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 165 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                        




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 169 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                        * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                        $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                           $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate              Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                          Rate Per Plate                                         ium
                                                                                                             




Uninsured Motorists                                                                         




                                                                                                              


                                                                   




Underinsured Motorists                                                                             




Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                 COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 174 of 560
                                                              Auto Dealers Policy Declarations
                                                        AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                   Premium Determination                                          Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                  




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                            Rate                 Premium
                  Driver Trips


51-200 miles                                                             $

Over 200 miles                                                           $
                                                                         $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                    Number of Plates                 Rate Per Plate                               Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                             COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 175 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 176 of 560
                                                              Auto Dealers Policy Declarations
                                                        AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                   Premium Determination                                          Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                  




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                            Rate                 Premium
                  Driver Trips


51-200 miles                                                             $

Over 200 miles                                                           $
                                                                         $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                    Number of Plates                 Rate Per Plate                               Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                             COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 177 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 178 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                        * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                    $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                    $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                             Premium
                                                                                                        




Uninsured Motorists
Underinsured Motorists                                                                                              $
Uninsured Motorists Physical Damage                                                                                 $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 179 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 180 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 181 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 182 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 183 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 184 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 185 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 186 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 187 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 188 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 189 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 190 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                                   




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                                                                                         




Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
                                                                                                                                          




caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                                   Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 191 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 192 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 193 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

            FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION


            13614            (1185)             Special Continuation Provision
            13803SC          (0708)             Schedule of Surcharges and Assessments
            AC0436           (0910)             Amendment of Definition of Pollutants
            AC2041           (0316)             Additional Insured – Primary and Non-
                                                Contributory Endorsement
            AC2107           (1001)             Ohio Underinsured Motorists Coverage – Bodily Injury
            AC2111A          (0109)             Georgia Uninsured Motorists Coverage – Reduced By At-
                                                Fault Limits
            AC2113MD         (0306)             Maryland Uninsured Motorists Coverage
            AC2131           (0703)             Michigan Uninsured Motorists Coverage
            AC2133           (1001)             Ohio Uninsured Motorists Coverage – Bodily Injury
            AC2144A          (1115)             Indiana Uninsured Motorists Coverage BI/PD
            AC2179           (0310)             Kentucky Underinsured Motorists Coverage
            AC2192a          (0712)             Pennsylvania Uninsured Motorists Coverage – Non-
                                                Stacked
            AC2193a          (0712)             Pennsylvania Underinsured Motorists Coverage - Non-
                                                Stacked
            AC2219           (0213)             Maryland Personal Injury Protection
            AC2220           (0418)             Michigan Personal Injury Protection
            AC3116           (1115)             Indiana Underinsured Motorists Coverage
            AC3117           (1001)             Ohio Uninsured Motorists Coverage – Property Damage
            AC7000           (0316)             Auto Medical Payments Amendment
            AD2564           (0316)             Acts, Errors and Omissions Coverages
            AD3501           (0316)             Dealers Extension Endorsement
            AD3506           (0316)             Blanket Garagekeepers, Physical Damage Coverage
            AD3513           (0316)             Dealers Replacement or Repairs
            AD3514           (0316)             Broad Form Products/Work Performed
            AD3522           (0316)             Blank Endorsement Form
            CA0025           (1013)             Auto Dealers Coverage Form
            CA0101           (1013)             Maryland Changes – Auto Dealers Coverage Form
            CA0104           (0115)             Illinois Changes – Auto Dealers Coverage Form
            CA0110           (0916)             Michigan Changes
            CA0113           (1013)             Colorado Changes
            CA0119           (1013)             Indiana Changes
            CA0145           (1013)             Ohio Changes – Auto Dealers Coverage Form
            CA0157           (0616)             Pennsylvania Changes – Auto Dealers Coverage Form
            CA0163           (1013)             Georgia Changes – Auto Dealers Coverage Form
            CA0164           (1013)             Kentucky Changes – Auto Dealers Coverage Form
            CA0175           (1013)             Arizona Changes
            CA0192           (1013)             Nevada Changes – Auto Dealers Coverage Form
            CA0197           (1013)             Texas Changes – Auto Dealers Coverage Form
            CA0215           (1013)             Maryland Cancellation Changes
AD 35 22 03 16    Includes copyrighted material of Insurance Services Office, Inc., with its permission.   Page 1 of 3
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              CA0217       (1013)    Michigan Changes – Cancellation and Nonrenewal
              CA0243       (1113)    Texas Changes – Cancellation and Nonrenewal
              CA0270       (0118)    Illinois Changes – Cancellation and Nonrenewal
              CA0301       (1013)    Deductible Liability Coverage
              CA0440       (1013)    Colorado Auto Medical Payments Coverage
              CA0444       (1013)    Waiver of Transfer of Rights
              CA2001P(2)   (1013)    Lessor – Additional Insured and Loss Payee
              CA2109       (1013)    Texas Uninsured/Underinsured Motorists Coverage
              CA2126       (1013)    Colorado Uninsured Motorists Coverage – Property
                                     Damage
              CA2127       (1013)    Nevada Uninsured Motorists Coverage
              CA2130       (0115)    Illinois Uninsured Motorists Coverage
              CA2138       (1013)    Illinois Underinsured Motorists Coverage
              CA2139       (1013)    Arizona Uninsured Motorists Coverage
              CA2140       (1013)    Arizona Underinsured Motorists Coverage
              CA2150       (0717)    Colorado Uninsured Motorists Coverage
              CA2153       (1013)    Illinois Uninsured Motorists Coverage – Property Damage
              CA2176       (1013)    Kentucky Uninsured Motorists Coverage
              CA2216       (1013)    Kentucky Personal Injury Protection
              CA2221       (0394)    Coordination of PIP
              CA2224       (1013)    Michigan Property Protection Coverage
              CA2237       (1013)    Pennsylvania Basic First Party Benefit
              CA2264       (1013)    Texas Personal Injury Protection Endorsement
              CA2384       (1013)    Terrorism Exclusion
              CA9903       (1013)    Auto Medical Payments Coverage
              CA9910       (1013)    Drive Other Car Coverage
              CA9944       (1013)    Loss Payable Clause
              IL0017       (1198)    Common Policy Conditions
              IL0021       (0702)    Nuclear Energy Liability Exclusion
              IL0021       (0908)    Nuclear Energy Liability Exclusion
              IL0110       (0907)    Nevada Changes – Concealment, Misrepresentation or
                                     Fraud
              IL0115       (0110)    Nevada Changes – Domestic Partnership
              IL0147       (0911)    Illinois Changes – Civil Union
              IL0156       (1117)    Indiana Changes – Concealment, Misrepresentation or
                                     Fraud
              IL0158       (0300)    Indiana Changes
              IL0162       (1013)    Illinois Changes – Defense Costs
              IL0169       (0907)    Colorado Changes – Concealment, Misrepresentation or
                                     Fraud
              IL0228       (0907)    Colorado Changes – Cancellation and Nonrenewal
              IL0244       (0907)    Ohio Changes – Cancellation and Nonrenewal
              IL0246       (0907)    Pennsylvania Changes – Cancellation and Nonrenewal
              IL0251       (0907)    Nevada Changes – Cancellation and Nonrenewal
              IL0262       (0907)    Georgia Changes – Cancellation and Nonrenewal
              IL0272       (0907)    Indiana Changes – Cancellation and Nonrenewal
              IL7002 (2)   (0911)    Advance Notice of Cancellation
Page 2 of 3                                                                   AD XX XX XX XX
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                                                                           AD XX XX XX XX

           IN5187       (1204)      IL Coml Auto Policy Notice Hired & Non-Owned Auto
           IN5207       (0407)      Changes in Pennsylvania Uninsured and Underinsured
                                    Motorists Coverage - Arbitration
           IN5278       (1213)      Important Notice Fair Credit Reporting Act
           IN5279       (0214)      Maryland Important Notice Regarding PIP and Premium
                                    Increase Coverage
           IN7378       (0506)      Important Notice - Michigan
           PA0209       (1013)      Ohio Changes – Cancellation and Nonrenewal
           PA0216       (1013)      Maryland Changes – Cancellation and Nonrenewal
           SP0002       (0916)      Signature Page (AMCO)




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EFFECTIVE DATE: 12:01 AM Standard Time,                                                     COMMERCIAL AUTO
     (at your principal place of business)                                                     AC 21 07 (10-01)
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
 OHIO UNDERINSURED MOTORISTS COVERAGE - BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Ohio, this
endorsement modifies insurance provided under the following:
    BUSINESS AUTO COVERAGE FORM
    GARAGE COVERAGE FORM

                                                   SCHEDULE
LIMIT OF INSURANCE
$                                      Each "Accident"
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
A. Coverage                                                               breakdown, repair, servicing, "loss" or
                                                                          destruction.
     1. We will pay all sums the "insured" is legally
           entitled to recover as compensatory dam-                  c. Anyone for damages he or she is enti-
           ages from the owner or operator of:                            tled to recover because of "bodily in-
                                                                          jury" sustained by another "insured".
           a. An "underinsured motor vehicle" as                 2. A partnership, limited liability company,
                defined in Paragraph F.3. because of                 corporation or any other form of organiza-
                "bodily injury":                                     tion, then the following are "insureds":
                1) Sustained by the "insured"; and                   a. Anyone "occupying" a covered "auto"
                2) Caused by an "accident".                               or a temporary substitute for a covered
                                                                          "auto". The covered "auto" must be
           The owner's or operator's liability for these                  out of service because of its break-
           damages must result from the ownership,                        down, repair, servicing, "loss" or de-
           maintenance or use of the "underinsured                        struction.
           motor vehicle".                                           b. Anyone for damages he or she is enti-
     2. Any judgment for damages arising out of a                         tled to recover because of "bodily in-
           "suit" brought without our written consent                     jury" sustained by another "insured".
           is not binding on us.                           C. Exclusions
B. Who Is An Insured                                             This insurance does not apply to:
     If the Named Insured is:                                    1. Any claim settled without our consent.
     1. An individual, then the following are "in-               2. The direct or indirect benefit of any insurer
           sureds":                                                  or self-insurer under any workers' com-
                                                                     pensation, disability benefits or similar law.
           a. The Named Insured and any "family                  3. Any "insured" using a vehicle without a
                members".                                            reasonable belief that the person is entitled
           b. Anyone else "occupying" a covered                      to do so.
                "auto" or a temporary substitute for a           4. Punitive or exemplary damages.
                covered "auto". The covered "auto"
                must be out of service because of its            5. "Bodily Injury" sustained by:


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                                                                                         AC 21 07 (10-01)
        a. An individual Named Insured while              If there is other applicable insurance avail-
             "occupying" or when struck by any ve-        able under one or more policies or pro-
             hicle owned by, furnished or available       visions of coverage:
             for the regular use of that Named In-
             sured that is not a covered "auto" for       a. The maximum recovery under all Cov-
             Underinsured Motorists Coverage un-                erage Forms or policies combined may
             der this Coverage Form;                            equal but not exceed the highest ap-
                                                                plicable limit for any one vehicle under
        b. Any "family member" while "occupy-                   any coverage form or policy providing
             ing" or struck by any vehicle owned by,            coverage on either a primary or excess
             furnished or available for the regular             basis.
             use of that "family member" that is not      b. Any insurance we provide with respect
             a covered "auto" for Underinsured Mo-              to a vehicle the Named Insured does
             torists Coverage under this Coverage               not own shall be excess over any other
             Form; or                                           collectible underinsured motorists in-
        c. Any "family member" while "occupy-                   surance providing coverage on a pri-
             ing" or when struck by any vehicle                 mary basis.
             owned by the Named Insured that is           c. If the coverage under this Coverage
             insured for Underinsured Motorists                 Form is provided:
             Coverage under this Coverage on a
             primary basis under any other Cover-               1) On a primary basis, we will pay
             age Form or policy.                                     only our share of the loss that
                                                                     must be paid under insurance
   6. "Bodily injury" caused by a vehicle oper-                      providing coverage on a primary
        ated by any person which is specifically                     basis. Our share is the proportion
        excluded from coverage for "bodily injury"                   that our limit of liability bears to
        under this policy.                                           the total of all applicable limits of
                                                                     liability for coverage on a primary
   7. A person suffering "bodily injury" who is not                  basis.
        an "insured" under this policy.
                                                                2) On an excess basis, we will pay
D. Limit Of Insurance                                                only our share of the loss that
                                                                     must be paid under insurance
   1. Regardless of the number of covered                            providing coverage on an excess
        "autos", "insureds", premiums paid, claims                   basis. Our share is the proportion
        made or vehicles involved in the "accident",                 that our limit of liability bears to
        the most we will pay for all damages re-                     the total of all applicable limits of
        sulting from any one "accident" is the limit                 liability for coverage on an excess
        of Underinsured Motorists Coverage shown                     basis.
        in the schedule or declarations.
                                                       2. Duties In The Event Of Accident, Claim, Suit
   2. No one will be entitled to receive duplicate        Or Loss is changed by adding the following:
        payments for the same elements of "loss"          a. Promptly notify the police if a hit-and-
        under this Coverage Form and any Liability              run driver is involved, and
        Coverage Form.
        We will not make a duplicate payment un-          b. Promptly send us copies of the legal
        der this Coverage Form for any element of               papers if a "suit" is brought.
        "loss" for which payment has been made         3. Transfer Of Rights Of Recovery Against
        by or for anyone who is legally responsible.      Others To Us is amended by adding the
E. Changes In Conditions                                  following:
   The conditions of the policy for Ohio                  If we make any payment and the "insured"
                                                          recovers from another party, the "insured"
   Underinsured Motorists Insurance are changed           shall hold the proceeds in trust for us and
   as follows:                                            pay us back the amount we have paid.
   1. Other Insurance in the Business Auto and         4. The following Condition is added:
        Garage Coverage Forms is replaced by the          As long as the insured has not prejudiced
        following:                                        our subrogation rights, a suit for
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                                                                                                   AC 21 07 (10-01)
       Underinsured Motorists Coverage under                         a.   Less than the limit of liability for this
       this Coverage Form must be brought within                          coverage; or
       3 years after the date of the "accident"                      b.   Reduced by payments to others injured
       causing the "bodily injury", or within 1 year                      in the "accident" to an amount which
       after the liability insurer for the owner or                       is less than the limit of liability for this
       operator of the vehicle liable to the insured                      coverage.
       has become the subject of insolvency pro-
       ceedings in any state, whichever is later.                         However, "underinsured motor vehi-
                                                                          cle" does not include any vehicle:
F. Additional Definitions
                                                                     a.   Owned or operated by a self-insurer
   As used in this endorsement:                                           under any applicable motor vehicle
                                                                          law;
   1. "Family member" means a person related
       to an individual Named Insured by blood,                      b.   Designed for use mainly off public
       marriage or adoption who is a resident of                          roads while not on public roads.
       such Named Insured's household, including                     c.   Owned by any governmental unit or
       a ward or foster child.                                            agency, unless the owner or operator
   2. "Occupying" means in, upon, getting in, on,                         of the "underinsured motor vehicle"
       out or off.                                                        has:
   3. "Underinsured motor vehicle" means a land                                1) An immunity under the Ohio
       motor vehicle for which the sum of all li-                                   Political Subdivision Tort Li-
       ability bonds or policies applicable at the                                  ability Law; or
       time of an "accident" are either:                                       2) A diplomatic immunity.

               All terms and conditions of this policy apply unless modified by this endorsement.

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EFFECTIVE DATE: 12:01 AM Standard Time,                                                     COMMERCIAL AUTO
     (at your principal place of business)                                                     AC 21 33 (10-01)
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
    OHIO UNINSURED MOTORISTS COVERAGE - BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Ohio, this
endorsement modifies insurance provided under the following:
    BUSINESS AUTO COVERAGE FORM
    GARAGE COVERAGE FORM

                                                   SCHEDULE
LIMIT OF INSURANCE
$                                        Each "Accident"
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
A. Coverage                                                               covered "auto". The covered "auto"
     1. We will pay all sums the "insured" is legally                     must be out of service because of its
           entitled to recover as compensatory dam-                       breakdown, repair, servicing, "loss" or
           ages from the owner or operator of:                            destruction.
           a. An "uninsured motor vehicle" as de-                    c. Anyone for damages he or she is enti-
                fined in Paragraph F.3.a. and b. be-                      tled to recover because of "bodily in-
                cause of "bodily injury":                                 jury" sustained by another "insured".
                1) Sustained by the "insured"; and               2. A partnership, limited liability company,
                                                                     corporation or any other form of organiza-
                2) Caused by an "accident".                          tion, then the following are "insureds":
           b. An "uninsured motor vehicle" as de-                    a. Anyone "occupying" a covered "auto"
                fined in Paragraph F.3.c. because of                      or a temporary substitute for a covered
                "bodily injury" sustained by an "in-                      "auto". The covered "auto" must be
                sured".                                                   out of service because of its break-
           The owner's or operator's liability for these                  down, repair, servicing, "loss" or de-
           damages must result from the ownership,                        struction.
           maintenance or use of the "uninsured mo-                  b. Anyone for damages he or she is enti-
           tor vehicle".                                                  tled to recover because of "bodily in-
     2. Any judgment for damages arising out of a                         jury" sustained by another "insured".
           "suit" brought without our written consent
           is not binding on us.                           C. Exclusions
B. Who Is An Insured                                             This insurance does not apply to:
     If the Named Insured is:                                    1. Any claim settled without our consent.
     1. An individual, then the following are "in-               2. The direct or indirect benefit of any insurer
           sureds":                                                  or self-insurer under any workers' com-
           a. The Named Insured and any "family                      pensation, disability benefits or similar law.
                members".                                        3. Any "insured" using a vehicle without a
           b. Anyone else "occupying" a covered                      reasonable belief that the person is entitled
                "auto" or a temporary substitute for a               to do so.

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                                                                                       AC 21 33 (10-01)
   4. Punitive or exemplary damages.                     If there is other applicable insurance avail-
                                                         able under one or more policies or pro-
   5. "Bodily Injury" sustained by:                      visions of coverage:
       a. An individual Named Insured while              a. The maximum recovery under all Cov-
            "occupying" or when struck by any ve-             erage Forms or policies combined may
            hicle owned by, furnished or available            equal but not exceed the highest ap-
            for the regular use of that Named In-             plicable limit for any one vehicle under
            sured that is not a covered "auto" for            any coverage form or policy providing
            Uninsured Motorists Coverage under                coverage on either a primary or excess
            this Coverage Form;                               basis.
       b. Any "family member" while "occupy-             b. Any insurance we provide with respect
            ing" or struck by any vehicle owned by,           to a vehicle the Named Insured does
            furnished or available for the regular            not own shall be excess over any other
            use of that "family member" that is not           collectible uninsured motorists insur-
            a covered "auto" for Uninsured Motor-             ance providing coverage on a primary
            ists Coverage under this Coverage                 basis.
            Form; or
       c. Any "family member" while "occupy-             c. If the coverage under this Coverage
            ing" or when struck by any vehicle                Form is provided:
            owned by the Named Insured that is                1) On a primary basis, we will pay
            insured for Uninsured Motorists Cov-                   only our share of the loss that
            erage under this Coverage on a pri-                    must be paid under insurance
            mary basis under any other Coverage                    providing coverage on a primary
            Form or policy.                                        basis. Our share is the proportion
   6. "Bodily injury" caused by a vehicle oper-                    that our limit of liability bears to
       ated by any person which is specifically                    the total of all applicable limits of
       excluded from coverage for "bodily injury"                  liability for coverage on a primary
       under this policy.                                          basis.
   7. A person suffering "bodily injury" who is not           2) On an excess basis, we will pay
       an "insured" under this policy.                             only our share of the loss that
                                                                   must be paid under insurance
D. Limit Of Insurance                                              providing coverage on an excess
                                                                   basis. Our share is the proportion
   1. Regardless of the number of covered                          that our limit of liability bears to
       "autos", "insureds", premiums paid, claims                  the total of all applicable limits of
       made or vehicles involved in the "accident",                liability for coverage on an excess
       the most we will pay for all damages re-                    basis.
       sulting from any one "accident" is the limit   2. Duties In The Event Of Accident, Claim, Suit
       of Uninsured Motorists Coverage shown in          Or Loss is changed by adding the following:
       the schedule or declarations.
   2. No one will be entitled to receive duplicate       a. Promptly notify the police if a hit-and-
       payments for the same elements of "loss"               run driver is involved, and
       under this Coverage Form and any Liability        b. Promptly send us copies of the legal
       Coverage Form.                                         papers if a "suit" is brought.
       We will not make a duplicate payment un-
       der this Coverage Form for any element of      3. Transfer Of Rights Of Recovery Against
       "loss" for which payment has been made            Others To Us is amended by adding the
       by or for anyone who is legally responsible.      following:
E. Changes In Conditions                                 If we make any payment and the "insured"
                                                         recovers from another party, the "insured"
   The conditions of the policy for Ohio Uninsured       shall hold the proceeds in trust for us and
   Motorists Insurance are changed as follows:           pay us back the amount we have paid.
   1. Other Insurance in the Business Auto and        4. The following Condition is added:
       Garage Coverage Forms is replaced by the          As long as the insured has not prejudiced
       following:                                        our subrogation rights, a suit for Uninsured
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                                                                                                  AC 21 33 (10-01)
       Motorists Coverage under this Coverage                                 2) Cause "bodily injury" to an
       Form must be brought within 3 years after                                   "insured" without hitting an
       the date of the "accident" causing the                                      "insured", a covered "auto" or
       "bodily injury", or within 1 year after the li-                             a vehicle an "insured" is "oc-
       ability insurer for the owner or operator of                                cupying".
       the vehicle liable to the insured has be-
       come the subject of insolvency proceedings                             The facts of the "accident" or in-
       in any state, whichever is later.                                      tentional act must be provided by
                                                                              independent corroborative evi-
F. Additional Definitions                                                     dence, other than the testimony of
   As used in this endorsement:                                               the "insured" making a claim un-
                                                                              der this or similar coverage, un-
   1. "Family member" means a person related                                  less such testimony is supported
       to an individual Named Insured by blood,                               by additional evidence.
       marriage or adoption who is a resident of
       such Named Insured's household, including                         However, "uninsured motor vehicle"
       a ward or foster child.                                           does not include any vehicle:
   2. "Occupying" means in, upon, getting in, on,                     a. Owned or operated by a self-insurer
       out or off.                                                       under any applicable motor vehicle
   3. "Uninsured motor vehicle" means a land                             law, except a self-insurer who is or
       motor vehicle or trailer:                                         becomes insolvent and cannot provide
                                                                         the amounts required by that motor
       a. For which no liability bond or policy at                       vehicle law;
            the time of an "accident";                                b. Designed for use mainly off public
       b. For which an insuring or bonding com-                          roads while not on public roads.
            pany denies coverage or is or be-                         c. Owned by any governmental unit or
            comes insolvent; or                                          agency, unless the owner or operator
       c. That is a hit-and-run vehicle and nei-                         of the "uninsured motor vehicle" has:
            ther the operator nor owner can be
            identified. The vehicle must either:                              1) An immunity under the Ohio
                                                                                   Political Subdivision Tort Li-
                 1) Hit an "insured", a covered                                    ability Law; or
                      "auto" or a vehicle an "in-
                      sured" is "occupying"; or                               2) A diplomatic immunity.

               All terms and conditions of this policy apply unless modified by this endorsement.

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EFFECTIVE DATE: 12:01 AM Standard Time,                                                    COMMERCIAL AUTO
     (at your principal place of business)                                                    AC 31 17 (10-01)
         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
OHIO UNINSURED MOTORISTS COVERAGE - PROPERTY DAMAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in, Ohio, this
endorsement modifies insurance provided under the following:
    BUSINESS AUTO COVERAGE FORM
    GARAGE COVERAGE FORM

                                                  SCHEDULE
LIMIT OF INSURANCE
$                                     Each "Accident"
(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
1. COVERAGE                                                      d. Any motor vehicle owned by you for which
                                                                     you have purchased collision coverage un-
     a. We will pay all sums the "insured" is legally                der this Coverage Form or any other Cov-
          entitled to recover as compensatory dam-                   erage Form or policy.
          ages from the owner or driver of an
          "uninsured motor vehicle". The damages                 e. If the owner or operator of the "uninsured
          must result from "property damage" to a                    motor vehicle" cannot be identified.
          covered "auto" caused by an "accident".                f. The direct or indirect benefit of any insurer
          The owner's or driver's liability for these                of the property.
          damages must result from the ownership,
          maintenance or use of the "uninsured mo-               g. Punitive or exemplary damages.
          tor vehicle".
     b. If this insurance provides a limit in excess       3. LIMIT OF INSURANCE
          of the amount required by the applicable               a. Regardless of the number of covered
          law where a covered "auto" is principally                  "autos", premiums paid, claims made or
          garaged, we will pay only after all property               vehicles involved in the "accident", the
          damage liability bonds or policies have                    most we will pay for all damages resulting
          been exhausted by payment of judgments                     from any one "accident" will be the lesser
          or settlements.                                            of the limit of UNINSURED MOTORISTS
                                                                     COVERAGE - PROPERTY DAMAGE shown
     c. Any judgment for damages arising out of a                    in the schedule or declarations or the ac-
          "suit" brought without our written consent                 tual cash value of your damaged "auto" at
          is not binding on us.                                      the time of the "accident".
2. EXCLUSIONS                                                    b. Any amount payable under this coverage
                                                                     shall be reduced by all sums paid by or for
     This insurance does not apply to:                               anyone who is legally responsible.
     a. Any claim settled without our consent.                   c. An adjustment for the depreciation and
                                                                     physical condition will be made in deter-
     b. The first $250 of the amount of "property                    mining actual cash value at the time of
          damage" to a covered "auto" as a result of                 "loss".
          any one "accident".
                                                           4. CHANGES IN CONDITIONS
     c. Any "insured" using a vehicle without a
          reasonable belief that the person is entitled          The CONDITIONS are changed for Uninsured
          to do so.                                              Motorists Coverage as follows:

AC 31 17 (10-01)                                                                                     Page 1 of 2
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                                                                                                AC 31 17 (10-01)
    a. OTHER INSURANCE in the Business Auto                     a. "Property damage" means injury to or de-
       and Garage Coverage Forms and OTHER                         struction of a covered "auto". However,
       INSURANCE - PRIMARY AND EXCESS IN-                          "property damage" does not include:
       SURANCE PROVISIONS in the Truckers and                      1) Loss of use of a covered "auto"; or
       Motor Carrier Coverage Forms is amended                     2) Damage to property owned by the "in-
       by the addition of the following:                                sured" while contained in a covered
                                                                        "auto".
        The reference to "other collectible insur-
        ance" applies only to other collectible                 b. "Occupying" means in, upon getting in, on,
        uninsured motorists coverage.                              out or off.
                                                                c. "Uninsured motor vehicle" means a land
      If this Coverage Form and any other Cov-                     motor vehicle:
      erage Form or policy providing similar in-
      surance applies to the same "accident", the                  1) For which no liability bond or policy
      maximum recovery under all the Coverage                           affording coverage for "property dam-
      Forms or policies combined may equal but                          age" applies at the time of the acci-
      not exceed the highest applicable limit for                       dent;
      any one vehicle under any Coverage Form                      2) For which an insuring or bonding com-
      or policy providing coverage on either a                          pany denies coverage or is or be-
      primary or excess basis.                                          comes insolvent.
   b. DUTIES IN THE EVENT OF ACCIDENT,                                  However, "uninsured motor vehicle"
      CLAIM, SUIT OR LOSS is changed by add-                            does not include any vehicle:
      ing the following:                                                a) Owned or operated by a self-
      1) Promptly notify the police if a hit-and-                            insurer under any applicable mo-
            run driver is involved; and                                      tor vehicle law, except a
      2) Promptly send us copies of the legal                                self-insurer who is or becomes in-
            papers if a "suit" is brought.                                   solvent and cannot provide the
                                                                             amounts required by that motor
5. ADDITIONAL DEFINITIONS                                                    vehicle law; or
                                                                        b) Designed for use mainly off public
    As used in this endorsement:                                             roads while not on public roads.

               All terms and conditions of this policy apply unless modified by this endorsement.

                          Includes copyrighted material of ISO Properties, Inc., 2001.




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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

                                    LOSS PAYABLE SCHEDULE


XTRA LEASE LLC
2150 NORTHBRIDGE AVE
BALTIMORE, MD 21226-9319

MERCEDES BENZ FINANCIAL SERVICES LLC
PO BOX 279319
SACRAMENTO, CA 95827-9319

PREMIER TRAILER LEASING INC
751 FRANKFURST AVE
BALTIMORE, MD 21226-1018

XTRA LEASE LLC
6943 RECOVERY RD
LOUISVILLE, KY 40214-4539

REDLINE TOWING INC / REDLINE LEASING CORP.
347 MAIN ST
DICKSON CITY, PA 18519

PACCAR LEASING COMPANY & PALMER LEASING, LLC
65 PARTNERSHIP WAY
CINCINNATI, OH 45241

P.J.K. FOOD SERVICE, LLC DBA KEANY PRODUCE & GOURMET
3306-3310 75TH AVE
LANDOVER, MD 20785




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                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16

                                  NAMED INSURED SCHEDULE


AIM LEASING COMPANY - DBA
AIM NATIONALEASE
FLEMING LEASING I
45 CHERRY HILL COURT
45 CHERRY HILL COURT II
FLEMING LEASING LLC
AIM LEASING CO – DBA
AIM TRANSPORTATION SOLUTIONS




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                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16

                 UNINSURED AND UNDERINSURED LIMIT SCHEDULE


State                                                    UM/UIM Limit of Insurance
AZ                                                       $ 35,000
CO                                                       $ 50,000
GA                                                       $ 75,000
IL                                                       $ 50,000
IN                                                       $ 50,000
KY                                                       $ 60,000
MD                                                       $ 75,000
MI                                                       $ 40,000
NC                                                       $ 85,000
OH                                                       $ 50,000
PA                                                       $ 35,000
TX                                                       $ 85,000




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                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16


RE: CA2001P



IT IS UNDERSTOOD AND AGREED THAT NATIONALEASE AND ALL ITS MEMBERS-OWNERS, 2651
WARRENVILLE RD, DOWNERS GROVE, IL 60515 ARE NAMED ADDITIONAL INSURED’S AND LOSS
PAYEE’S FOR ANY AUTOS INCLUDING ALL OWNED, RENTED, LEASED, EXTRAS, OR SUBSTITUTES, AS
THEIR INTEREST MAY APPEAR IN THE ABOVE POLICY.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 02 70 01 18

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                         ILLINOIS CHANGES –
                    CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. The Cancellation Common Policy Condition is                   b. 61 days or more, we will mail you at least
   replaced by the following:                                       60 days' written notice.
   Cancellation                                               5. If this Policy is cancelled, we will send you any
   1. The first Named Insured shown in the                       premium refund due. If we cancel, the refund
      Declarations may cancel this Policy by mailing             will be pro rata. If you cancel, the refund may
      us advance written notice of cancellation.                 be less than pro rata. The cancellation will be
                                                                 effective even if we have not made or offered a
   2. When this Policy is in effect 61 days or more or           refund.
      is a renewal or continuation policy, we may
      cancel only for one or more of the following            6. The effective date of cancellation stated in the
      reasons by mailing you written notice of                   notice shall become the end of the policy
      cancellation,  stating     the    reasons    for           period.
      cancellation.                                           7. Our notice of cancellation will state the reason
      a. Nonpayment of premium.                                  for cancellation.
      b. The Policy was obtained through a material           8. We will mail our cancellation notice to you at
         misrepresentation.                                      your last address known to us. Proof of mailing
                                                                 will be sufficient proof of notice.
      c. Any "insured" has violated any of the terms
         and conditions of the Policy.                        9. Notification of cancellation will also be sent to
                                                                 your broker, if known, or agent of record, if
      d. The risk originally accepted has measurably             known, and to the loss payee listed on the
         increased.                                              Policy.
      e. Certification to the Director of Insurance of     B. The following is added and supersedes any
         the loss of reinsurance by the insurer which         provision to the contrary:
         provided coverage to us for all or a
         substantial part of the underlying risk              Nonrenewal
         insured.                                             If we decide not to renew or continue this Policy,
       f. A determination by the Director of                  we will mail you written notice, stating the reason
          Insurance that the continuation of the Policy       for nonrenewal, at least 60 days before the end of
          could place us in violation of the Illinois         the policy period. Proof of mailing will be sufficient
          insurance laws.                                     proof of notice. Notification will also be sent to
                                                              your broker, if known, or agent of record, if known,
   3. If we cancel for nonpayment of premium, we              and to the loss payee listed on the Policy. If we
      will mail you at least 10 days' written notice.         offer to renew or continue and you do not accept,
   4. If this Policy is cancelled for other than              this Policy will terminate at the end of the current
      nonpayment of premium and the Policy is in              policy period. Failure to pay the required renewal
      effect:                                                 or continuation premium when due shall mean that
                                                              you have not accepted our offer.
      a. 60 days or less, we will mail you at least 30
         days' written notice.

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   If we fail to mail proper written notice of
   nonrenewal and you obtain other insurance, this
   Policy will end on the effective date of that
   insurance.




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POLICY NUMBER:                                                                                    COMMERCIAL AUTO
                                                                                                      CA 03 01 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     DEDUCTIBLE LIABILITY COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


                                                  SCHEDULE

Covered Autos Liability Coverage and Paragraph A. Bodily Injury And Property Damage Liability of Section II –
General Liability Coverages in the Auto Dealers Coverage Form are subject to one of the following two
deductibles shown below:

Liability Deductible:                                    $                                       Per "Accident"
                                                                           




                                                         OR

"Property Damage" Only Liability Deductible:             $                                       Per "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Liability Deductible                                           C. Our Right To Reimbursement
   If a Liability Deductible, and not a "Property                    To settle any claim or "suit", we may pay all or any
   Damage" Only Liability Deductible, is shown in the                part of any deductible shown in the Schedule. If
   Schedule, the damages resulting from any one                      this happens, you must reimburse us for the
   "accident" that are otherwise payable will be                     deductible or the part of the deductible we paid.
   reduced by the Liability Deductible shown in the
   Schedule prior to the application of the Limit of
   Insurance provision.
B. Property Damage Only Liability Deductible
   If a "Property Damage" Only Liability Deductible,
   and not a Liability Deductible, is shown in the
   Schedule, the damages resulting from any one
   "accident" that are otherwise payable for "property
   damage" will be reduced by the "Property
   Damage" Only Liability Deductible shown in the
   Schedule prior to the application of the Limit of
   Insurance provision.




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                                                                 Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 326 of 560


POLICY NUMBER:                                                                                                                                                                     COMMERCIAL AUTO
                                                                                                                                                                                       CA 04 44 10 13

                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
         AGAINST OTHERS TO US (WAIVER OF SUBROGATION)
This endorsement modifies insurance provided under the following:

             AUTO DEALERS COVERAGE FORM
             BUSINESS AUTO COVERAGE FORM
             MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.



                                                                                                                                                      SCHEDULE

Name(s) Of Person(s) Or Organization(s):
                                                                                                                       




                                                                                                        
                                      




                                                                                                                           
                                                                                                                             




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The Transfer Of Rights Of Recovery Against
Others To Us condition does not apply to the
person(s) or organization(s) shown in the Schedule,
but only to the extent that subrogation is waived prior
to the "accident" or the "loss" under a contract with
that person or organization.




CA 04 44 10 13                                                                                                                           © Insurance Services Office, Inc., 2011           Page 1 of 1
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       COMMERCIAL AUTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CA 20 01P 03 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     LESSOR – ADDITIONAL INSURED AND LOSS PAYEE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

                                                                                                                                                                                                                                                                                                                                                                                                               SCHEDULE

Insurance Company:
                                                                                                                                                                                 




Policy Number:                                                                                                                                                                                                                                                                                                                                                                                                                                 Effective Date:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        




Expiration Date:
                                                                                                                                                      




Named Insured:
                                                                                                                                                                                                                                                                                                                                                                      




Address:
                                                                                                                                                                                                                                                                                                                                                            




Additional Insured (Lessor):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




Address:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                




Designation Or Description Of "Leased Autos":
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




        Coverages                                                                                                                                                                                        Limit Of Insurance
                                                                                                                                                                                                                                                                                                                                       




         Liability                                                                                                                                                         $                               Each "Accident"
                                                                                                                                                                           Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
                                                                                                                                                                                                                                                                                                         




     Comprehensive                                                                                                                                                         $                                Deductible For Each Covered "Leased Auto"

                                                                                                                                                                           Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
         Collision                                                                                                                                                         $                                Deductible For Each Covered "Leased Auto"

                                                                                                                                                                           Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
       Specified
                                                                                                                                                                           $                                Deductible For Each Covered "Leased Auto"
     Causes Of Loss

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



CA 20 01P 03 06                                                                                                                                                                                                                                                                                                                                                            © ISO Properties, Inc., 2005                                                                                                                                                                                                                                                         Page 1 of 2
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                                                                                            COMMERCIAL AUTO
                                                                                               CA 20 01P 03 06

A. Coverage                                                     B. Loss Payable Clause
   1. Any "leased auto" designated or described in         1.   We will pay, as interest may appear, you and
      the Schedule will be considered a covered "au-            the lessor named in this endorsement for
      to" you own and not a covered "auto" you hire             "loss" to a "leased auto".
      or borrow.                                                2. The insurance covers the interest of the lessor
   2. For a "leased auto" designated or described in               unless the "loss" results from fraudulent acts or
      the Schedule, Who Is An Insured is changed                   omissions on your part.
      to include as an "insured" the lessor named in            3. If we make any payment to the lessor, we will
      the Schedule. However, the lessor is an "in-                 obtain his or her rights against any other party.
      sured" only for "bodily injury" or "property dam-
                                                           C.   Cancellation
      age" resulting from the acts or omissions by:
                                                                1. If we cancel the policy, we will mail notice to the
      a. You;
                                                                   lessor in accordance with the Cancellation
      b. Any of your "employees" or agents; or                     Common Policy Condition.
                                                                2. If you cancel the policy, we will mail notice to
      c. Any person, except the lessor or any "em-                 the lessor.
         ployee" or agent of the lessor, operating a            3. Cancellation ends this agreement.
         "leased auto" with the permission of any of
                                                           D.   The lessor is not liable for payment of your premi-
         the above.
                                                                ums.
   3. The coverages provided under this endorse-
                                                           E.   Additional Definition
      ment apply to any "leased auto" described in
      the Schedule until the expiration date shown in           As used in this endorsement:
      the Schedule, or when the lessor or his or her            "Leased auto" means an "auto" leased or rented to
      agent takes possession of the "leased auto",              you, including any substitute, replacement or extra
      whichever occurs first.                                   "auto" needed to meet seasonal or other needs,
                                                                under a leasing or rental agreement that requires
                                                                you to provide direct primary insurance for the les-
                                                                sor.

              All terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            COMMERCIAL AUTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CA 20 01P 03 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     LESSOR – ADDITIONAL INSURED AND LOSS PAYEE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

                                                                                                                                                                                                                                                                                                                                                                                                SCHEDULE

Insurance Company:
                                                                                                                                                                 




Policy Number:                                                                                                                                                                                                                                                                                                                                                                                                                              Effective Date:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             




Expiration Date:
                                                                                                                                              




Named Insured:
                                                                                                                                                                                                                                                                                                                                       




Address:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




Additional Insured (Lessor):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              !                                                                                          !      "   




Address:
           !                                                                                     #                                                                                                                                                                              $                                           %                                                        "                          &                                                                                                  &                                                                     '                                                                




Designation Or Description Of "Leased Autos":
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




        Coverages                                                                                                                                                                            Limit Of Insurance
                                                                                                                                                                                                                                                                                                           




         Liability                                                                                                                                             $                               Each "Accident"
                                                                                                                                                               Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
                                                                                                                                                                                                                                                                             




     Comprehensive                                                                                                                                             $                                Deductible For Each Covered "Leased Auto"

                                                                                                                                                               Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
         Collision                                                                                                                                             $                                Deductible For Each Covered "Leased Auto"
                                                                                                                                                                               




                                                                                                                                                               Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
       Specified
                                                                                                                                                               $                                Deductible For Each Covered "Leased Auto"
     Causes Of Loss

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



CA 20 01P 03 06                                                                                                                                                                                                                                                                                                                                    © ISO Properties, Inc., 2005                                                                                                                                                                                                                                                                                                                                          Page 1 of 2
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                                                                                            COMMERCIAL AUTO
                                                                                               CA 20 01P 03 06

A. Coverage                                                     B. Loss Payable Clause
   1. Any "leased auto" designated or described in         1.   We will pay, as interest may appear, you and
      the Schedule will be considered a covered "au-            the lessor named in this endorsement for
      to" you own and not a covered "auto" you hire             "loss" to a "leased auto".
      or borrow.                                                2. The insurance covers the interest of the lessor
   2. For a "leased auto" designated or described in               unless the "loss" results from fraudulent acts or
      the Schedule, Who Is An Insured is changed                   omissions on your part.
      to include as an "insured" the lessor named in            3. If we make any payment to the lessor, we will
      the Schedule. However, the lessor is an "in-                 obtain his or her rights against any other party.
      sured" only for "bodily injury" or "property dam-
                                                           C.   Cancellation
      age" resulting from the acts or omissions by:
                                                                1. If we cancel the policy, we will mail notice to the
      a. You;
                                                                   lessor in accordance with the Cancellation
      b. Any of your "employees" or agents; or                     Common Policy Condition.
                                                                2. If you cancel the policy, we will mail notice to
      c. Any person, except the lessor or any "em-                 the lessor.
         ployee" or agent of the lessor, operating a            3. Cancellation ends this agreement.
         "leased auto" with the permission of any of
                                                           D.   The lessor is not liable for payment of your premi-
         the above.
                                                                ums.
   3. The coverages provided under this endorse-
                                                           E.   Additional Definition
      ment apply to any "leased auto" described in
      the Schedule until the expiration date shown in           As used in this endorsement:
      the Schedule, or when the lessor or his or her            "Leased auto" means an "auto" leased or rented to
      agent takes possession of the "leased auto",              you, including any substitute, replacement or extra
      whichever occurs first.                                   "auto" needed to meet seasonal or other needs,
                                                                under a leasing or rental agreement that requires
                                                                you to provide direct primary insurance for the les-
                                                                sor.

              All terms and conditions of this policy apply unless modified by this endorsement.




CA 20 01P 03 06                            © ISO Properties, Inc., 2005                                  Page 2 of 2
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              Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 374 of 560




                                                                                                  CA 22 21 (03-94)
                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ THIS CAREFULLY.
                        MICHIGAN COORDINATION OF PERSONAL INJURY PROTECTION

For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in, Michigan, this
endorsement modifies insurance provided under the following:

    BUSINESS AUTO COVERAGE FORM
    GARAGE COVERAGE FORM
    MOTOR CARRIER COVERAGE FORM
    TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified
by the endorsement.

  Medical expenses (except expenses provided by Medicare)

  Work loss benefits

  Medical expenses and work loss benefits

MICHIGAN PERSONAL INJURY PROTECTION for you or any "family member" is changed as follows:

The insurance does not apply to the extent that any benefits, indicated above by an "X", are paid or payable under
any other insurance, service, benefit or reimbursement plan providing similar benefits.


                                  Copyright, Insurance Services Office, Inc., 1993




CA 22 21 (03-94)
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                                                                                                    IL 01 47 09 11

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        ILLINOIS CHANGES – CIVIL UNION
This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   FARM COVERAGE PART
   FARM UMBRELLA LIABILITY POLICY
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The term "spouse" is replaced by the following:           C. With respect to coverage for the ownership,
   Spouse or party to a civil union recognized under            maintenance, or use of "covered autos" provided
   Illinois law.                                                under the Commercial Liability Umbrella Coverage
                                                                Part, the term "family member" is replaced by the
B. Under the Commercial Auto Coverage Part, the
                                                                following:
   term "family member" is replaced by the following:
                                                                "Family member" means a person related to you
   "Family member" means a person related to the:
                                                                by blood, adoption, marriage or civil union
   1. Individual Named Insured by blood, adoption,              recognized under Illinois law, who is a resident of
        marriage or civil union recognized under Illinois       your household, including a ward or foster child.
        law, who is a resident of such Named Insured's
        household, including a ward or foster child; or
   2. Individual named in the Schedule by blood,
        adoption, marriage or civil union recognized
        under Illinois law, who is a resident of the
        individual's household, including a ward or
        foster child, if the Drive Other Car Coverage –
        Broadened Coverage For Named Individual
        Endorsement is attached.

             All terms and conditions of this policy apply unless modified by this endorsement.




IL 01 47 09 11                         © Insurance Services Office, Inc., 2011                        Page 1 of 1
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                                                                                                       IL 0158 (03-00)
                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                INDIANA CHANGES

This endorsement modifies insurance provided under the following:
    COMMERCIAL AUTOMOBILE COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL PROPERTY - LEGAL LIABILITY COVERAGE FORM
    COMMERCIAL PROPERTY - MORTGAGE HOLDERS ERRORS AND OMISSIONS COVERAGE FORM*
    EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
    FARM LIABILITY COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    PROFESSIONAL LIABILITY COVERAGE PART
    RAILROAD PROTECTIVE LIABILITY COVERAGE PART
    UNDERGROUND STORAGE TANK POLICY
*Under the MORTGAGE HOLDERS ERRORS AND OMISSIONS COVERAGE FORM, the following condition applies only
to Coverage C and Coverage D.
The following condition is added:
Notice given by or on behalf of the insured to any of our authorized agents in Indiana, with particulars sufficient to
identify the insured, shall be considered to be notice to us.

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IL 0158 (03-00)
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                                                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            ADVANCE NOTICE OF CANCELLATION, NONRENEWAL
                               OR COVERAGE REDUCTION OR RESTRICTION
                                          PROVIDED BY US
        This endorsement modifies insurance provided under the following:

                                        COMMERCIAL AUTOMOBILE COVERAGE PART
                                        COMMERCIAL CRIME COVERAGE PART
                                        COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                        COMMERCIAL INLAND MARINE COVERAGE PART
                                        COMMERCIAL PROPERTY COVERAGE PART
                                        COMMERCIAL UMBRELLA LIABILITY POLICY
                                        FARM UMBRELLA LIABILITY POLICY
                                        LIQUOR LIABILITY COVERAGE PART
                                        MERCANTILE UMBRELLA LIABILITY POLICY

                                                                                                                                                                                                                                                                                                SCHEDULE

        Person(s) or Organization(s)
                                                                                                                                                                              
                                                                                                                                                                                                                                                                                                            
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        Number of Days Notice

        If this policy is cancelled (other than nonpayment of premium) or nonrenewed or if the coverage provided by this
        policy is reduced or restricted (except for any reduction in the Limits of Insurance due to claims payments), we will
        provide written notice to the person(s) or organization(s) listed in the Schedule.
        We will provide this notice by mail 30 days in advance of any policy cancellation, nonrenewal or coverage reduc-
        tion or restriction or as indicated in the Number of Days Notice in the Schedule.

                                                                                                            All terms and conditions of this policy apply unless modified by this endorsement.




        IL 70 02 09 11                                                                                                                                                                                  Includes copyrighted material of Insurance Services Office, Inc.,                                                                                                                                                                                                                                                                                                                                                                                   Page 1 of 1
                                                                                                                                                                                                                             with its permission.
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0J O B T I C K E T
                                                        APPLICATION INFORMATION

Job Name / Policy No:         ACP3037247293
Application: GARAGE ASSEMBLY                                                                                       Place Tracking Label Here
Sent by:     From CLPC – Kimberly Barton
Process Date: 08/24/2018

Pkg. Count __1__


                                                             FINISH INFORMATION

Instructions: Please match all attached copies to pull prints. Insert after blue Garage page within the pull prints. Mail all copies to the Agent.


PRINT:         TRACK JOB IN --- PRINT  DELIVER TO STAGING

STAGING:       Deliver to POLICY PROCESSING  ZONE 20, for Garage Processing


REPRINTS / QUESTIONS – Please contact name listed above in the ‘Sent By’ field.
                                             TRACKING INFORMATION


      Job Name                                              Account Code                                 PWS2 Template


*37247293*                                          *931005001*                                             *5233*

                                                                                                                                            8/24/2018
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Job Ticket Field Descriptions.
Job Name / Policy No.   This field will the policy number. It will also server as the Job Name that will be used for tracking in PWS.

Application:            GARAGE ASSEMBLY (will not change)

Sent By:                Person sending the request, contact information

Process Date:           Date the job was sent to VPOM. (filled in by person creating the job.)

Pkg. Count:             Used for tracking. Will always be ‘1’.

Instructions:           This area will contain the instructions needed by Policy Assembly to merge the garage policy section with the
                        commercial policy.

Barcoded Fields
Job Name                Type in the last 8 characters of the Policy Number. Be sure to leave the leading and trailing asterisk (*) on the policy
                        number.

Account Code            Disbursement Code (will always be *931005001*)

PWS2 Template           PWS2 assigned template ID. (will always be *5233* for Assembly jobs).




                                                                                                                                     8/24/2018
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                   AGENT COPY




                                                 34-33739

              COTTINGHAM & BUTLER INSURANCE
              PO BOX 28
              DUBUQUE, IA 52004-0028
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                                                                Auto Dealers Policy Declarations
                                                                      Items One and Two




                           THESE DECLARATIONS MUST BE COMPLETED BY THE ATTACHMENT OF A SUPPLEMENTARY SCHEDULE
ITEM ONE              POLICY NUMBER ACP GPA 30 3 7247293
                      NAMED INSURED • AIM LEASING COMPANY
                                      - SEE NAMED INSURED SCHEDULE
                             & ADDRESS • 1500 TRUMBULL AVE
                             Town & State • GIRARD, OH 44420-3453
                                 Agent • COTTINGHAM & BUTLER INSURANCE
             Address Town and State • DUBUQUE IA 52004                                                                     #34-33739
POLICY PERIOD:
        12:01 A.M. Standard Time at the Named
        Insured's Address state above.                   Covers FROM 08/01/2018                                            TO 08/01/2019
The "named insured" is:      Individual      Partnership   ✖ Corporation        Joint Venture                             Other
NAMED INSURED'S BUSINESS TRUCK/TRAILER LEASING & REPAIR
ITEM TWO                                         SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these coverages will apply only to those "autos" shown as
covered "autos." "Autos” are shown as covered "autos" for a particular coverage by the entry of one or more of the symbols from the COVERED AUTOS Section of
the Auto Dealers Coverage Form next to the name of the coverage. Entry of a symbol next to LIABILITY provides coverage for "auto dealer operations."
                                            COVERED AUTOS
                                     (Entry of one or more symbols                                   LIMIT
                                     from the COVERED AUTOS
                                     Section of the Auto Dealers                  THE MOST WE WILL PAY FOR ANY ONE
          COVERAGES                  Coverage Form shows which                                                                                  PREMIUM
                                                                                         ACCIDENT OR LOSS
                                     autos are covered autos)
                                                                     Each "Accident" - Covered "Auto" Only      $ 1,000,000
LIABILITY
                                          21                         Each "Accident" - General Liability Only   $ 1,000,000              $
"Auto Dealer Operations"
                                                                     Aggregate - General Liability Only           $ 3,000,000
PERSONAL INJURY PROTECTION                                           Separately stated in each P.I.P. Endorsement
                                          25                                                                                             $
(or equivalent No-Fault Coverage)                                    Minus $             Deductible
ADDED P.I.P.                                                         Separately stated in each Added P.I.P. Endorsement
                                                                                                                                         $
(or equivalent No-Fault Coverage)                                    Minus $             Deductible
MEDICAL PAYMENTS                          22                         $ 5,000                                                             $
UNINSURED MOTORISTS             23,26,28,29         $ 75,000                                                                             $
UNDERINSURED MOTORISTS
(when not included in uninsured 23,26,28,29         $ 75,000                                                                             $
motorists coverage)
UM PD                           23,26,28,29         $ 7,500                                                                              $
GARAGEKEEPERS
                                30                                                                                                       $
COMPREHENSIVE COVERAGE
GARAGEKEEPERS SPECIFIED
                                                    SEE ITEM FIVE                                                                        $
CAUSES OF LOSS COVERAGE
GARAGEKEEPERS
                                30                                                                                                       $
COLLISION COVERAGE
PHYSICAL DAMAGE
                                                                                                                                         $
COMPREHENSIVE COVERAGE
PHYSICAL DAMAGE
                                                    SEE ITEM SIX                                                                         $
CAUSES OF LOSS COVERAGE
PHYSICAL DAMAGE
                                                                                                                                         $
COLLISION COVERAGE
FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION                                  PREMIUM FOR ENDORSEMENTS               $
SEE ENDORSEMENT AD3522                                                                              ESTIMATED TOTAL PREMIUM              $

       Renewal or Replacement No. ACP GPA 3027247293                                     Countersigned by
                       THESE DECLARATIONS TOGETHER WITH THE AUTO DEALERS POLICY PROVISIONS, SUPPLEMENTARY SCHEDULES AND
                            ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

PODECA (03-16) 00                                                                    COPY
                                                                    Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 448 of 560
                                                                                                                                                                                                                                                                                                                                                
                                                                                                                                                                                                                                                                                                                                                                                                                Auto Dealers Policy Declarations
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




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ITEM THREE                                                                                                                                                                                                  LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                                 Address
    No.                                                                                                                                                                                                             (list “your” main business location as Location No. 1)
                                                                                                                                          !           "                   #                                                     #               $               $               "                   %                                                          &                                              '                                      (       &                                                     '




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ITEM FOUR                                                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                                    Classes of Operators                                                                                                                                    Rating                                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                               Personal Injury
                                                                                                                                                                                                            Factor                                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                   Protection
                                                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                           Class I-A Employees                                                                                                                                                                     1                      




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                                     1                                                                                                                        1                                                                                                                                                                                                   1   2                          




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                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1       2                          




                                           Class I-C Employees                                                                                                                                                                     1   '                   




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  1                      &




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  1   &                   




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     1                      




                                                                                                                                                                                                                                                                                                                                                               1                                                                                                                                                                                                   1                             




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                                     1                                                                                 2                                              1                                                                                                                                                                                                      1                         




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3       4                       5       6           7               7




                    




                                           Class I-C Employees                                                                                                                                                                     1   '                   




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  1                      &




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  1   &                   




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     1                      




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                           Class I-B Employees                                                                                                                                                                     1                                                                                             '                           1                                                                                                                                                                                                   1                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                     




                                           Class I-C Employees                                                                                                                                                                     1   '                   




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  1                      &




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  1   &                   




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          0       1                                                      0                   1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     



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'HILQLWLRQV
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&ODVV,±(PSOR\HHV
              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                                  3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                                                     !           "           #                                                                                                      $           %                                                                 $                       &           $                       %                                  $




                        %                %                            '           (           (           )       *              '                   +                      ,           -                                      -                   *           .                                         #                                                                                                 +                                                  /       %           $                      &                          /           /           




                        /             $   /              %       %       ,                  +           )       #           "               +       -           +           #           )                                                         (                   "                                                                                                (                               *                       *                                  +           )                                  *                       /                                       &   $                                                     




ITEM FOUR                                                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                    Rating                                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                      $           0                                                                                                                 $                       0                                                                                                                                                        $       0                         




                                   Principals
                                   Class I-B Employees                                                                                                                                                                 0                                                                                                         /                               0                                                                                                                                                               0                         




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  0                                         




                                   Class I-C Employees                                                                                                                                                                 0           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           0                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              0           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           0                          




                                   Principals
                                   Class I-B Employees                                                                                                                                                                 0                                                                                                 $                                                      0                                                                                                                                               0   1                      




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   2                   3           4                   5           5




                    %




                                   Class I-C Employees                                                                                                                                                                 0           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           0                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              0           %               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      $           0                                                                                                                 $                       0                                                                                                                                                        $       0                         




                                   Principals
                                   Class I-B Employees                                                                                                                                                                 0                                                                                                 $                                                      0                                                                                                                            %                   0                         




                    /
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           /               0                                         




                                   Class I-C Employees                                                                                                                                                                 0           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   $           0                   $       %




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              0           %               




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (           +          0                                           (           +                      0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 



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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




ITEM THREE                                                                                                                                                                                  LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                 Address
    No.                                                                                                                                                                                             (list “your” main business location as Location No. 1)
                                                                        !                          "              #                          $       "           "           !                   %                                                 "               &       '   $                                                           !                                   (                       $                       '                      (                   )                       *                       %                                                      (                                                                          +                                                        




                                     ,                    *           '           -   $       "                          "               $   *       )           "           !                   %               #                              .                          "                   $                           )                           (                       %                                                                                                                  ,                                          +                                                        




                                                      #       '   #           !       /           *       )       "           '                          !   "           %               $                                   0               (               /               "                   *                           )                           %                   '                                       ,                                                ,                       +                                                                            




ITEM FOUR                                                                                                                                                                                                                                                                                LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                        Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                   Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                       Class I-A Employees                                                                                                                                                     1                      




                                       Principals
                                       Class I-B Employees                                                                                                                                                     1                                                                                                        ,                               1                                                                                                                                            ,                       1                                                     




                        
                                       All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,               1                                             




                                       Class I-C Employees                                                                                                                                                     1   ,                   




                                       Regular Operators
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Under Age 25
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Age 25 or over
                                       Class I-A Employees                                                                                                                                                     1                      




                                       Principals
                                       Class I-B Employees                                                                                                                                                     1                                                                                                                            1                                                                                                                                                                               1                                                     




                                       All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2               3           4                   4               4




                        




                                       Class I-C Employees                                                                                                                                                     1   ,                   




                                       Regular Operators
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Under Age 25
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Age 25 or over
                                       Class I-A Employees                                                                                                                                                     1                      




                                       Principals
                                       Class I-B Employees                                                                                                                                                     1                                                                                                                                       1                                                                                                                                                                                      1                                             




                        
                                       All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 1                                         




                                       Class I-C Employees                                                                                                                                                     1   ,                                                                                                                         1                                                                                                                                                                               1       ,                                              




                                       Regular Operators
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Under Age 25
                                       Class II-Non-Employees                                                                                                                                                  1                      




                                       Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  #   )       1                                                      #           )           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         



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                  $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
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                                  RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




ITEM THREE                                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                            !           "           #           !           $               %       &       '                  (                       !                       $               "           )   *           '                                          +                                       ,                                                                       -                                            




                                            ,                        (           )   .           /       $       0           #                      "           /       &               %           &               '                       #               !                           1           .                           1                               %                       '                                               )              ,                                                        -                                    




                                                                            ,           &           (                  2           $           '       /           $           "           2               $                   #                       '              !                       ,                                                                                                       -                                            




ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                                Classes of Operators                                                                                                                                    Rating                                                                                       Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                                        Factor                                                                                      of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                           Class I-A Employees                                                                                                                                                                     3                                                                                                                    3                                                                                                                                                       3                             




                                           Principals
                                           Class I-B Employees                                                                                                                                                                     3                                                                                                                           3                                                                                                                                               3                             




                        
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      3                                     




                                           Class I-C Employees                                                                                                                                                                     3                      




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     3                      




                                           Principals
                                           Class I-B Employees                                                                                                                                                                     3                                                                                                                           3                                                                                                                                               3                             




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               4           5           6               7           7




                    




                                           Class I-C Employees                                                                                                                                                                     3                      




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                                     3                                                                                                                    3                                                                                                                                                       3                             




                                           Principals
                                           Class I-B Employees                                                                                                                                                                     3                                                                                                                           3                                                                                                                                               3                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              3                                     




                                           Class I-C Employees                                                                                                                                                                     3                      




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                                  3                      




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !           "   &       3                                           !           "           &           3
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               !       "   &       3




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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

 127(                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIKRXUVRUPRUHDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

                                              3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

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ITEM THREE                                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                                                 !       "       #           $           %           !           "                   $                              &                           #                      %                                           '                                          (                                          '               )                                                




                        (                                        *                      &       &                      &              +                          ,           #                                                         $       -           %                   &                           *                           .           $                   $                   /                       #                   %                   *                                                                                                          )       (              (   




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ITEM FOUR                                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                    Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                                   Personal Injury
                                                                                                                                                                                                Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                   Class I-A Employees                                                                                                                                                             1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             1                                                                                                                    1                                                                                                                                                                                   1       '                              




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1           '                          




                                   Class I-C Employees                                                                                                                                                             1                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                          1                      (




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          1           (           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                             1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             1                                                                                                        (                           1                                                                                                                                                                   1                                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2           3           4               4           4




                    (




                                   Class I-C Employees                                                                                                                                                             1                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                          1                      (




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          1           (           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                             1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             1                                                                                                                    1                                                                                                                                                                                   1                                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                     




                                   Class I-C Employees                                                                                                                                                             1                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                          1                      (




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          1           (           




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           %           &   -       1                                           %           &           -           1
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                       !   "               #           $       %           "           &       &           #                      '                           $                                                                                                                                                    (                                                                )




                        )                   *   )           +           ,       !                                    &                              -       $              &       .           !           /                                      -                          /                   $                   0                           1                                                                                                                              (                                        




                                                  !   '                  &       "                   !                     !       /           #           2           3       -           "                   !                                                                       "           0                                       #                               "                                   $                                                         0               #                                                 &       $                                                                                                    (              )              




ITEM FOUR                                                                                                                                                                                                                                                                                                LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                                   Personal Injury
                                                                                                                                                                                                        Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                                   Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                   Class I-A Employees                                                                                                                                                                         4                                                                                                                                4                                                                                                                                                               4                             




                                   Principals
                                   Class I-B Employees                                                                                                                                                                         4                                                                                                                                           4                                                                                                                                                   4                             




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  4                                             




                                   Class I-C Employees                                                                                                                                                                         4   *               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                         4                  




                                   Principals
                                   Class I-B Employees                                                                                                                                                                         4                                                                                                 *                               4                                                                                                                                                               4                             




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           5           6           7                   8               8




                    )




                                   Class I-C Employees                                                                                                                                                                         4   *               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                         4                                                                                                                                4                                                                                                                                                               4                             




                                   Principals
                                   Class I-B Employees                                                                                                                                                                         4                                                                                                 *                               4                                                                                                                                                               4                             




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          4                                             




                                   Class I-C Employees                                                                                                                                                                         4   *               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                      4                  




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              /   -       4                                                      /           -           4
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




ITEM THREE                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                                             !                             "                  #           $                       %                                                                 &                   '                                                           %                   '                           (                                                           )                   *                              +                          ,




                                +         -       -       +                 .                         !                                               /       "       0                   %                   !                   0                   !                                                                                '                       /                   !           #               %           !                                  )                                  )               -                   *       +                      +   




                                             +          +                    '                              &           1                  '              0                                  %                                                             '       /                                          '                                                           %               '                   (                                     ,                                  ,                   *       ,                                  )       ,




ITEM FOUR                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                                    Classes of Operators                                                                                                                Rating                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                               Personal Injury
                                                                                                                                                                                        Factor                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                   Protection
                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                           Class I-A Employees                                                                                                                                  +           2                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                           Class I-B Employees                                                                                                                                             2                                                                                             -                           2                                                                                                                                               2                                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  2                                     




                                           Class I-C Employees                                                                                                                                             2       )           




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                               +           2               +   ,




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                          2       ,           




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                  +           2                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                           Class I-B Employees                                                                                                                                             2                                                                                     +                                          2                                                                                                                                       2                                             




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           3           4           5               6           6




                        +




                                           Class I-C Employees                                                                                                                                             2       )                                                                                          +                       2                                                                                                                                               2   )                                          




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                               +           2               +   ,




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                          2       ,           




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                  +           2                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                           Class I-B Employees                                                                                                                                             2                                                                                                                        2                                                                                                                                    +           2                                             




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               +           2                                     




                                           Class I-C Employees                                                                                                                                             2       )           




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                               +           2               +   ,




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                          2       ,           




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '           &       2                                           '                   &           2
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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COPY
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                                                                                                                                                                                                                                                                                                                                                                                                         Auto Dealers Policy Declarations
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     *POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




ITEM THREE                                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                       !       "   #           $       %       &           '                      (           )                   *                   #                                                                                          +                           &                               "       $                                                             ,                              




                                        ,   -          .              (       "       /                   )           $                   %           &                      )           $                                                         0                                  1    &                           )                                       '                                                                                                       -               2           ,                                 




                                                  ,   (                         /           '                          *   #       &                      '           )           #                   (                           "       3           &                          4                -                                                                                                    ,               2                      ,                              




ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                Rating                                                                                                   Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                    Liability                                                   Personal Injury
                                                                                                                                                                                            Factor                                                                                                  of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                    Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                                    Premium
                                   Class I-A Employees                                                                                                                                                  ,               5                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                   Class I-B Employees                                                                                                                                                                 5                                                                                                                         5                                                                                                                                                                           5                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           5                                     




                                   Class I-C Employees                                                                                                                                                                 5                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               ,               5           ,           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              5                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  ,               5                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                   Class I-B Employees                                                                                                                                                                 5                                                                                                                         5                                                                                                                                                                           5                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    6           7           8               8           8




                    




                                   Class I-C Employees                                                                                                                                                                 5                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               ,               5           ,           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              5                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  ,               5                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                   Class I-B Employees                                                                                                                                                                 5                                                                                      ,                                                  5                                                                                                                                                           5                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   5                                     




                                   Class I-C Employees                                                                                                                                                                 5                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               ,               5           ,           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                              5                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                )           (   /       5                                           )           (           /           5
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          



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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                                  LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                 Address
    No.                                                                                                                                                                                             (list “your” main business location as Location No. 1)
                                                                                                         !                  "           #           $                  %                                                     !               &                                  '       $                                                  (                           )                                                                               *       +                                     




                                                                                  ,       &                      '       !           $           #           ,       &                          !                       ,                   $                   ,               %                                                                                    +                                  *                                         +           




                        )                             +                         #       %               "       #       $                      %           -                                                ,                       $               -   &                                                                                           )           *                              )                                      




ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                            Rating                                                                                                       Number       Rating        Total                                                                                                                                                                                                                                                                                                                                               Liability                                                   Personal Injury
                                                                                                                                                                                        Factor                                                                                                      of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                               Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                                  +       .                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                         .                                                                                                         )                       .                                                                                                                                                       .                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                                     




                                   Class I-C Employees                                                                                                                                                         .                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               +       .               +       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                      .                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  +       .                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                         .                                                                                                                                .                                                                                                                                                       .   )                  




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               /           0           1               2           2




                    




                                   Class I-C Employees                                                                                                                                                         .                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               +       .               +       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                      .                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                  +       .                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                         .                                                                                                                                .                                                                                                                                                       .                     




                    )
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .                                     




                                   Class I-C Employees                                                                                                                                                         .                      




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                               +       .               +       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                      .                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,              #       .                                           ,                      #           .
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              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




ITEM THREE                                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                                                                       !               "                                    !                              #                   $               "                                             %                                                                                     #                                  &                                          '                                                                         (               )                                            *




                                                (   *                         +           ,                                                   !                      #           -              .               .                              %                                  /                   #                                                                                         (                   '               (           (                      )                                          (                                      




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                                Classes of Operators                                                                                                                                Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                                                   Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Premium
                                           Class I-A Employees                                                                                                                                                  (       4                      




                                           Principals
                                           Class I-B Employees                                                                                                                                                         4                                                                                                                            4                                                                                                                                                                    (                   4                                                     




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           (       4                                 




                                           Class I-C Employees                                                                                                                                                         4       '               




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                               (       4           (           *




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      4       *               




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                  (       4                      




                                           Principals
                                           Class I-B Employees                                                                                                                                                         4                                                                                                 *                           4                                                                                                                                                                                       4                                                     




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       5               6       7               7           7




                    




                                           Class I-C Employees                                                                                                                                                         4       '               




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                               (       4           (           *




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      4       *               




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                  (       4                                                                                                                            4                                                                                                                                                                                       4                                                     




                                           Principals
                                           Class I-B Employees                                                                                                                                                         4                                                                                                                                   4                                                                                                                                                (                                              4                                                 




                        (
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (                      4                                 




                                           Class I-C Employees                                                                                                                                                         4       '               




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                               (       4           (           *




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      4       *               




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               +              0       4                                           +                      0           4
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              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                      RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                               !           "           #                      $           %           &               '           (                                                     !           !               '               )                   *       +                   +               "                   (                                                                                                                            ,                                            #




                                                          !                  *                                    !                  *              (                      "                                                                    "           !                              %                           -                       (           .                       &                                                                              ,                                  #                              #




                                                             /       "               0       0       "                  '                          -           '           !       (           $                   &                                  !       !               '               )           *       +                   +                       "               (               1                   2                                                                                                  ,                                 3           




ITEM FOUR                                                                                                                                                                                                                                                                                                        LIABILITY COVERAGES – PREMIUMS
                                            Classes of Operators                                                                                                                                            Rating                                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                           Liability                                                   Personal Injury
                                                                                                                                                                                                            Factor                                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                           Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                                           Units                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
                                   Class I-A Employees                                                                                                                                                                             4                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                             4                                                                                                                    4                                                                                                                                           4                                         




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              4                                     




                                   Class I-C Employees                                                                                                                                                                             4           #           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                          4                      3




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                          4           3           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                             4                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                             4                                                                                                                    4                                                                                                                                           4                                         




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       5           6           7               5           5




                    




                                   Class I-C Employees                                                                                                                                                                             4           #           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                          4                      3




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                          4           3           




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                             4                      




                                   Principals
                                   Class I-B Employees                                                                                                                                                                             4                                                                                                                    4                                                                                                                                           4                                         




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      4                                     




                                   Class I-C Employees                                                                                                                                                                             4           #           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                          4                      3




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                          4           3           




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              -   !       4                                                      -           !           4
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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                          3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                              LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                             Address
    No.                                                                                                                                                                                         (list “your” main business location as Location No. 1)
                                                                                                            !                                                        "                                      #                                         $           %           &                   '               (                       $                                         &                   #                                                                                                                                    )          *           +                       




                        +                      !       ,                  -           .           '       -           #   $           %                  $              %                                                                               $           '           #               $       %                                          +                                                                )                                                            




                                                        "                  %                      &       "               "                              '       /           $               -               &                                  #                                     &                       (                       &                                                         %                                      #                                  .                                                             ,                         )                          *                           ,           *




ITEM FOUR                                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                            Rating                                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                                                                       Liability                                                   Personal Injury
                                                                                                                                                                                        Factor                                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                                                                       Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
                                   Class I-A Employees                                                                                                                                                      ,       0                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             0                                                                                                                0                                                                                                                                                               0   *                              




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              0           *                                  




                                   Class I-C Employees                                                                                                                                                             0           +           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   ,       0               ,       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          0                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      ,       0                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             0                                                                                                                0                                                                                                                                                    ,           0                                 




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1                   2           3                       4           4




                    +




                                   Class I-C Employees                                                                                                                                                             0           +           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   ,       0               ,       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          0                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      ,       0                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




                                   Class I-B Employees                                                                                                                                                             0                                                                                                                0                                                                                                                                                               0   *                              




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      0               *                              




                                   Class I-C Employees                                                                                                                                                             0           +           




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   ,       0               ,       




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          0                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      %   -       0                                                      %           -           0
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         



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'HILQLWLRQV
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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ITEM THREE                                                                                                                                                                      LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                     Address
    No.                                                                                                                                                                                 (list “your” main business location as Location No. 1)
                                                                                                !                  "                      #               $                   $                                  %                                                                            &                              '                           "                              #                                                          (                        




                                                                              )                      "   '       *           $                      "                              +                                                        ,                  (                                                                            -




                                                                          !                  "               $           *           .           )                                     %                   "                   &   .                          ,                                                         -                   (                                                




ITEM FOUR                                                                                                                                                                                                                                                                    LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                           Liability                                                                       Personal Injury
                                                                                                                                                                            Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                           Premium                                                                           Protection
                                                                                                                                                                                                                                                                                                       Units                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                  -               /                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




                                   Class I-B Employees                                                                                                                                                 /                                                                                             -                       /                                                                                                                       /                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                              /                                     




                                   Class I-C Employees                                                                                                                                                 /   ,               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                               -               /       -           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                              /                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                  -               /                  




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                   Class I-B Employees                                                                                                                                                 /                                                                                             -                       /                                                                                                                       /                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                       0           1           2               0           0




                    




                                   Class I-C Employees                                                                                                                                                 /   ,               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                               -               /       -           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                              /                  




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                  -               /                  




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -           "               -                      -                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




                                   Class I-B Employees                                                                                                                                                 /                                                                                                                    /                                                                                                                       /                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      /                                     




                                   Class I-C Employees                                                                                                                                                 /   ,               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                               -               /       -           




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                              /                  




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       #                           .                   /                                               #           .                      /
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
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                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                  !           "   #                   #       $               %           $           &                   '                               &               (           "                                                                     %                   "                                  )                                                )               *                                 )               




                                                                                    +       ,           -                      (           %                      &           '           '                                           $                                                                     "       ,                           .                   %                                          &                       +                                                           *                                 )       




                                                          -       /       0               ,       !           ,               %       #                                 -           &               !               %           &               -                                         +                                                                 *                                             )               




ITEM FOUR                                                                                                                                                                                                                                                                                LIABILITY COVERAGES – PREMIUMS
                                                    Classes of Operators                                                                                                                            Rating                                                                               Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                                           Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                              of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                                           Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                   Units                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
                                           Class I-A Employees                                                                                                                                                         1                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




                                           Class I-B Employees                                                                                                                                                         1                                                                                     +                           1                                                                                                                                                       1                                 




                        
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              1                                     




                                           Class I-C Employees                                                                                                                                                         1       )           




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                         1                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




                                           Class I-B Employees                                                                                                                                                         1                  




                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       2           3           4               5           5




                    




                                           Class I-C Employees                                                                                                                                                         1       )                                                                                                         1                                                                                                                                                       1   +                              




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Age 25 or over
                                           Class I-A Employees                                                                                                                                                         1                  




                                           Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




                                           Class I-B Employees                                                                                                                                                         1                  




                    
                                           All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      1           )                          




                                           Class I-C Employees                                                                                                                                                         1       )                                                                                                         1                                                                                                                                                       1   )                              




                                           Regular Operators
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Under Age 25
                                           Class II-Non-Employees                                                                                                                                                      1                  




                                           Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           &           0   ,       1                                           &           0           ,           1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     



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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                                  3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                                      RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                                      !                  "       #           $                   %                     %           &                   $                              !                                                 '               '                                          (               )                                                 




                        *         '                     &                                     %              +                   $           &                                 ,                              -                   .                   $                              !                                                             '               *                                      (               )           '                      *




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                               Liability                                                   Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                               Premium                                                       Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                                      )       2                          




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             2                          




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   )               2                                     




                                   Class I-C Employees                                                                                                                                                             2           /                                                                                                                     2                                                                                                                            )   2                 




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   )       2                   )       *




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          2           *               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      )       2                          




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




                                   Class I-B Employees                                                                                                                                                             2                          




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       3               4       5               6               6




                    *




                                   Class I-C Employees                                                                                                                                                             2           /                                                                                                                     2                                                                                                                            )   2                 




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   )       2                   )       *




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          2           *               




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                      )       2                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                %   &                          -




                                   Principals
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                %   &                      -




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




                                   Class I-B Employees                                                                                                                                                             2                          




                    /
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           %   &                                      -




                                   Class I-C Employees                                                                                                                                                             2           /               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                   )       2                   )       *




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                          2           *               




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      &           2                                                                 &                   2
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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

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                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

              &ODVV,,±1RQHPSOR\HHV$Q\RIWKHIROORZLQJSHUVRQZKRDUHUHJXODUO\IXUQLVKHGZLWKDFRYHUHG³DXWR´,QDFWLYHSURSULHWRUVSDUWQHUVRU

                              RIILFHUVDQGWKHLUUHODWLYHVDQGWKHUHODWLYHVRIDQ\SHUVRQGHVFULEHGLQ&ODVV,

PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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                                                                                                                                                                                                                                                                                                                                                                                                Auto Dealers Policy Declarations
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




ITEM THREE                                                                                                                                                                                          LOCATIONS WHERE YOU CONDUCT GARAGE OPERATIONS
  Location                                                                                                                                                                                                                         Address
    No.                                                                                                                                                                                                     (list “your” main business location as Location No. 1)
                                                                                               !           "           #       $                          $           %           &           '                       $                       (   '               &                                                            )                                                                 




                                                             *       '           +       %                      *   '                          ,       '       &           !                                                     $                   -           !           &           +       ,                                                                                                                              .                                            




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ITEM FOUR                                                                                                                                                                                                                                                                                            LIABILITY COVERAGES – PREMIUMS
                                        Classes of Operators                                                                                                                                        Rating                                                                                           Number       Rating        Total                                                                                                                                                                                                                                                                                                                                                   Liability                               Personal Injury
                                                                                                                                                                                                    Factor                                                                                          of Persons     Units       Rating                                                                                                                                                                                                                                                                                                                                                   Premium                                   Protection
                                                                                                                                                                                                                                                                                                                               Units                                                                                                                                                                                                                                                                                                                                                                                               Premium
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          1                                         




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                1                                                                                                                                                       1                     




                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           2                   3               4               2           2




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                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 or over
                                   Class I-A Employees                                                                                                                                                                     1                      




                                   Principals                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                   Class I-B Employees                                                                                                                                                                     1                                                                                                                            1                                                                                                                                            1                     




                    
                                   All Others                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  1                                         




                                   Class I-C Employees                                                                                                                                                                     1       )               




                                   Regular Operators
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Under Age 25
                                   Class II-Non-Employees                                                                                                                                                                  1                      




                                   Age 25 and over
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




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              $ 'HDOHUVKLSSULQFLSDOVSDUWQHUVSURSULHWRUVDQGRIILFHUVDFWLYHLQWKH³DXWRGHDOHURSHUDWLRQV´RUDQ\HPSOR\HHZKRLVIXUQLVKHGDFRYHUHGDXWR
              % $OO2WKHUV$OORWKHUHPSOR\HHVLQFOXGLQJSDUWVPDQDJHUVILQDQFHPDQDJHUVDQGLQWHUQHWVDOHVPDQDJHUVSURYLGHGWKH\DUHQRWIXUQLVKHGDFRYHUHGDXWR
              & 5HJXODU2SHUDWRUV6DOHVSHUVRQVJHQHUDOPDQDJHUVSDUWVGULYHUVWRZWUXFNGULYHUVDQGVKXWWOHGULYHUVZKRDUHQRWIXUQLVKHGDFRYHUHGDXWR

 127(                              3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIKRXUVRUPRUHDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

                                      3DUWWLPHHPSOR\HHVZRUNLQJDQDYHUDJHRIOHVVWKDQKRXUVDZHHNIRUWKHQXPEHURIZHHNVZRUNHGDUHWREHFRXQWHGDVUDWLQJXQLWHDFK

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PODEC-1 (03-16) 00                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                    Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
                                                                                                                                                                                                                                                                                                                                                                                  




                      Comprehensive          $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                                      $
                      Specified Causes of    SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
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                      Collision              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                           




                                                                                                                                                                                                                                                                                                     




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                                             $                                                                                                                                                                   MINUS                                                                       $
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                       



                                                                                                                                                                                                                                                                                                 




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                      Specified Causes of    SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                 


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                      Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                              
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                 




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                      Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                      Collision              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                          




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           #                              $      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                  




                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




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                                             $                                                                                                                                                               MINUS                                                                       $
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              




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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                  




                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                 




                                                                 




                                             $                                                                                                                                                               MINUS                                                                       $
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
                                                             




                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                               EVENT.
                                                     




                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
                                                                                                                                                                                                                                                                                                                                                                                 




                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                             $                                                                                                                                                                   MINUS                                                                       $
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                             $                                                                                                                                                               MINUS                                                                       $
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                  




                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.
                                                                                                                                                                                                                                                                                                                                                                      




                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                             $                                                                                                                                                               MINUS                                                                       $
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ocation
                                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.
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                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.
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                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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  ITEM FIVE                                                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
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                  Comprehensive              $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                                                   EVENT.
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                  Collision                  $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                                             $                                                                                                                                                                                               MINUS                                                                       $
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                  Comprehensive                                                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                  Loss                                                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Comprehensive              $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                             




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                  Loss                                                                                                                                                                                                                                                                                                   EVENT.

                  Collision                  $                                                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                    Coverages                                                                                                                                                                                                                                           Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                              




                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.
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                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive                                                                                                                                                                                                                                                                                                                                                      DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Comprehensive          $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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                      Specified Causes of    SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                             




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                      Loss                                                                                                                                                                                                                                                               EVENT.

                      Collision              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
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GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

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  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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  ITEM FIVE                                                                                                                                                                                          GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                               Premium
      No.                Coverages                                                                                                                                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      For Each Location
                                                                                                                                                                                                                                                                                                                                                                                  




                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                      




                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                             




            




                                                                                                                                                                                                                                     




                  Loss                                                                                                                                                                                                                                                                       EVENT.
                                                                                                                                                                                                                                                                                                                                                                          




                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                           




                                                                                                                                                                                                                                                                                                     




                                             $                                                                                                                                                                   MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                                                                  




                  Comprehensive                                                                                                                                                                                                                                                                                                                                                              DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                        



                                                                                                                                                                                                                                                                                                 




                                                                                                             




                  Specified Causes of        SUBJECT TO                                                                                                                                                          $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                 


            




                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                          

                                                                                                                                                                                




                                                                                                                                                                                                                                                                                                     

                                                                                                     




                  Comprehensive              $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                              
                                                                                                                                                                                    




                                                                                                                                                                                                                                                                                                         
                                                                                                         




                                                                                                                                                                                                                 $
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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                      MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                 




         




              




                  Loss                                                                                                                                                                                                                                                                       EVENT.

                  Collision                  $                                                                                                                                                                   MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                          




                                                                                                                                                                            




                                                                                                                                                                                                                                                                                                     




                                                                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                     TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           "                                    #      $




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                             x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

    PRIMARY INSURANCE. If this box is checked; GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                         COPY
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                                                                                                                                                                                                                                                                                                                                                                                                                                                 * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           




  ITEM FIVE                                                                                                                                                                                      GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                                                                                                                                                                           Premium
      No.                Coverages                                                                                                                                                                                                                                               Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  For Each Location
                                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                   




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $
                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                        




            




                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                                                                                                                                                                                                                                                                                                                                                                     




                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $

                                             $                                                                                                                                                               MINUS                                                                       $
                                                                                                                                                                                                                                                                                                                                                             




                  Comprehensive                                                                                                                                                                                                                                                                                                                                                          DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                   




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $
                  Specified Causes of        SUBJECT TO                                                                                                                                                      $                                                                           MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                                                                                                                                    




            




                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     

                                                                                                                                                                           




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $

                  Comprehensive              $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                         
                                                                                                                                                                               




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $
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                                                                                                                                                                                                                                                                    
              




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                  Specified Causes of        SUBJECT TO                                                                                                                                                                                                                                  MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                                                                                                                                   EVENT.                                                                                                                                                                   $
                  Collision                  $                                                                                                                                                               MINUS                                                                       $                                                                                               DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                                                                                                                                                                                                                                                                                                     




                                                                                                                                                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                  $

                                                                                                                                                                                                                                                                                                                                                                                                                                 TOTAL PREMIUM                    $
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       #                                 $      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                                                                                                                                                                         x ".


DIRECT COVERAGE OPTIONS

    EXCESS INSURANCE. If this box is checked, GARAGEKEEPERS COVERAGE is changed to apply without regard to your or any other
    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

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    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                                                                                                                                     COPY
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                                                                                                                                                                                                                                                                                             * POLICY NUMBER
                                                                                                                                                                                                                                                                                                                                                       




  ITEM FIVE                                                                                                  GARAGEKEEPERS COVERAGES AND PREMIUMS
   LOCATION                                                                                                                                                                                                                                                                                                       Premium
      No.                Coverages                                                                                                                                   Limit of Liability For Each Location
                                                                                                                                                                                                                                                                                                              For Each Location
                                                                                                                                                                                                                         




                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                           




                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                                                                                                                                                            




            




                  Loss                                                                                                                                                       EVENT.
                                                                                                                                                                                                                     




                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"
                                                                                               




                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"

                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.

                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"


                  Comprehensive              $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"

                  Specified Causes of        SUBJECT TO                                                                  $                                                   MAXIMUM DEDUCTIBLE FOR ALL "LOSS" IN ANY ONE
                  Loss                                                                                                                                                       EVENT.

                  Collision                  $                                                                           MINUS                                               $                                                       DEDUCTIBLE FOR EACH COVERED "AUTO"


                                                                                                                                                                                                                                                                             TOTAL PREMIUM
                                                                                                                                                                                                                                                                                                                                                                    !      




GARAGEKEEPERS COVERAGE applies on a legal liability basis unless one of the Direct Coverage Options is indicated below by “                                                                                                                                                     x ".


DIRECT COVERAGE OPTIONS

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    "insured's" legal liability for "loss" to a covered "auto" and is excess over any other collectible insurance regardless of whether the other insurance
    covers your or any other "insured's" interest or the interest of the covered "auto's" owner.

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    "insured's" legal liabiity for "loss" to a covered "auto" and is primary insurance.




  PODEC-2 (03-16) 00                                                                                                                                                         COPY
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                                                               Auto Dealers Policy Declarations
                                                         AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                
                                                                                                                        * POLICY NUMBER
                                                                                                                                                         




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                    Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                    $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                   




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                    $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                             Rate                 Premium
                  Driver Trips


51-200 miles                                                              $

Over 200 miles                                                            $
                                                                          $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                     Number of Plates                 Rate Per Plate                                Premium
                                                                                            




                                                                                                         




Uninsured Motorists
Underinsured Motorists                                                                                              $
Uninsured Motorists Physical Damage                                                                                 $




PODEC-4 (03-16) 00                                                              COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                           
                                                                                                                               * POLICY NUMBER
                                                                                                                                                                




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                              Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                               $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                  $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                           Rate             Premium
                  Driver Trips


51-200 miles                                                                        $

Over 200 miles                                                                      $
                                                                                    $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                                 Rate Per Plate                             Premium
                                                                                                                




Uninsured Motorists                                                                                                    




                                                                                                                     


                                                                                                         




Underinsured Motorists
                                                                                                                    


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Uninsured Motorists Physical Damage                                                                            




PODEC-4 (03-16) 00                                                                        COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 482 of 560
                                                              Auto Dealers Policy Declarations
                                                        AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                                        
                                                                                                                            * POLICY NUMBER
                                                                                                                                                                 




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                   Premium Determination                                                Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                            $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                  




Payments (Does not apply to bodily injury          % of the Liability Premium                                               $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                            $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                            Rate                 Premium
                  Driver Trips


51-200 miles                                                             $

Over 200 miles                                                           $
                                                                         $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                    Number of Plates                 Rate Per Plate                                         Premium
                                                                                                              




Uninsured Motorists
                                                                                                            


                                                            




Underinsured Motorists
Uninsured Motorists Physical Damage                                                                                     $




PODEC-4 (03-16) 00                                                             COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 483 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                  * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                           $
Underinsured Motorists                                                                                        $
Uninsured Motorists Physical Damage                                                                           $




PODEC-4 (03-16) 00                                                                 COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                                * POLICY NUMBER
                                                                                                                                                                     




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                                Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                                $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                   $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate              Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                          Rate Per Plate                                         Premium
                                                                                                                  




Uninsured Motorists
                                                                                                              


                                                                   




Underinsured Motorists
Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 485 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                                                   * POLICY NUMBER
                                                                                                                                                                                        




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                              Premium Determination                                                            Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                                                   $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                                      $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                           Rate             Premium
                  Driver Trips


51-200 miles                                                                        $

Over 200 miles                                                                      $
                                                                                    $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                                 Rate Per Plate                                                     Premium
                                                                                                                                     




Uninsured Motorists
                                                                                                                                   


                                                                   




Underinsured Motorists
                                                                                                                                  




Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                        COPY
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                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                               * POLICY NUMBER
                                                                                                                                                                    




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                              Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                               $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                                  $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                           Rate             Premium
                  Driver Trips


51-200 miles                                                                        $

Over 200 miles                                                                      $
                                                                                    $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                                 Rate Per Plate                                 Premium
                                                                                                        




Uninsured Motorists                                                                                                   




                                                                                                                   


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Underinsured Motorists
                                                                                                                   




Uninsured Motorists Physical Damage                                                                            




PODEC-4 (03-16) 00                                                                        COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 487 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                  * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                           $
Underinsured Motorists                                                                                        $
Uninsured Motorists Physical Damage                                                                           $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 488 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 489 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                           * POLICY NUMBER
                                                                                                                                                            




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                            Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                       $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                          $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                                 Premium
                                                                                                           




Uninsured Motorists                                                                        




                                                                                                   




Underinsured Motorists                                                                                  




Uninsured Motorists Physical Damage                                                                                    $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 490 of 560
                                                               Auto Dealers Policy Declarations
                                                         AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                    Premium Determination                                         Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                   




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                             Rate                 Premium
                  Driver Trips


51-200 miles                                                              $

Over 200 miles                                                            $
                                                                          $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                     Number of Plates                 Rate Per Plate                              Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                              COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 491 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                       * POLICY NUMBER
                                                                                                                                                        




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                       $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                          $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                       $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                             Premium
                                                                                                           




Uninsured Motorists
Underinsured Motorists
                                                                                                          




Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 492 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 493 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 494 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 495 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 496 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                            * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                            Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                        $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                        $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                                 Premium
                                                                                                             




Uninsured Motorists                                                                                             




                                                                                                        




Underinsured Motorists
Uninsured Motorists Physical Damage                                                                                     $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 497 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 498 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 499 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                        




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 500 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 501 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 502 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 503 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 504 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 505 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                        * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                        $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                           $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                        $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate              Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                          Rate Per Plate                             Premium
                                                                                                             




Uninsured Motorists                                                                         




                                                                                                              


                                                                   




Underinsured Motorists                                                                             




Uninsured Motorists Physical Damage




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 506 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 507 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 508 of 560
                                                              Auto Dealers Policy Declarations
                                                        AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                   Premium Determination                                          Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                  




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                            Rate                 Premium
                  Driver Trips


51-200 miles                                                             $

Over 200 miles                                                           $
                                                                         $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                    Number of Plates                 Rate Per Plate                               Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                             COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 509 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 510 of 560
                                                              Auto Dealers Policy Declarations
                                                        AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                   Premium Determination                                          Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                  




Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                            Rate                 Premium
                  Driver Trips


51-200 miles                                                             $

Over 200 miles                                                           $
                                                                         $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                    Number of Plates                 Rate Per Plate                               Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                             COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 511 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 512 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                        * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                        Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                    $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                    $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                             Premium
                                                                                                        




Uninsured Motorists
Underinsured Motorists                                                                                              $
Uninsured Motorists Physical Damage                                                                                 $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 513 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 514 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 515 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                  Premium Determination                                           Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                         




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                               Rate             Premium
                  Driver Trips


51-200 miles                                                            $

Over 200 miles                                                          $
                                                                        $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                     Rate Per Plate                                Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                            COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 516 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 517 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 518 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 519 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 520 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 521 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 522 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 523 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                           




                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 524 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                                  Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                                                                                         




Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
                                                                                                                                          




caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                                   Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 525 of 560
                                                                  Auto Dealers Policy Declarations
                                                            AUTO DEALERS' SUPPLEMENTARY SCHEDULE




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                                                                                                                      * POLICY NUMBER
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ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                       Premium Determination                                      Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
                                                     




Payments (Does not apply to bodily injury          % of the Liability Premium
caused by any auto)
                                 




Locations and Operations and Auto           Locations and Operations and Auto Medical Payments Premium
                                                                                                                  $
Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                Rate                 Premium
                  Driver Trips


51-200 miles                                                                 $

Over 200 miles                                                               $
                                                                             $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                                        Number of Plates                 Rate Per Plate                           Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                 COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 526 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
                  Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 527 of 560
                                                       Auto Dealers Policy Declarations
                                                 AUTO DEALERS' SUPPLEMENTARY SCHEDULE




                                                                                                              
                                                                                                                      * POLICY NUMBER
                                                                                                                                                       




ITEM EIGHT
MEDICAL PAYMENTS COVERAGE.
            Coverage                                                      Premium Determination                                       Premium
                                            Auto Medical Payments Premium equals         % of the Liability
                                                                                                                  $
Auto Medical Payments Only                  Premium
Locations and Operations Medical            Locations and Operations Medical Payments Premium equals
Payments (Does not apply to bodily injury          % of the Liability Premium                                     $
caused by any auto)
Locations and Operations and Auto
                           
                                            Locations and Operations and Auto Medical Payments Premium
                                                            




Medical Payments                            equals         % of the Liability Premium



ITEM NINE
LIABILITY PREMIUM FOR PICK UP AND DELIVERY OF AUTOS - NON-FRANCHISED DEALER ONLY
                  Number of
                                                                   Rate             Premium
                  Driver Trips


51-200 miles                                                                $

Over 200 miles                                                              $
                                                                            $




ITEM TEN
UNINSURED/UNDERINSURED MOTORISTS COVERAGE – PREMIUMS
                                               Number of Plates                         Rate Per Plate                            Premium
Uninsured Motorists                                                                                               $
Underinsured Motorists                                                                                            $
Uninsured Motorists Physical Damage                                                                               $




PODEC-4 (03-16) 00                                                                COPY
          Case 5:21-cv-02741-JLS Document 1-6 Filed 06/18/21 Page 528 of 560


                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

            FORMS AND ENDORSEMENTS CONTAINED IN THIS POLICY AT ITS INCEPTION


            13614            (1185)             Special Continuation Provision
            13803SC          (0708)             Schedule of Surcharges and Assessments
            AC0436           (0910)             Amendment of Definition of Pollutants
            AC2041           (0316)             Additional Insured – Primary and Non-
                                                Contributory Endorsement
            AC2107           (1001)             Ohio Underinsured Motorists Coverage – Bodily Injury
            AC2111A          (0109)             Georgia Uninsured Motorists Coverage – Reduced By At-
                                                Fault Limits
            AC2113MD         (0306)             Maryland Uninsured Motorists Coverage
            AC2131           (0703)             Michigan Uninsured Motorists Coverage
            AC2133           (1001)             Ohio Uninsured Motorists Coverage – Bodily Injury
            AC2144A          (1115)             Indiana Uninsured Motorists Coverage BI/PD
            AC2179           (0310)             Kentucky Underinsured Motorists Coverage
            AC2192a          (0712)             Pennsylvania Uninsured Motorists Coverage – Non-
                                                Stacked
            AC2193a          (0712)             Pennsylvania Underinsured Motorists Coverage - Non-
                                                Stacked
            AC2219           (0213)             Maryland Personal Injury Protection
            AC2220           (0418)             Michigan Personal Injury Protection
            AC3116           (1115)             Indiana Underinsured Motorists Coverage
            AC3117           (1001)             Ohio Uninsured Motorists Coverage – Property Damage
            AC7000           (0316)             Auto Medical Payments Amendment
            AD2564           (0316)             Acts, Errors and Omissions Coverages
            AD3501           (0316)             Dealers Extension Endorsement
            AD3506           (0316)             Blanket Garagekeepers, Physical Damage Coverage
            AD3513           (0316)             Dealers Replacement or Repairs
            AD3514           (0316)             Broad Form Products/Work Performed
            AD3522           (0316)             Blank Endorsement Form
            CA0025           (1013)             Auto Dealers Coverage Form
            CA0101           (1013)             Maryland Changes – Auto Dealers Coverage Form
            CA0104           (0115)             Illinois Changes – Auto Dealers Coverage Form
            CA0110           (0916)             Michigan Changes
            CA0113           (1013)             Colorado Changes
            CA0119           (1013)             Indiana Changes
            CA0145           (1013)             Ohio Changes – Auto Dealers Coverage Form
            CA0157           (0616)             Pennsylvania Changes – Auto Dealers Coverage Form
            CA0163           (1013)             Georgia Changes – Auto Dealers Coverage Form
            CA0164           (1013)             Kentucky Changes – Auto Dealers Coverage Form
            CA0175           (1013)             Arizona Changes
            CA0192           (1013)             Nevada Changes – Auto Dealers Coverage Form
            CA0197           (1013)             Texas Changes – Auto Dealers Coverage Form
            CA0215           (1013)             Maryland Cancellation Changes
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              CA0217       (1013)    Michigan Changes – Cancellation and Nonrenewal
              CA0243       (1113)    Texas Changes – Cancellation and Nonrenewal
              CA0270       (0118)    Illinois Changes – Cancellation and Nonrenewal
              CA0301       (1013)    Deductible Liability Coverage
              CA0440       (1013)    Colorado Auto Medical Payments Coverage
              CA0444       (1013)    Waiver of Transfer of Rights
              CA2001P(2)   (1013)    Lessor – Additional Insured and Loss Payee
              CA2109       (1013)    Texas Uninsured/Underinsured Motorists Coverage
              CA2126       (1013)    Colorado Uninsured Motorists Coverage – Property
                                     Damage
              CA2127       (1013)    Nevada Uninsured Motorists Coverage
              CA2130       (0115)    Illinois Uninsured Motorists Coverage
              CA2138       (1013)    Illinois Underinsured Motorists Coverage
              CA2139       (1013)    Arizona Uninsured Motorists Coverage
              CA2140       (1013)    Arizona Underinsured Motorists Coverage
              CA2150       (0717)    Colorado Uninsured Motorists Coverage
              CA2153       (1013)    Illinois Uninsured Motorists Coverage – Property Damage
              CA2176       (1013)    Kentucky Uninsured Motorists Coverage
              CA2216       (1013)    Kentucky Personal Injury Protection
              CA2221       (0394)    Coordination of PIP
              CA2224       (1013)    Michigan Property Protection Coverage
              CA2237       (1013)    Pennsylvania Basic First Party Benefit
              CA2264       (1013)    Texas Personal Injury Protection Endorsement
              CA2384       (1013)    Terrorism Exclusion
              CA9903       (1013)    Auto Medical Payments Coverage
              CA9910       (1013)    Drive Other Car Coverage
              CA9944       (1013)    Loss Payable Clause
              IL0017       (1198)    Common Policy Conditions
              IL0021       (0702)    Nuclear Energy Liability Exclusion
              IL0021       (0908)    Nuclear Energy Liability Exclusion
              IL0110       (0907)    Nevada Changes – Concealment, Misrepresentation or
                                     Fraud
              IL0115       (0110)    Nevada Changes – Domestic Partnership
              IL0147       (0911)    Illinois Changes – Civil Union
              IL0156       (1117)    Indiana Changes – Concealment, Misrepresentation or
                                     Fraud
              IL0158       (0300)    Indiana Changes
              IL0162       (1013)    Illinois Changes – Defense Costs
              IL0169       (0907)    Colorado Changes – Concealment, Misrepresentation or
                                     Fraud
              IL0228       (0907)    Colorado Changes – Cancellation and Nonrenewal
              IL0244       (0907)    Ohio Changes – Cancellation and Nonrenewal
              IL0246       (0907)    Pennsylvania Changes – Cancellation and Nonrenewal
              IL0251       (0907)    Nevada Changes – Cancellation and Nonrenewal
              IL0262       (0907)    Georgia Changes – Cancellation and Nonrenewal
              IL0272       (0907)    Indiana Changes – Cancellation and Nonrenewal
              IL7002 (2)   (0911)    Advance Notice of Cancellation
Page 2 of 3                                                                   AD XX XX XX XX
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                                                                           AD XX XX XX XX

           IN5187       (1204)      IL Coml Auto Policy Notice Hired & Non-Owned Auto
           IN5207       (0407)      Changes in Pennsylvania Uninsured and Underinsured
                                    Motorists Coverage - Arbitration
           IN5278       (1213)      Important Notice Fair Credit Reporting Act
           IN5279       (0214)      Maryland Important Notice Regarding PIP and Premium
                                    Increase Coverage
           IN7378       (0506)      Important Notice - Michigan
           PA0209       (1013)      Ohio Changes – Cancellation and Nonrenewal
           PA0216       (1013)      Maryland Changes – Cancellation and Nonrenewal
           SP0002       (0916)      Signature Page (AMCO)




AD XX XX XX XX                                                                  Page 3 of 3
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                        e           .                                       +                                   Y                                                                       h                                               .                                               e                               i                                                                               *                                                       e                       .                                               Y                                           Z                                           [                           \                               c                                                                                                                                                                       -                                               Y                                                           Z                                                           [                                                   \                                   ]                                   ^                                                           _                           -                                                   j                                                           a
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                        e           .                                       +                                   Y                                                                       h                                               .                                               e                               i                                                                       k                                                                                   .                                       e                               l                                                               *                                       -                                                   e                                           /                                       .                                                       e                               i                                                                                   -                                                       Y                                                                                                                                                                   -                                                           Y                                                       Z                                                           [                           \                                   ]                   ^                                                   _                   -                                                   j                                                   a
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        *       +                               e                       +                               ,                                               e                           +                                           m                                           d                                                                                                                                                              n                                                                                                                       .                                               Y                                   ]                               _               o                                                                                                                                                                  b                                               p                               Z                                                           e                                   o                                                                                                                                                                                                      b                                                           Y                                                                                                               *                                               e                               .                                                   m                                                           -                               e                               \                               o                                                                                                                                                   +                                       i                                                                   +                                       ,                                               -                                                                                                                                      ]                               +                                   ^                                               ]                       _                       ]               \                           o                                                                                                                                                                                       W                                                                                                                                                                                                                        q                                                                                                                                             r                                                                                   s                                                                                                  q                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         t
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                   n                                                                                                  v                                                       [                                       _                       Z                                   c                                                   ]               .                                           b                                                               w                                       n                               d                                           n                                                                                       -                                               /                                               -                                                       [                                           \                                   ]                   x                                                               -                                                                                           *                                                           e                                       .                                                           Y                                                           Z                                                       [                           \                                   c                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               s                                   -                       b                                           -                                   e                           +                       _                                                          ]                       +                                   ^                           ]                       _                   ]               \               o                                                                                                               .                           Y                                   ]                   _       o                                                              b                               p                                   Z                                   e                   o                                                                                                  b                           Y
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                        n                                                                                              v                                                       [                                       _                       Z                                   c                                                   ]               .                                           b                                                                   w                                       n                               ]               n                                   k                                                                   .                                                               e                                           l                                                                   t                                                                           .                                                       Z                                                                                           *                                                                   -                                                   e                           /                                           .                                                               e                               i                                                                       -                                           Y                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           s                                   -                                           b                                       -                       e                       +                           _                                                                          ]               +                           ^                                                   ]           _                           ]               \           o                                                                                               .                                   Y                                       ]           _           o                                                                          b                               p                       Z                                           e               o                                                                                      b                           Y
        g                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               2                           3                                                                   6                                                   4                                           A               4                                   :                   4                               6                                               V                                       y                                                       7                                       B                                                   4                                   @                                       4                                           8                               U                                           3                               <                                               S                                       z                       4                               >                           :                                   :                           7                                                   :                   1                   4                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       g




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                                                                                                COMMERCIAL AUTO
                                                                                                    AD 35 22 03 16

                                    LOSS PAYABLE SCHEDULE


XTRA LEASE LLC
2150 NORTHBRIDGE AVE
BALTIMORE, MD 21226-9319

MERCEDES BENZ FINANCIAL SERVICES LLC
PO BOX 279319
SACRAMENTO, CA 95827-9319

PREMIER TRAILER LEASING INC
751 FRANKFURST AVE
BALTIMORE, MD 21226-1018

XTRA LEASE LLC
6943 RECOVERY RD
LOUISVILLE, KY 40214-4539

REDLINE TOWING INC / REDLINE LEASING CORP.
347 MAIN ST
DICKSON CITY, PA 18519

PACCAR LEASING COMPANY & PALMER LEASING, LLC
65 PARTNERSHIP WAY
CINCINNATI, OH 45241

P.J.K. FOOD SERVICE, LLC DBA KEANY PRODUCE & GOURMET
3306-3310 75TH AVE
LANDOVER, MD 20785




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                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16

                                  NAMED INSURED SCHEDULE


AIM LEASING COMPANY - DBA
AIM NATIONALEASE
FLEMING LEASING I
45 CHERRY HILL COURT
45 CHERRY HILL COURT II
FLEMING LEASING LLC
AIM LEASING CO – DBA
AIM TRANSPORTATION SOLUTIONS




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                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16

                 UNINSURED AND UNDERINSURED LIMIT SCHEDULE


State                                                    UM/UIM Limit of Insurance
AZ                                                       $ 35,000
CO                                                       $ 50,000
GA                                                       $ 75,000
IL                                                       $ 50,000
IN                                                       $ 50,000
KY                                                       $ 60,000
MD                                                       $ 75,000
MI                                                       $ 40,000
NC                                                       $ 85,000
OH                                                       $ 50,000
PA                                                       $ 35,000
TX                                                       $ 85,000




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                                                                                               COMMERCIAL AUTO
                                                                                                   AD 35 22 03 16


RE: CA2001P



IT IS UNDERSTOOD AND AGREED THAT NATIONALEASE AND ALL ITS MEMBERS-OWNERS, 2651
WARRENVILLE RD, DOWNERS GROVE, IL 60515 ARE NAMED ADDITIONAL INSURED’S AND LOSS
PAYEE’S FOR ANY AUTOS INCLUDING ALL OWNED, RENTED, LEASED, EXTRAS, OR SUBSTITUTES, AS
THEIR INTEREST MAY APPEAR IN THE ABOVE POLICY.




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POLICY NUMBER:                                                                                    COMMERCIAL AUTO
                                                                                                      CA 03 01 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     DEDUCTIBLE LIABILITY COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


                                                  SCHEDULE

Covered Autos Liability Coverage and Paragraph A. Bodily Injury And Property Damage Liability of Section II –
General Liability Coverages in the Auto Dealers Coverage Form are subject to one of the following two
deductibles shown below:

Liability Deductible:                                    $                                       Per "Accident"
                                                                           




                                                         OR

"Property Damage" Only Liability Deductible:             $                                       Per "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Liability Deductible                                           C. Our Right To Reimbursement
   If a Liability Deductible, and not a "Property                    To settle any claim or "suit", we may pay all or any
   Damage" Only Liability Deductible, is shown in the                part of any deductible shown in the Schedule. If
   Schedule, the damages resulting from any one                      this happens, you must reimburse us for the
   "accident" that are otherwise payable will be                     deductible or the part of the deductible we paid.
   reduced by the Liability Deductible shown in the
   Schedule prior to the application of the Limit of
   Insurance provision.
B. Property Damage Only Liability Deductible
   If a "Property Damage" Only Liability Deductible,
   and not a Liability Deductible, is shown in the
   Schedule, the damages resulting from any one
   "accident" that are otherwise payable for "property
   damage" will be reduced by the "Property
   Damage" Only Liability Deductible shown in the
   Schedule prior to the application of the Limit of
   Insurance provision.




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POLICY NUMBER:                                                                                                                                                                     COMMERCIAL AUTO
                                                                                                                                                                                       CA 04 44 10 13

                                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
         AGAINST OTHERS TO US (WAIVER OF SUBROGATION)
This endorsement modifies insurance provided under the following:

             AUTO DEALERS COVERAGE FORM
             BUSINESS AUTO COVERAGE FORM
             MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.



                                                                                                                                                      SCHEDULE

Name(s) Of Person(s) Or Organization(s):
                                                                                                                       




                                                                                                        
                                      




                                                                                                                           
                                                                                                                             




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


The Transfer Of Rights Of Recovery Against
Others To Us condition does not apply to the
person(s) or organization(s) shown in the Schedule,
but only to the extent that subrogation is waived prior
to the "accident" or the "loss" under a contract with
that person or organization.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       COMMERCIAL AUTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          CA 20 01P 03 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     LESSOR – ADDITIONAL INSURED AND LOSS PAYEE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

                                                                                                                                                                                                                                                                                                                                                                                                               SCHEDULE

Insurance Company:
                                                                                                                                                                                 




Policy Number:                                                                                                                                                                                                                                                                                                                                                                                                                                 Effective Date:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        




Expiration Date:
                                                                                                                                                      




Named Insured:
                                                                                                                                                                                                                                                                                                                                                                      




Address:
                                                                                                                                                                                                                                                                                                                                                            




Additional Insured (Lessor):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




Address:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                




Designation Or Description Of "Leased Autos":
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      




        Coverages                                                                                                                                                                                        Limit Of Insurance
                                                                                                                                                                                                                                                                                                                                       




         Liability                                                                                                                                                         $                               Each "Accident"
                                                                                                                                                                           Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
                                                                                                                                                                                                                                                                                                         




     Comprehensive                                                                                                                                                         $                                Deductible For Each Covered "Leased Auto"

                                                                                                                                                                           Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
         Collision                                                                                                                                                         $                                Deductible For Each Covered "Leased Auto"

                                                                                                                                                                           Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
       Specified
                                                                                                                                                                           $                                Deductible For Each Covered "Leased Auto"
     Causes Of Loss

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



CA 20 01P 03 06                                                                                                                                                                                                                                                                                                                                                            © ISO Properties, Inc., 2005                                                                                                                                                                                                                                                         Page 1 of 2
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                                                                                            COMMERCIAL AUTO
                                                                                               CA 20 01P 03 06

A. Coverage                                                     B. Loss Payable Clause
   1. Any "leased auto" designated or described in         1.   We will pay, as interest may appear, you and
      the Schedule will be considered a covered "au-            the lessor named in this endorsement for
      to" you own and not a covered "auto" you hire             "loss" to a "leased auto".
      or borrow.                                                2. The insurance covers the interest of the lessor
   2. For a "leased auto" designated or described in               unless the "loss" results from fraudulent acts or
      the Schedule, Who Is An Insured is changed                   omissions on your part.
      to include as an "insured" the lessor named in            3. If we make any payment to the lessor, we will
      the Schedule. However, the lessor is an "in-                 obtain his or her rights against any other party.
      sured" only for "bodily injury" or "property dam-
                                                           C.   Cancellation
      age" resulting from the acts or omissions by:
                                                                1. If we cancel the policy, we will mail notice to the
      a. You;
                                                                   lessor in accordance with the Cancellation
      b. Any of your "employees" or agents; or                     Common Policy Condition.
                                                                2. If you cancel the policy, we will mail notice to
      c. Any person, except the lessor or any "em-                 the lessor.
         ployee" or agent of the lessor, operating a            3. Cancellation ends this agreement.
         "leased auto" with the permission of any of
                                                           D.   The lessor is not liable for payment of your premi-
         the above.
                                                                ums.
   3. The coverages provided under this endorse-
                                                           E.   Additional Definition
      ment apply to any "leased auto" described in
      the Schedule until the expiration date shown in           As used in this endorsement:
      the Schedule, or when the lessor or his or her            "Leased auto" means an "auto" leased or rented to
      agent takes possession of the "leased auto",              you, including any substitute, replacement or extra
      whichever occurs first.                                   "auto" needed to meet seasonal or other needs,
                                                                under a leasing or rental agreement that requires
                                                                you to provide direct primary insurance for the les-
                                                                sor.

              All terms and conditions of this policy apply unless modified by this endorsement.




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            COMMERCIAL AUTO
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               CA 20 01P 03 06

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     LESSOR – ADDITIONAL INSURED AND LOSS PAYEE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

                                                                                                                                                                                                                                                                                                                                                                                                SCHEDULE

Insurance Company:
                                                                                                                                                                 




Policy Number:                                                                                                                                                                                                                                                                                                                                                                                                                              Effective Date:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             




Expiration Date:
                                                                                                                                              




Named Insured:
                                                                                                                                                                                                                                                                                                                                       




Address:
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




Additional Insured (Lessor):
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              !                                                                                          !      "   




Address:
           !                                                                                     #                                                                                                                                                                              $                                           %                                                        "                          &                                                                                                  &                                                                     '                                                                




Designation Or Description Of "Leased Autos":
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   




        Coverages                                                                                                                                                                            Limit Of Insurance
                                                                                                                                                                                                                                                                                                           




         Liability                                                                                                                                             $                               Each "Accident"
                                                                                                                                                               Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
                                                                                                                                                                                                                                                                             




     Comprehensive                                                                                                                                             $                                Deductible For Each Covered "Leased Auto"

                                                                                                                                                               Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
         Collision                                                                                                                                             $                                Deductible For Each Covered "Leased Auto"
                                                                                                                                                                               




                                                                                                                                                               Actual Cash Value Or Cost Of Repair Whichever Is Less, Minus
       Specified
                                                                                                                                                               $                                Deductible For Each Covered "Leased Auto"
     Causes Of Loss

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.



CA 20 01P 03 06                                                                                                                                                                                                                                                                                                                                    © ISO Properties, Inc., 2005                                                                                                                                                                                                                                                                                                                                          Page 1 of 2
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                                                                                            COMMERCIAL AUTO
                                                                                               CA 20 01P 03 06

A. Coverage                                                     B. Loss Payable Clause
   1. Any "leased auto" designated or described in         1.   We will pay, as interest may appear, you and
      the Schedule will be considered a covered "au-            the lessor named in this endorsement for
      to" you own and not a covered "auto" you hire             "loss" to a "leased auto".
      or borrow.                                                2. The insurance covers the interest of the lessor
   2. For a "leased auto" designated or described in               unless the "loss" results from fraudulent acts or
      the Schedule, Who Is An Insured is changed                   omissions on your part.
      to include as an "insured" the lessor named in            3. If we make any payment to the lessor, we will
      the Schedule. However, the lessor is an "in-                 obtain his or her rights against any other party.
      sured" only for "bodily injury" or "property dam-
                                                           C.   Cancellation
      age" resulting from the acts or omissions by:
                                                                1. If we cancel the policy, we will mail notice to the
      a. You;
                                                                   lessor in accordance with the Cancellation
      b. Any of your "employees" or agents; or                     Common Policy Condition.
                                                                2. If you cancel the policy, we will mail notice to
      c. Any person, except the lessor or any "em-                 the lessor.
         ployee" or agent of the lessor, operating a            3. Cancellation ends this agreement.
         "leased auto" with the permission of any of
                                                           D.   The lessor is not liable for payment of your premi-
         the above.
                                                                ums.
   3. The coverages provided under this endorse-
                                                           E.   Additional Definition
      ment apply to any "leased auto" described in
      the Schedule until the expiration date shown in           As used in this endorsement:
      the Schedule, or when the lessor or his or her            "Leased auto" means an "auto" leased or rented to
      agent takes possession of the "leased auto",              you, including any substitute, replacement or extra
      whichever occurs first.                                   "auto" needed to meet seasonal or other needs,
                                                                under a leasing or rental agreement that requires
                                                                you to provide direct primary insurance for the les-
                                                                sor.

              All terms and conditions of this policy apply unless modified by this endorsement.




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                                                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            ADVANCE NOTICE OF CANCELLATION, NONRENEWAL
                               OR COVERAGE REDUCTION OR RESTRICTION
                                          PROVIDED BY US
        This endorsement modifies insurance provided under the following:

                                        COMMERCIAL AUTOMOBILE COVERAGE PART
                                        COMMERCIAL CRIME COVERAGE PART
                                        COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                        COMMERCIAL INLAND MARINE COVERAGE PART
                                        COMMERCIAL PROPERTY COVERAGE PART
                                        COMMERCIAL UMBRELLA LIABILITY POLICY
                                        FARM UMBRELLA LIABILITY POLICY
                                        LIQUOR LIABILITY COVERAGE PART
                                        MERCANTILE UMBRELLA LIABILITY POLICY

                                                                                                                                                                                                                                                                                                SCHEDULE

        Person(s) or Organization(s)
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        Number of Days Notice

        If this policy is cancelled (other than nonpayment of premium) or nonrenewed or if the coverage provided by this
        policy is reduced or restricted (except for any reduction in the Limits of Insurance due to claims payments), we will
        provide written notice to the person(s) or organization(s) listed in the Schedule.
        We will provide this notice by mail 30 days in advance of any policy cancellation, nonrenewal or coverage reduc-
        tion or restriction or as indicated in the Number of Days Notice in the Schedule.

                                                                                                            All terms and conditions of this policy apply unless modified by this endorsement.




        IL 70 02 09 11                                                                                                                                                                                  Includes copyrighted material of Insurance Services Office, Inc.,                                                                                                                                                                                                                                                                                                                                                                                   Page 1 of 1
                                                                                                                                                                                                                             with its permission.
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